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    EXHIBIT 3
 To Report & Recommendation for Claimants
              in November 2021 Cohort
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : BALKUS
                                                                       : MANETTE
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Balkus Manette (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on May 13, 2021, with respect to Ms. Manette’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Balkus
Manette, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Balkus Manette (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Manette will have
judgment against the BOE as follows:

   1. Backpay in the amount of $465,446;

   2. Tax-component award in the amount of $54,690;

   3. LAST Fees in the amount of $760;

   4. ASAF account award in the amount of $2,573;

   5. CAR Day award in the amount of $9,831;

   6. Pre-judgment interest calculated to be $42,596; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Manette will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Manette’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Balkus Manette; and

       c. Grant Ms. Manette retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : BALKUS
THE BOARD OF EDUCATION OF THE CITY SCHOOL : MANETTE
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Balkus Manette:

    1. Class Membership. Ms. Manette is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Manette would have been appointed as
                a regularly appointed teacher in October 2001. The Special Master also finds, and
                the Court agrees, that Ms. Manette is eligible to accrue backpay damages
                beginning October 2001.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Manette would have worked as a
                regularly appointed teacher until April 1, 2018, Ms. Manette accrues backpay
                damages through the date of judgment, and Ms. Manette’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Manette’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Manette’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Manette has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $465,446;

       b. A tax-component award in the amount of $54,690;

       c. $760 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,573;

       e. CAR Day damages in the amount of $9,831; and

       f. Pre-judgment interest in the amount of $42,596.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Manette has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Manette’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Manette should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Manette (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —               1968

               ii.   Gender — Female

               iii. Address —                               Bronx, NY 10475

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   October 15, 2001



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — July 1, 2014 through July 31, 2017

               ix. Termination of regularly appointed teacher service (if any) — April 1,
                   2018

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages With
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2001-10             $2,766         $2,766             $0              $0               $0
2001-11             $2,904         $2,904             $0              $0               $0
2001-12             $2,904         $2,904             $0              $0               $0
2002-01             $2,904         $2,904             $0              $0               $0
2002-02             $2,904         $2,904             $0              $0               $0
2002-03             $2,904         $2,904             $0              $0               $0
2002-04             $2,904         $2,904             $0              $0               $0
2002-05             $2,904         $2,904             $0              $0               $0
2002-06             $2,904         $2,904             $0              $0               $0
2002-07             $2,904         $2,904             $0              $0               $0
2002-08             $2,904         $2,904             $0              $0               $0
2002-09             $3,277         $3,146          $131            $131             $131
2002-10             $3,277         $3,146          $131            $131             $261
2002-11             $3,277         $3,146          $131            $131             $392
2002-12             $3,277         $3,146          $131            $131             $523
2003-01             $3,277         $3,146          $131            $131             $653
2003-02             $3,277         $3,146          $131            $131             $784
2003-03             $3,277         $3,146          $131            $131             $915
2003-04             $3,277         $3,146          $131            $131            $1,045
2003-05             $3,676         $3,146          $530            $530            $1,575
2003-06             $3,676         $3,146          $530            $530            $2,104
2003-07             $3,676         $3,146          $530            $530            $2,634
2003-08             $3,676         $3,146          $529            $529            $3,163
2003-09             $3,703         $1,208         $2,496          $2,496           $5,659
2003-10             $3,703         $1,208         $2,496          $2,489           $8,148
2003-11             $3,703         $1,208         $2,496          $2,483          $10,630
2003-12             $3,777         $1,208         $2,570          $2,550          $13,180
2004-01             $3,777         $1,208         $2,570          $2,543          $15,723
2004-02             $3,777         $1,208         $2,570          $2,537          $18,260
2004-03             $3,777         $1,208         $2,570          $2,530          $20,790
2004-04             $3,777         $1,208         $2,570          $2,523          $23,313
2004-05             $3,777         $1,208         $2,570          $2,517          $25,830
2004-06             $3,777         $1,208         $2,570          $2,510          $28,341
2004-07             $3,777         $1,208         $2,570          $2,504          $30,845
2004-08             $3,777         $1,208         $2,570          $2,498          $33,342
2004-09             $3,826         $1,208         $2,619          $2,539          $35,881
2004-10             $3,826         $1,208         $2,619          $2,532          $38,413
2004-11             $3,826         $1,208         $2,619          $2,526          $40,939
2004-12             $3,960         $1,208         $2,752          $2,648          $43,587
2005-01             $3,960         $2,391         $1,569          $1,506          $45,093
2005-02             $3,960         $2,391         $1,569          $1,502          $46,595
2005-03             $3,960         $2,391         $1,569          $1,498          $48,093
2005-04             $3,960         $2,391         $1,569          $1,494          $49,587


                                                                                 Exhibit A to
                                                                B. Manette's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages With
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2005-05             $3,960         $2,391         $1,569          $1,491          $51,078
2005-06             $3,960         $2,391         $1,569          $1,487          $52,565
2005-07             $3,960         $2,391         $1,569          $1,483          $54,047
2005-08             $3,960         $2,391         $1,569          $1,479          $55,527
2005-09             $4,003         $2,391         $1,613          $1,516          $57,043
2005-10             $4,024         $2,391         $1,634          $1,532          $58,575
2005-11             $4,246         $2,391         $1,855          $1,735          $60,310
2005-12             $4,246         $2,391         $1,855          $1,731          $62,040
2006-01             $4,246         $2,371         $1,875          $1,745          $63,785
2006-02             $4,246         $2,371         $1,875          $1,740          $65,525
2006-03             $4,246         $2,371         $1,875          $1,736          $67,261
2006-04             $4,246         $2,371         $1,875          $1,731          $68,992
2006-05             $4,246         $2,371         $1,875          $1,727          $70,718
2006-06             $4,246         $2,371         $1,875          $1,722          $72,440
2006-07             $4,375         $2,371         $2,004          $1,836          $74,276
2006-08             $4,375         $2,371         $2,004          $1,831          $76,107
2006-09             $4,424         $2,371         $2,053          $1,872          $77,979
2006-10             $4,568         $2,371         $2,197          $1,998          $79,977
2006-11             $4,568         $2,371         $2,197          $1,993          $81,969
2006-12             $4,568         $2,371         $2,197          $1,987          $83,957
2007-01             $4,568         $2,467         $2,101          $1,895          $85,852
2007-02             $4,568         $2,467         $2,101          $1,890          $87,742
2007-03             $4,653         $2,467         $2,185          $1,961          $89,703
2007-04             $4,653         $2,467         $2,185          $1,956          $91,660
2007-05             $4,653         $2,467         $2,185          $1,951          $93,611
2007-06             $4,653         $2,467         $2,185          $1,946          $95,557
2007-07             $4,653         $2,467         $2,185          $1,941          $97,498
2007-08             $4,653         $2,467         $2,185          $1,936          $99,434
2007-09             $4,761         $2,467         $2,293          $2,026         $101,460
2007-10             $4,856         $2,467         $2,388          $2,105         $103,565
2007-11             $4,856         $2,467         $2,388          $2,099         $105,664
2007-12             $4,856         $2,467         $2,388          $2,094         $107,758
2008-01             $4,856         $2,569         $2,286          $1,999         $109,757
2008-02             $4,856         $2,569         $2,286          $1,994         $111,751
2008-03             $5,113         $2,569         $2,544          $2,212         $113,963
2008-04             $5,113         $2,569         $2,544          $2,207         $116,170
2008-05             $5,452         $2,569         $2,883          $2,494         $118,664
2008-06             $5,452         $2,569         $2,883          $2,488         $121,152
2008-07             $5,452         $2,569         $2,883          $2,481         $123,633
2008-08             $5,452         $2,569         $2,883          $2,474         $126,107
2008-09             $5,705         $2,569         $3,135          $2,684         $128,791
2008-10             $5,705         $2,569         $3,135          $2,677         $131,469
2008-11             $5,705         $2,569         $3,135          $2,670         $134,139


                                                                                 Exhibit A to
                                                                B. Manette's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages With
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2008-12             $5,705         $2,569         $3,135          $2,663         $136,802
2009-01             $5,705         $2,687         $3,018          $2,556         $139,358
2009-02             $5,705         $2,687         $3,018          $2,550         $141,908
2009-03             $6,005         $2,687         $3,318          $2,796         $144,704
2009-04             $6,005         $2,687         $3,318          $2,788         $147,492
2009-05             $6,005         $2,687         $3,318          $2,781         $150,273
2009-06             $6,005         $2,687         $3,318          $2,773         $153,047
2009-07             $6,005         $2,687         $3,318          $2,766         $155,813
2009-08             $6,005         $2,687         $3,318          $2,759         $158,571
2009-09             $6,005         $2,687         $3,318          $2,751         $161,322
2009-10             $6,005         $2,687         $3,318          $2,744         $164,066
2009-11             $6,005         $2,687         $3,318          $2,736         $166,802
2009-12             $6,005         $2,687         $3,318          $2,729         $169,531
2010-01             $6,005         $2,896         $3,109          $2,550         $172,081
2010-02             $6,005         $2,896         $3,109          $2,543         $174,624
2010-03             $6,005         $2,896         $3,109          $2,536         $177,160
2010-04             $6,005         $2,896         $3,109          $2,529         $179,689
2010-05             $6,005         $2,896         $3,109          $2,522         $182,211
2010-06             $6,005         $2,896         $3,109          $2,515         $184,726
2010-07             $6,005         $2,896         $3,109          $2,508         $187,235
2010-08             $6,005         $2,896         $3,109          $2,501         $189,736
2010-09             $6,005         $2,896         $3,109          $2,495         $192,231
2010-10             $6,005         $2,896         $3,109          $2,488         $194,719
2010-11             $6,005         $2,896         $3,109          $2,481         $197,199
2010-12             $6,005         $2,896         $3,109          $2,474         $199,673
2011-01             $6,005         $3,024         $2,981          $2,366         $202,039
2011-02             $6,005         $3,024         $2,981          $2,359         $204,399
2011-03             $6,005         $3,024         $2,981          $2,353         $206,752
2011-04             $6,005         $3,024         $2,981          $2,346         $209,098
2011-05             $6,005         $3,024         $2,981          $2,340         $211,438
2011-06             $6,005         $3,024         $2,981          $2,333         $213,771
2011-07             $6,005         $3,024         $2,981          $2,327         $216,098
2011-08             $6,005         $3,024         $2,981          $2,320         $218,418
2011-09             $6,262         $3,024         $3,238          $2,514         $220,931
2011-10             $6,262         $3,024         $3,238          $2,506         $223,438
2011-11             $6,262         $3,024         $3,238          $2,499         $225,937
2011-12             $6,262         $3,024         $3,238          $2,492         $228,430
2012-01             $6,262         $2,847         $3,415          $2,621         $231,051
2012-02             $6,262         $2,847         $3,415          $2,614         $233,665
2012-03             $6,262         $2,847         $3,415          $2,606         $236,271
2012-04             $6,262         $2,847         $3,415          $2,599         $238,870
2012-05             $6,262         $2,847         $3,415          $2,592         $241,461
2012-06             $6,262         $2,847         $3,415          $2,584         $244,045


                                                                                 Exhibit A to
                                                                B. Manette's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages With
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2012-07             $6,262         $2,847         $3,415          $2,577         $246,622
2012-08             $6,262         $2,847         $3,415          $2,569         $249,192
2012-09             $6,262         $2,847         $3,415          $2,562         $251,754
2012-10             $6,262         $2,847         $3,415          $2,555         $254,308
2012-11             $6,262         $2,847         $3,415          $2,547         $256,855
2012-12             $6,262         $2,847         $3,415          $2,540         $259,395
2013-01             $6,262         $2,885         $3,377          $2,504         $261,899
2013-02             $6,262         $2,885         $3,377          $2,497         $264,396
2013-03             $6,262         $2,885         $3,377          $2,490         $266,886
2013-04             $6,262         $2,885         $3,377          $2,482         $269,368
2013-05             $6,325         $2,885         $3,440          $2,521         $271,889
2013-06             $6,325         $2,885         $3,440          $2,514         $274,402
2013-07             $6,325         $2,885         $3,440          $2,506         $276,908
2013-08             $6,325         $2,885         $3,440          $2,499         $279,407
2013-09             $6,325         $2,885         $3,440          $2,491         $281,899
2013-10             $6,325         $2,885         $3,440          $2,484         $284,383
2013-11             $6,325         $2,885         $3,440          $2,477         $286,859
2013-12             $6,325         $2,885         $3,440          $2,469         $289,329
2014-01             $6,325         $1,706         $4,619          $3,306         $292,635
2014-02             $6,325         $1,706         $4,619          $3,296         $295,931
2014-03             $6,325         $1,706         $4,619          $3,286         $299,218
2014-04             $6,325         $1,706         $4,619          $3,277         $302,494
2014-05             $6,388         $1,706         $4,682          $3,311         $305,806
2014-06             $6,388         $1,706         $5,682          $4,007         $309,812
2014-07                 $0             $0             $0              $0         $309,812
2014-08                 $0             $0             $0              $0         $309,812
2014-09                 $0             $0             $0              $0         $309,812
2014-10                 $0             $0             $0              $0         $309,812
2014-11                 $0             $0             $0              $0         $309,812
2014-12                 $0             $0             $0              $0         $309,812
2015-01                 $0             $0             $0              $0         $309,812
2015-02                 $0             $0             $0              $0         $309,812
2015-03                 $0             $0             $0              $0         $309,812
2015-04                 $0             $0             $0              $0         $309,812
2015-05                 $0             $0             $0              $0         $309,812
2015-06                 $0             $0             $0              $0         $309,812
2015-07                 $0             $0             $0              $0         $309,812
2015-08                 $0             $0             $0              $0         $309,812
2015-09                 $0             $0             $0              $0         $309,812
2015-10                 $0             $0             $0              $0         $309,812
2015-11                 $0             $0             $0              $0         $309,812
2015-12                 $0             $0             $0              $0         $309,812
2016-01                 $0             $0             $0              $0         $309,812


                                                                                 Exhibit A to
                                                                B. Manette's Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 12 of 219
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages With
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2016-02                 $0             $0             $0              $0         $309,812
2016-03                 $0             $0             $0              $0         $309,812
2016-04                 $0             $0             $0              $0         $309,812
2016-05                 $0             $0             $0              $0         $309,812
2016-06                 $0             $0             $0              $0         $309,812
2016-07                 $0             $0             $0              $0         $309,812
2016-08                 $0             $0             $0              $0         $309,812
2016-09                 $0             $0             $0              $0         $309,812
2016-10                 $0             $0             $0              $0         $309,812
2016-11                 $0             $0             $0              $0         $309,812
2016-12                 $0             $0             $0              $0         $309,812
2017-01                 $0             $0             $0              $0         $309,812
2017-02                 $0             $0             $0              $0         $309,812
2017-03                 $0             $0             $0              $0         $309,812
2017-04                 $0             $0             $0              $0         $309,812
2017-05                 $0             $0             $0              $0         $309,812
2017-06                 $0             $0             $0              $0         $309,812
2017-07                 $0             $0             $0              $0         $309,812
2017-08             $7,121         $1,663         $5,458          $3,414         $313,226
2017-09             $7,121         $1,663         $5,458          $3,402         $316,628
2017-10             $7,320         $1,663         $5,658          $3,515         $320,143
2017-11             $7,320         $1,663         $5,658          $3,503         $323,646
2017-12             $7,320         $1,663         $5,658          $3,491         $327,138
2018-01             $7,320         $2,033         $5,287          $3,252         $330,390
2018-02             $7,320         $2,033         $5,287          $3,241         $333,631
2018-03             $7,320         $2,033         $5,287          $3,230         $336,861
2018-04             $7,320         $2,033         $5,287          $3,219         $340,080
2018-05             $7,464         $2,033         $5,431          $3,296         $343,375
2018-06             $7,687         $2,033         $5,654          $3,419         $346,795
2018-07             $7,687         $2,033         $5,654          $3,408         $350,202
2018-08             $7,687         $2,033         $5,654          $3,396         $353,598
2018-09             $7,687         $2,033         $5,654          $3,384         $356,983
2018-10             $7,687         $2,033         $5,654          $3,373         $360,356
2018-11             $7,687         $2,033         $5,654          $3,361         $363,717
2018-12             $7,687         $2,033         $5,654          $3,350         $367,066
2019-01             $7,687         $3,690         $3,998          $2,360         $369,426
2019-02             $7,841         $3,690         $4,152          $2,442         $371,869
2019-03             $7,841         $3,690         $4,152          $2,434         $374,303
2019-04             $7,841         $3,690         $4,152          $2,425         $376,728
2019-05             $7,841         $3,690         $4,152          $2,417         $379,145
2019-06             $7,841         $3,690         $4,152          $2,408         $381,553
2019-07             $7,841         $3,690         $4,152          $2,400         $383,953
2019-08             $7,841         $3,690         $4,152          $2,391         $386,344


                                                                                 Exhibit A to
                                                                B. Manette's Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 13 of 219
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages With
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2019-09             $7,841         $3,690         $4,152          $2,383         $388,727
2019-10             $8,292         $3,690         $4,602          $2,632         $391,359
2019-11             $8,292         $3,690         $4,602          $2,623         $393,981
2019-12             $8,292         $3,690         $4,602          $2,613         $396,594
2020-01             $8,292         $1,822         $6,470          $3,661         $400,255
2020-02             $8,292         $1,822         $6,470          $3,647         $403,902
2020-03             $8,292         $1,822         $6,470          $3,634         $407,537
2020-04             $8,292         $1,822         $6,470          $3,621         $411,158
2020-05             $8,499         $1,822         $6,677          $3,724         $414,881
2020-06             $8,499         $1,822         $6,677          $3,710         $418,591
2020-07             $8,499         $1,822         $6,677          $3,696         $422,288
2020-08             $8,499         $1,822         $6,677          $3,683         $425,970
2020-09             $8,499         $1,822         $6,677          $3,669         $429,640
2020-10             $8,499         $1,822         $6,677          $3,656         $433,295
2020-11             $8,499         $1,822         $6,677          $3,642         $436,937
2020-12             $8,499         $1,822         $6,677          $3,628         $440,566
2021-01             $8,499         $1,876         $6,623          $3,585         $444,151
2021-02             $8,499         $1,876         $6,623          $3,572         $447,723
2021-03             $8,499         $1,876         $6,623          $3,558         $451,281
2021-04             $8,499         $1,876         $6,623          $3,545         $454,826
2021-05             $8,532         $1,876         $6,656          $3,549         $458,375
2021-06             $8,532         $1,876         $6,656          $3,536         $461,911
2021-07             $8,532         $1,876         $6,656          $3,536         $465,446




                                                                                 Exhibit A to
                                                                B. Manette's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 14 of 219

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2001-10     Regularly Appointed Teacher               $33,192
          2001-11     Regularly Appointed Teacher               $34,848
          2001-12     Regularly Appointed Teacher               $34,848
          2002-01     Regularly Appointed Teacher               $34,848
          2002-02     Regularly Appointed Teacher               $34,848
          2002-03     Regularly Appointed Teacher               $34,848
          2002-04     Regularly Appointed Teacher               $34,848
          2002-05     Regularly Appointed Teacher               $34,848
          2002-06     Regularly Appointed Teacher               $34,848
          2002-07     Regularly Appointed Teacher               $34,848
          2002-08     Regularly Appointed Teacher               $34,848
          2002-09     Regularly Appointed Teacher               $39,325
          2002-10     Regularly Appointed Teacher               $39,325
          2002-11     Regularly Appointed Teacher               $39,325
          2002-12     Regularly Appointed Teacher               $39,325
          2003-01     Regularly Appointed Teacher               $39,325
          2003-02     Regularly Appointed Teacher               $39,325
          2003-03     Regularly Appointed Teacher               $39,325
          2003-04     Regularly Appointed Teacher               $39,325
          2003-05     Regularly Appointed Teacher               $44,111
          2003-06     Regularly Appointed Teacher               $44,111
          2003-07     Regularly Appointed Teacher               $44,111
          2003-08     Regularly Appointed Teacher               $44,111
          2003-09     Regularly Appointed Teacher               $44,436
          2003-10     Regularly Appointed Teacher               $44,436
          2003-11     Regularly Appointed Teacher               $44,436
          2003-12     Regularly Appointed Teacher               $45,325
          2004-01     Regularly Appointed Teacher               $45,325
          2004-02     Regularly Appointed Teacher               $45,325
          2004-03     Regularly Appointed Teacher               $45,325
          2004-04     Regularly Appointed Teacher               $45,325
          2004-05     Regularly Appointed Teacher               $45,325
          2004-06     Regularly Appointed Teacher               $45,325
          2004-07     Regularly Appointed Teacher               $45,325
          2004-08     Regularly Appointed Teacher               $45,325
          2004-09     Regularly Appointed Teacher               $45,912
          2004-10     Regularly Appointed Teacher               $45,912
          2004-11     Regularly Appointed Teacher               $45,912
          2004-12     Regularly Appointed Teacher               $47,519
          2005-01     Regularly Appointed Teacher               $47,519
          2005-02     Regularly Appointed Teacher               $47,519
          2005-03     Regularly Appointed Teacher               $47,519
          2005-04     Regularly Appointed Teacher               $47,519

                                                                                     Exhibit B to
                                                                    B. Manette's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 15 of 219

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2005-05     Regularly Appointed Teacher               $47,519
          2005-06     Regularly Appointed Teacher               $47,519
          2005-07     Regularly Appointed Teacher               $47,519
          2005-08     Regularly Appointed Teacher               $47,519
          2005-09     Regularly Appointed Teacher               $48,041
          2005-10     Regularly Appointed Teacher               $48,293
          2005-11     Regularly Appointed Teacher               $50,949
          2005-12     Regularly Appointed Teacher               $50,949
          2006-01     Regularly Appointed Teacher               $50,949
          2006-02     Regularly Appointed Teacher               $50,949
          2006-03     Regularly Appointed Teacher               $50,949
          2006-04     Regularly Appointed Teacher               $50,949
          2006-05     Regularly Appointed Teacher               $50,949
          2006-06     Regularly Appointed Teacher               $50,949
          2006-07     Regularly Appointed Teacher               $52,495
          2006-08     Regularly Appointed Teacher               $52,495
          2006-09     Regularly Appointed Teacher               $53,091
          2006-10     Regularly Appointed Teacher               $54,818
          2006-11     Regularly Appointed Teacher               $54,818
          2006-12     Regularly Appointed Teacher               $54,818
          2007-01     Regularly Appointed Teacher               $54,818
          2007-02     Regularly Appointed Teacher               $54,818
          2007-03     Regularly Appointed Teacher               $55,834
          2007-04     Regularly Appointed Teacher               $55,834
          2007-05     Regularly Appointed Teacher               $55,834
          2007-06     Regularly Appointed Teacher               $55,834
          2007-07     Regularly Appointed Teacher               $55,834
          2007-08     Regularly Appointed Teacher               $55,834
          2007-09     Regularly Appointed Teacher               $57,126
          2007-10     Regularly Appointed Teacher               $58,269
          2007-11     Regularly Appointed Teacher               $58,269
          2007-12     Regularly Appointed Teacher               $58,269
          2008-01     Regularly Appointed Teacher               $58,269
          2008-02     Regularly Appointed Teacher               $58,269
          2008-03     Regularly Appointed Teacher               $61,357
          2008-04     Regularly Appointed Teacher               $61,357
          2008-05     Regularly Appointed Teacher               $65,424
          2008-06     Regularly Appointed Teacher               $65,424
          2008-07     Regularly Appointed Teacher               $65,424
          2008-08     Regularly Appointed Teacher               $65,424
          2008-09     Regularly Appointed Teacher               $68,458
          2008-10     Regularly Appointed Teacher               $68,458
          2008-11     Regularly Appointed Teacher               $68,458

                                                                                     Exhibit B to
                                                                    B. Manette's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2008-12     Regularly Appointed Teacher               $68,458
          2009-01     Regularly Appointed Teacher               $68,458
          2009-02     Regularly Appointed Teacher               $68,458
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149

                                                                                     Exhibit B to
                                                                    B. Manette's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher / LWOP        $76,660
          2014-08     Regularly Appointed Teacher / LWOP        $76,660
          2014-09     Regularly Appointed Teacher / LWOP        $76,660
          2014-10     Regularly Appointed Teacher / LWOP        $76,660
          2014-11     Regularly Appointed Teacher / LWOP        $76,660
          2014-12     Regularly Appointed Teacher / LWOP        $76,660
          2015-01     Regularly Appointed Teacher / LWOP        $76,660
          2015-02     Regularly Appointed Teacher / LWOP        $76,660
          2015-03     Regularly Appointed Teacher / LWOP        $76,660
          2015-04     Regularly Appointed Teacher / LWOP        $76,660
          2015-05     Regularly Appointed Teacher / LWOP        $78,975
          2015-06     Regularly Appointed Teacher / LWOP        $78,975
          2015-07     Regularly Appointed Teacher / LWOP        $78,975
          2015-08     Regularly Appointed Teacher / LWOP        $78,975
          2015-09     Regularly Appointed Teacher / LWOP        $78,975
          2015-10     Regularly Appointed Teacher / LWOP        $78,975
          2015-11     Regularly Appointed Teacher / LWOP        $78,975
          2015-12     Regularly Appointed Teacher / LWOP        $78,975
          2016-01     Regularly Appointed Teacher / LWOP        $78,975

                                                                                     Exhibit B to
                                                                    B. Manette's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2016-02     Regularly Appointed Teacher / LWOP        $78,975
          2016-03     Regularly Appointed Teacher / LWOP        $78,975
          2016-04     Regularly Appointed Teacher / LWOP        $78,975
          2016-05     Regularly Appointed Teacher / LWOP        $81,731
          2016-06     Regularly Appointed Teacher / LWOP        $81,731
          2016-07     Regularly Appointed Teacher / LWOP        $81,731
          2016-08     Regularly Appointed Teacher / LWOP        $81,731
          2016-09     Regularly Appointed Teacher / LWOP        $81,731
          2016-10     Regularly Appointed Teacher / LWOP        $81,731
          2016-11     Regularly Appointed Teacher / LWOP        $81,731
          2016-12     Regularly Appointed Teacher / LWOP        $81,731
          2017-01     Regularly Appointed Teacher / LWOP        $81,731
          2017-02     Regularly Appointed Teacher / LWOP        $81,731
          2017-03     Regularly Appointed Teacher / LWOP        $81,731
          2017-04     Regularly Appointed Teacher / LWOP        $81,731
          2017-05     Regularly Appointed Teacher / LWOP        $85,449
          2017-06     Regularly Appointed Teacher / LWOP        $85,449
          2017-07     Regularly Appointed Teacher / LWOP        $85,449
          2017-08     Regularly Appointed Teacher               $85,449
          2017-09     Regularly Appointed Teacher               $85,449
          2017-10     Regularly Appointed Teacher               $87,840
          2017-11     Regularly Appointed Teacher               $87,840
          2017-12     Regularly Appointed Teacher               $87,840
          2018-01     Regularly Appointed Teacher               $87,840
          2018-02     Regularly Appointed Teacher               $87,840
          2018-03     Regularly Appointed Teacher               $87,840




                                                                                     Exhibit B to
                                                                    B. Manette's Findings of Fact
    Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 19 of 219




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : CARMEN
                                                                       : TIRADO
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Carmen Tirado (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on March 2, 2021, with respect to Ms. Tirado’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Carmen
Tirado, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Carmen Tirado (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Tirado will have
judgment against the BOE as follows:

   1. Backpay in the amount of $414,781;

   2. Tax-component award in the amount of $48,737;

   3. LAST Fees in the amount of $1,200;

   4. ASAF account award in the amount of $2,718;

   5. CAR Day award in the amount of $7,103;

   6. Pre-judgment interest calculated to be $75,877; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Tirado will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Tirado’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Carmen Tirado; and

       c. Grant Ms. Tirado retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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            Exhibit 1
     Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 22 of 219




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : CARMEN
THE BOARD OF EDUCATION OF THE CITY SCHOOL : TIRADO
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Carmen Tirado:

    1. Class Membership. Ms. Tirado is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Tirado would have been appointed as a
                regularly appointed teacher in December 1996. The Special Master also finds,
                and the Court agrees, that Ms. Tirado is eligible to accrue backpay damages
                beginning December 1996.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Tirado would have worked as a
                regularly appointed teacher until March 1, 2011, Ms. Tirado accrues backpay
                damages until March 1, 2012, and Ms. Tirado’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Tirado’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Tirado’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Tirado has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $414,781;

       b. A tax-component award in the amount of $48,737;

       c. $1,200 to compensate her for the fees she paid to take the Liberal Arts and
          Sciences Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,718;

       e. CAR Day damages in the amount of $7,103; and

       f. Pre-judgment interest in the amount of $75,877.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Tirado has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Tirado’s counterfactual monthly BOE service
          history, as listed in the column entitled BOE Employment Title on Exhibit B;

       b. Ms. Tirado should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled BOE Employment Title on
          Exhibit B, with respect to salary-step advancement, longevity bonuses, accrual of
          years of service for pension, post-retirement health care benefits, accrual of CAR
          days, sabbatical leave rights, restoration of health leave rights, and hardship
          transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Tirado (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —            1948

               ii.   Gender — Female

               iii. Address —                                    Bronx, NY 10451




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               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   December 17, 1996

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — March 1,
                   2011

               x.   Retirement date (if any) — March 1, 2011

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
1996-12             $2,444         $2,444             $0              $0                $0
1997-01             $2,444         $2,444             $0              $0                $0
1997-02             $2,444         $2,444             $0              $0                $0
1997-03             $2,492         $2,492             $0              $0                $0
1997-04             $2,492         $2,492             $0              $0                $0
1997-05             $2,492         $2,492             $0              $0                $0
1997-06             $2,492         $2,492             $0              $0                $0
1997-07             $2,492         $2,492             $0              $0                $0
1997-08             $2,492         $2,492             $0              $0                $0
1997-09             $2,492         $2,492             $0              $0                $0
1997-10             $2,566         $2,566             $0              $0                $0
1997-11             $2,566         $2,566             $0              $0                $0
1997-12             $2,566         $2,566             $0              $0                $0
1998-01             $2,566         $2,566             $0              $0                $0
1998-02             $2,566         $2,566             $0              $0                $0
1998-03             $2,616         $2,616             $0              $0                $0
1998-04             $2,616         $2,616             $0              $0                $0
1998-05             $2,616         $2,616             $0              $0                $0
1998-06             $2,616         $2,616             $0              $0                $0
1998-07             $2,935         $2,702           $233            $233             $233
1998-08             $2,935         $2,702           $233            $233             $467
1998-09             $2,935         $2,702           $233            $233             $700
1998-10             $2,994         $2,756           $238            $238             $938
1998-11             $2,994         $2,756           $238            $238            $1,176
1998-12             $2,994         $2,756           $238            $238            $1,414
1999-01             $2,994         $2,756           $238            $238            $1,652
1999-02             $2,994         $2,756           $238            $238            $1,890
1999-03             $3,045         $2,756           $288            $288            $2,178
1999-04             $3,105         $2,811           $294            $294            $2,472
1999-05             $3,105         $2,811           $294            $294            $2,767
1999-06             $3,105         $2,811           $294            $294            $3,061
1999-07             $3,105         $2,811           $294            $294            $3,355
1999-08             $3,105         $2,811           $294            $294            $3,649
1999-09             $3,105         $2,811           $294            $294            $3,943
1999-10             $3,105         $2,811           $294            $294            $4,237
1999-11             $3,105         $2,811           $294            $294            $4,531
1999-12             $3,217         $2,912           $305            $305            $4,836
2000-01             $3,217         $2,912           $305            $305            $5,140
2000-02             $3,217         $3,163            $53             $53            $5,193
2000-03             $3,270         $3,163           $106            $106            $5,300
2000-04             $3,270         $3,163           $106            $106            $5,406
2000-05             $3,270         $3,163           $106            $106            $5,512
2000-06             $3,270         $3,163           $106            $106            $5,619


                                                                                  Exhibit A to
                                                                  C. Tirado's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2000-07             $3,270         $3,163          $106            $106             $5,725
2000-08             $3,270         $3,163          $106            $106             $5,831
2000-09             $3,270         $3,163          $106            $106             $5,938
2000-10             $3,270         $1,124         $2,145          $2,145            $8,083
2000-11             $3,400         $1,579         $1,822          $1,822            $9,905
2000-12             $3,418         $1,261         $2,157          $2,157           $12,062
2001-01             $3,418         $1,510         $1,908          $1,908           $13,970
2001-02             $3,475         $1,281         $2,194          $2,194           $16,165
2001-03             $3,574         $2,313         $1,261          $1,261           $17,426
2001-04             $3,574         $1,969         $1,605          $1,605           $19,031
2001-05             $3,574         $2,772          $802            $802            $19,833
2001-06             $3,574         $1,740         $1,835          $1,835           $21,668
2001-07             $3,574         $1,132         $2,442          $2,442           $24,110
2001-08             $3,574         $1,132         $2,442          $2,442           $26,553
2001-09             $3,678         $1,132         $2,546          $2,546           $29,099
2001-10             $3,678         $1,633         $2,045          $2,045           $31,144
2001-11             $3,862         $1,654         $2,208          $2,208           $33,352
2001-12             $3,862         $1,568         $2,294          $2,294           $35,647
2002-01             $3,862         $2,448         $1,414          $1,414           $37,060
2002-02             $4,071         $2,328         $1,743          $1,743           $38,803
2002-03             $4,280         $1,823         $2,457          $2,457           $41,260
2002-04             $4,280         $1,823         $2,457          $2,457           $43,717
2002-05             $4,290         $1,823         $2,467          $2,467           $46,184
2002-06             $4,290         $1,823         $2,467          $2,467           $48,652
2002-07             $4,290         $1,823         $2,467          $2,467           $51,119
2002-08             $4,290         $1,823         $2,467          $2,467           $53,586
2002-09             $4,564         $1,823         $2,742          $2,742           $56,327
2002-10             $4,564         $1,823         $2,742          $2,742           $59,069
2002-11             $4,564         $1,823         $2,742          $2,742           $61,810
2002-12             $4,564         $1,823         $2,742          $2,742           $64,552
2003-01             $4,564         $1,208         $3,357          $3,357           $67,908
2003-02             $4,808         $1,208         $3,600          $3,600           $71,509
2003-03             $4,808         $1,208         $3,600          $3,600           $75,109
2003-04             $4,808         $1,208         $3,600          $3,600           $78,710
2003-05             $4,808         $1,208         $3,600          $3,600           $82,310
2003-06             $4,808         $1,208         $3,600          $3,600           $85,911
2003-07             $4,808         $1,208         $3,600          $3,600           $89,511
2003-08             $4,808         $1,208         $3,600          $3,600           $93,112
2003-09             $4,808         $1,208         $3,600          $3,600           $96,712
2003-10             $4,808         $1,208         $3,600          $3,600          $100,312
2003-11             $4,808         $1,208         $3,600          $3,600          $103,913
2003-12             $4,904         $3,389         $1,515          $1,515          $105,428
2004-01             $4,904         $4,977             $0              $0          $105,428


                                                                                  Exhibit A to
                                                                  C. Tirado's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-02             $4,904         $4,271          $633            $633           $106,060
2004-03             $4,904         $6,110             $0              $0          $106,060
2004-04             $4,904         $4,254          $651            $651           $106,711
2004-05             $4,904         $5,396             $0              $0          $106,711
2004-06             $4,904         $5,158             $0              $0          $106,711
2004-07             $4,904         $1,208         $3,697          $3,697          $110,408
2004-08             $4,904         $1,208         $3,697          $3,697          $114,104
2004-09             $4,904         $1,318         $3,586          $3,586          $117,690
2004-10             $4,904         $2,884         $2,020          $2,020          $119,710
2004-11             $4,904         $1,208         $3,697          $3,697          $123,406
2004-12             $5,076         $1,208         $3,868          $3,868          $127,275
2005-01             $5,076         $2,339         $2,737          $2,737          $130,012
2005-02             $5,076         $2,339         $2,737          $2,737          $132,749
2005-03             $5,076         $2,339         $2,737          $2,737          $135,486
2005-04             $5,076         $2,339         $2,737          $2,737          $138,223
2005-05             $5,076         $2,339         $2,737          $2,737          $140,960
2005-06             $5,351         $2,339         $3,012          $3,012          $143,972
2005-07             $5,351         $2,339         $3,012          $3,012          $146,985
2005-08             $5,351         $2,339         $3,012          $3,012          $149,997
2005-09             $5,351         $2,339         $3,012          $3,012          $153,010
2005-10             $5,351         $2,339         $3,012          $3,012          $156,022
2005-11             $5,663         $2,339         $3,324          $3,324          $159,346
2005-12             $5,663         $2,339         $3,324          $3,324          $162,671
2006-01             $5,663         $2,303         $3,360          $3,360          $166,030
2006-02             $5,663         $2,303         $3,360          $3,360          $169,390
2006-03             $5,663         $2,303         $3,360          $3,360          $172,750
2006-04             $5,663         $2,303         $3,360          $3,360          $176,109
2006-05             $5,663         $2,303         $3,360          $3,360          $179,469
2006-06             $5,663         $2,303         $3,360          $3,360          $182,828
2006-07             $5,663         $2,303         $3,360          $3,360          $186,188
2006-08             $5,663         $2,303         $3,360          $3,360          $189,548
2006-09             $5,663         $2,303         $3,360          $3,360          $192,907
2006-10             $5,847         $2,572         $3,275          $3,275          $196,182
2006-11             $5,847         $2,303         $3,544          $3,544          $199,726
2006-12             $5,847         $2,440         $3,407          $3,407          $203,133
2007-01             $5,847         $2,161         $3,686          $3,686          $206,820
2007-02             $5,847         $2,161         $3,686          $3,686          $210,506
2007-03             $5,847         $2,161         $3,686          $3,686          $214,192
2007-04             $5,847         $2,161         $3,686          $3,686          $217,879
2007-05             $5,847         $2,161         $3,686          $3,686          $221,565
2007-06             $5,847         $2,161         $3,686          $3,686          $225,252
2007-07             $5,847         $2,161         $3,686          $3,686          $228,938
2007-08             $5,847         $2,161         $3,686          $3,686          $232,624


                                                                                  Exhibit A to
                                                                  C. Tirado's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2007-09             $5,847         $2,161         $3,686          $3,686          $236,311
2007-10             $5,964         $2,161         $3,803          $3,803          $240,114
2007-11             $5,964         $2,161         $3,803          $3,803          $243,918
2007-12             $5,964         $2,161         $3,803          $3,803          $247,721
2008-01             $5,964         $2,385         $3,579          $3,579          $251,300
2008-02             $5,964         $2,385         $3,579          $3,579          $254,879
2008-03             $5,964         $2,385         $3,579          $3,579          $258,458
2008-04             $5,964         $2,385         $3,579          $3,579          $262,037
2008-05             $6,262         $2,385         $3,877          $3,877          $265,914
2008-06             $6,438         $2,385         $4,052          $4,052          $269,967
2008-07             $6,438         $2,385         $4,052          $4,052          $274,019
2008-08             $6,438         $2,385         $4,052          $4,052          $278,072
2008-09             $6,438         $2,385         $4,052          $4,052          $282,124
2008-10             $6,438         $2,385         $4,052          $3,227          $285,351
2008-11             $6,438         $2,385         $4,052          $3,227          $288,578
2008-12             $6,438         $2,385         $4,052          $3,227          $291,805
2009-01             $6,438         $2,408         $4,030          $3,209          $295,015
2009-02             $6,438         $2,408         $4,030          $3,209          $298,224
2009-03             $6,438         $2,408         $4,030          $3,209          $301,433
2009-04             $6,438         $2,408         $4,030          $3,209          $304,642
2009-05             $6,438         $2,408         $4,030          $3,209          $307,852
2009-06             $6,438         $2,408         $4,030          $3,209          $311,061
2009-07             $6,438         $2,408         $4,030          $3,209          $314,270
2009-08             $6,438         $2,408         $4,030          $2,929          $317,200
2009-09             $6,438         $2,408         $4,030          $2,929          $320,129
2009-10             $6,438         $2,408         $4,030          $2,929          $323,059
2009-11             $6,438         $2,408         $4,030          $2,929          $325,988
2009-12             $6,438         $2,408         $4,030          $2,929          $328,917
2010-01             $6,438         $1,850         $4,588          $3,335          $332,252
2010-02             $6,438         $1,850         $4,588          $3,335          $335,587
2010-03             $6,438         $1,850         $4,588          $3,335          $338,921
2010-04             $6,438         $1,850         $4,588          $3,335          $342,256
2010-05             $6,438         $1,850         $4,588          $3,335          $345,591
2010-06             $6,808         $1,850         $4,958          $3,604          $349,194
2010-07             $6,808         $1,850         $4,958          $3,604          $352,798
2010-08             $6,808         $1,850         $4,958          $3,231          $356,029
2010-09             $6,808         $1,850         $4,958          $3,231          $359,260
2010-10             $6,808         $1,850         $4,958          $3,231          $362,492
2010-11             $6,808         $1,850         $4,958          $3,231          $365,723
2010-12             $6,808         $1,850         $4,958          $3,231          $368,954
2011-01             $6,808         $1,458         $5,349          $3,487          $372,441
2011-02             $6,808         $1,458         $5,349          $3,487          $375,927
2011-03             $6,808         $1,458         $5,349          $3,487          $379,414


                                                                                  Exhibit A to
                                                                  C. Tirado's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2011-04             $6,808         $1,458         $5,349          $3,487          $382,900
2011-05             $6,808         $1,458         $5,349          $3,487          $386,387
2011-06             $6,808         $1,458         $5,349          $3,487          $389,874
2011-07             $6,808         $1,458         $5,349          $3,487          $393,360
2011-08             $6,808         $1,458         $5,349          $3,071          $396,432
2011-09             $6,808         $1,458         $5,349          $3,071          $399,503
2011-10             $6,808         $1,458         $5,349          $3,071          $402,574
2011-11             $6,808         $1,458         $5,349          $3,071          $405,646
2011-12             $6,808         $1,458         $5,349          $3,071          $408,717
2012-01             $6,808         $1,527         $5,281          $3,032          $411,749
2012-02             $6,808         $1,527         $5,281          $3,032          $414,781




                                                                                  Exhibit A to
                                                                  C. Tirado's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          1996-12     Regularly Appointed Teacher               $29,324
          1997-01     Regularly Appointed Teacher               $29,324
          1997-02     Regularly Appointed Teacher               $29,324
          1997-03     Regularly Appointed Teacher               $29,899
          1997-04     Regularly Appointed Teacher               $29,899
          1997-05     Regularly Appointed Teacher               $29,899
          1997-06     Regularly Appointed Teacher               $29,899
          1997-07     Regularly Appointed Teacher               $29,899
          1997-08     Regularly Appointed Teacher               $29,899
          1997-09     Regularly Appointed Teacher               $29,899
          1997-10     Regularly Appointed Teacher               $30,796
          1997-11     Regularly Appointed Teacher               $30,796
          1997-12     Regularly Appointed Teacher               $30,796
          1998-01     Regularly Appointed Teacher               $30,796
          1998-02     Regularly Appointed Teacher               $30,796
          1998-03     Regularly Appointed Teacher               $31,388
          1998-04     Regularly Appointed Teacher               $31,388
          1998-05     Regularly Appointed Teacher               $31,388
          1998-06     Regularly Appointed Teacher               $31,388
          1998-07     Regularly Appointed Teacher               $35,225
          1998-08     Regularly Appointed Teacher               $35,225
          1998-09     Regularly Appointed Teacher               $35,225
          1998-10     Regularly Appointed Teacher               $35,930
          1998-11     Regularly Appointed Teacher               $35,930
          1998-12     Regularly Appointed Teacher               $35,930
          1999-01     Regularly Appointed Teacher               $35,930
          1999-02     Regularly Appointed Teacher               $35,930
          1999-03     Regularly Appointed Teacher               $36,534
          1999-04     Regularly Appointed Teacher               $37,264
          1999-05     Regularly Appointed Teacher               $37,264
          1999-06     Regularly Appointed Teacher               $37,264
          1999-07     Regularly Appointed Teacher               $37,264
          1999-08     Regularly Appointed Teacher               $37,264
          1999-09     Regularly Appointed Teacher               $37,264
          1999-10     Regularly Appointed Teacher               $37,264
          1999-11     Regularly Appointed Teacher               $37,264
          1999-12     Regularly Appointed Teacher               $38,598
          2000-01     Regularly Appointed Teacher               $38,598
          2000-02     Regularly Appointed Teacher               $38,598
          2000-03     Regularly Appointed Teacher               $39,236
          2000-04     Regularly Appointed Teacher               $39,236
          2000-05     Regularly Appointed Teacher               $39,236
          2000-06     Regularly Appointed Teacher               $39,236

                                                                                    Exhibit B to
                                                                    C. Tirado's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2000-07     Regularly Appointed Teacher               $39,236
          2000-08     Regularly Appointed Teacher               $39,236
          2000-09     Regularly Appointed Teacher               $39,236
          2000-10     Regularly Appointed Teacher               $39,236
          2000-11     Regularly Appointed Teacher               $40,805
          2000-12     Regularly Appointed Teacher               $41,020
          2001-01     Regularly Appointed Teacher               $41,020
          2001-02     Regularly Appointed Teacher               $41,700
          2001-03     Regularly Appointed Teacher               $42,890
          2001-04     Regularly Appointed Teacher               $42,890
          2001-05     Regularly Appointed Teacher               $42,890
          2001-06     Regularly Appointed Teacher               $42,890
          2001-07     Regularly Appointed Teacher               $42,890
          2001-08     Regularly Appointed Teacher               $42,890
          2001-09     Regularly Appointed Teacher               $44,137
          2001-10     Regularly Appointed Teacher               $44,137
          2001-11     Regularly Appointed Teacher               $46,344
          2001-12     Regularly Appointed Teacher               $46,344
          2002-01     Regularly Appointed Teacher               $46,344
          2002-02     Regularly Appointed Teacher               $48,850
          2002-03     Regularly Appointed Teacher               $51,358
          2002-04     Regularly Appointed Teacher               $51,358
          2002-05     Regularly Appointed Teacher               $51,477
          2002-06     Regularly Appointed Teacher               $51,477
          2002-07     Regularly Appointed Teacher               $51,477
          2002-08     Regularly Appointed Teacher               $51,477
          2002-09     Regularly Appointed Teacher               $54,770
          2002-10     Regularly Appointed Teacher               $54,770
          2002-11     Regularly Appointed Teacher               $54,770
          2002-12     Regularly Appointed Teacher               $54,770
          2003-01     Regularly Appointed Teacher               $54,770
          2003-02     Regularly Appointed Teacher               $57,695
          2003-03     Regularly Appointed Teacher               $57,695
          2003-04     Regularly Appointed Teacher               $57,695
          2003-05     Regularly Appointed Teacher               $57,695
          2003-06     Regularly Appointed Teacher               $57,695
          2003-07     Regularly Appointed Teacher               $57,695
          2003-08     Regularly Appointed Teacher               $57,695
          2003-09     Regularly Appointed Teacher               $57,695
          2003-10     Regularly Appointed Teacher               $57,695
          2003-11     Regularly Appointed Teacher               $57,695
          2003-12     Regularly Appointed Teacher               $58,849
          2004-01     Regularly Appointed Teacher               $58,849

                                                                                    Exhibit B to
                                                                    C. Tirado's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2004-02     Regularly Appointed Teacher               $58,849
          2004-03     Regularly Appointed Teacher               $58,849
          2004-04     Regularly Appointed Teacher               $58,849
          2004-05     Regularly Appointed Teacher               $58,849
          2004-06     Regularly Appointed Teacher               $58,849
          2004-07     Regularly Appointed Teacher               $58,849
          2004-08     Regularly Appointed Teacher               $58,849
          2004-09     Regularly Appointed Teacher               $58,849
          2004-10     Regularly Appointed Teacher               $58,849
          2004-11     Regularly Appointed Teacher               $58,849
          2004-12     Regularly Appointed Teacher               $60,909
          2005-01     Regularly Appointed Teacher               $60,909
          2005-02     Regularly Appointed Teacher               $60,909
          2005-03     Regularly Appointed Teacher               $60,909
          2005-04     Regularly Appointed Teacher               $60,909
          2005-05     Regularly Appointed Teacher               $60,909
          2005-06     Regularly Appointed Teacher               $64,214
          2005-07     Regularly Appointed Teacher               $64,214
          2005-08     Regularly Appointed Teacher               $64,214
          2005-09     Regularly Appointed Teacher               $64,214
          2005-10     Regularly Appointed Teacher               $64,214
          2005-11     Regularly Appointed Teacher               $67,957
          2005-12     Regularly Appointed Teacher               $67,957
          2006-01     Regularly Appointed Teacher               $67,957
          2006-02     Regularly Appointed Teacher               $67,957
          2006-03     Regularly Appointed Teacher               $67,957
          2006-04     Regularly Appointed Teacher               $67,957
          2006-05     Regularly Appointed Teacher               $67,957
          2006-06     Regularly Appointed Teacher               $67,957
          2006-07     Regularly Appointed Teacher               $67,957
          2006-08     Regularly Appointed Teacher               $67,957
          2006-09     Regularly Appointed Teacher               $67,957
          2006-10     Regularly Appointed Teacher               $70,167
          2006-11     Regularly Appointed Teacher               $70,167
          2006-12     Regularly Appointed Teacher               $70,167
          2007-01     Regularly Appointed Teacher               $70,167
          2007-02     Regularly Appointed Teacher               $70,167
          2007-03     Regularly Appointed Teacher               $70,167
          2007-04     Regularly Appointed Teacher               $70,167
          2007-05     Regularly Appointed Teacher               $70,167
          2007-06     Regularly Appointed Teacher               $70,167
          2007-07     Regularly Appointed Teacher               $70,167
          2007-08     Regularly Appointed Teacher               $70,167

                                                                                    Exhibit B to
                                                                    C. Tirado's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2007-09     Regularly Appointed Teacher               $70,167
          2007-10     Regularly Appointed Teacher               $71,571
          2007-11     Regularly Appointed Teacher               $71,571
          2007-12     Regularly Appointed Teacher               $71,571
          2008-01     Regularly Appointed Teacher               $71,571
          2008-02     Regularly Appointed Teacher               $71,571
          2008-03     Regularly Appointed Teacher               $71,571
          2008-04     Regularly Appointed Teacher               $71,571
          2008-05     Regularly Appointed Teacher               $75,149
          2008-06     Regularly Appointed Teacher               $77,251
          2008-07     Regularly Appointed Teacher               $77,251
          2008-08     Regularly Appointed Teacher               $77,251
          2008-09     Regularly Appointed Teacher               $77,251
          2008-10     Regularly Appointed Teacher               $77,251
          2008-11     Regularly Appointed Teacher               $77,251
          2008-12     Regularly Appointed Teacher               $77,251
          2009-01     Regularly Appointed Teacher               $77,251
          2009-02     Regularly Appointed Teacher               $77,251
          2009-03     Regularly Appointed Teacher               $77,251
          2009-04     Regularly Appointed Teacher               $77,251
          2009-05     Regularly Appointed Teacher               $77,251
          2009-06     Regularly Appointed Teacher               $77,251
          2009-07     Regularly Appointed Teacher               $77,251
          2009-08     Regularly Appointed Teacher               $77,251
          2009-09     Regularly Appointed Teacher               $77,251
          2009-10     Regularly Appointed Teacher               $77,251
          2009-11     Regularly Appointed Teacher               $77,251
          2009-12     Regularly Appointed Teacher               $77,251
          2010-01     Regularly Appointed Teacher               $77,251
          2010-02     Regularly Appointed Teacher               $77,251
          2010-03     Regularly Appointed Teacher               $77,251
          2010-04     Regularly Appointed Teacher               $77,251
          2010-05     Regularly Appointed Teacher               $77,251
          2010-06     Regularly Appointed Teacher               $81,690
          2010-07     Regularly Appointed Teacher               $81,690
          2010-08     Regularly Appointed Teacher               $81,690
          2010-09     Regularly Appointed Teacher               $81,690
          2010-10     Regularly Appointed Teacher               $81,690
          2010-11     Regularly Appointed Teacher               $81,690
          2010-12     Regularly Appointed Teacher               $81,690
          2011-01     Regularly Appointed Teacher               $81,690
          2011-02     Regularly Appointed Teacher               $81,690



                                                                                    Exhibit B to
                                                                    C. Tirado's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : CONSOLE
                                                                       : IFEZULUMBA
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Console Ifezulumba (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on April 1, 2021, with respect to Ms.
Ifezulumba’s demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Console
Ifezulumba, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Console Ifezulumba (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Ifezulumba will have
judgment against the BOE as follows:

   1. Backpay in the amount of $249,452;

   2. Tax-component award in the amount of $29,311;

   3. LAST Fees in the amount of $246;

   4. ASAF account award in the amount of $543;

   5. CAR Day award in the amount of $4,983;

   6. Pre-judgment interest calculated to be $11,618; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Ifezulumba will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Ifezulumba’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Console Ifezulumba;
          and

       c. Grant Ms. Ifezulumba retroactive seniority based on her counterfactual monthly
          service history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : CONSOLE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : IFEZULUMBA
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Console Ifezulumba:

    1. Class Membership. Ms. Ifezulumba is a member of the Plaintiff class in this action, and
       is entitled to monetary and injunctive relief from Defendant, the Board of Education of
       the City School District of the City of New York (“BOE”), as compensation for the
       injuries she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Ifezulumba would have been appointed
                as a regularly appointed teacher in January 2009. The Special Master also finds,
                and the Court agrees, that Ms. Ifezulumba is eligible to accrue backpay damages
                beginning January 2009.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Ifezulumba would have worked as a
                regularly appointed teacher until October 1, 2016, Ms. Ifezulumba accrues
                backpay damages through the date of judgment, and Ms. Ifezulumba’s backpay
                damages should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Ifezulumba’s monthly mitigation during each month of the damages
                period was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Ifezulumba’s monthly backpay damages are as listed in the column
          entitled Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Ifezulumba has satisfied her burden of establishing her entitlement
   to the following monetary relief:

       a. Backpay in the amount of $249,452;

       b. A tax-component award in the amount of $29,311;

       c. $246 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $543;

       e. CAR Day damages in the amount of $4,983; and

       f. Pre-judgment interest in the amount of $11,618.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Ifezulumba has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Ifezulumba’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Ifezulumba should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Ifezulumba (the “Pension
          Inputs”) should be imported into the Teachers’ Retirement System of the City of
          New York (“TRS”):

              i.    Date of Birth —              1966

              ii.   Gender — Female

              iii. Address —                     Elmont, NY 11003

              iv. Counterfactual date of appointment as a regularly appointed teacher —
                  January 1, 2009



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — January 1, 2011 through December
                     31, 2011

               ix. Termination of regularly appointed teacher service (if any) — October 1,
                   2016

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2009-01             $3,794         $2,461         $1,334          $1,152            $1,152
2009-02             $3,794         $2,461         $1,334          $1,149            $2,302
2009-03             $3,794         $2,461         $1,334          $1,146            $3,448
2009-04             $3,794         $2,461         $1,334          $1,143            $4,591
2009-05             $3,794         $2,461         $1,334          $1,140            $5,730
2009-06             $3,794         $2,461         $1,334          $1,136            $6,867
2009-07             $3,794         $2,461         $1,334          $1,133            $8,000
2009-08             $3,794         $2,461         $1,334          $1,130            $9,130
2009-09             $3,794         $2,461         $1,334          $1,127           $10,257
2009-10             $3,794         $2,461         $1,334          $1,124           $11,380
2009-11             $3,794         $2,461         $1,334          $1,120           $12,501
2009-12             $3,794         $2,461         $1,334          $1,117           $13,618
2010-01             $4,036         $2,851         $1,185           $990            $14,609
2010-02             $4,036         $2,851         $1,185           $987            $15,596
2010-03             $4,036         $2,851         $1,185           $985            $16,581
2010-04             $4,036         $2,851         $1,185           $982            $17,562
2010-05             $4,036         $2,851         $1,185           $979            $18,541
2010-06             $4,036         $2,851         $1,185           $976            $19,518
2010-07             $4,036         $2,851         $1,185           $973            $20,491
2010-08             $4,036         $2,851         $1,185           $971            $21,462
2010-09             $4,036         $2,851         $1,185           $968            $22,430
2010-10             $4,036         $2,851         $1,185           $965            $23,395
2010-11             $4,036         $2,851         $1,185           $962            $24,357
2010-12             $4,036         $2,851         $1,185           $960            $25,317
2011-01                 $0             $0             $0              $0           $25,317
2011-02                 $0             $0             $0              $0           $25,317
2011-03                 $0             $0             $0              $0           $25,317
2011-04                 $0             $0             $0              $0           $25,317
2011-05                 $0             $0             $0              $0           $25,317
2011-06                 $0             $0             $0              $0           $25,317
2011-07                 $0             $0             $0              $0           $25,317
2011-08                 $0             $0             $0              $0           $25,317
2011-09                 $0             $0             $0              $0           $25,317
2011-10                 $0             $0             $0              $0           $25,317
2011-11                 $0             $0             $0              $0           $25,317
2011-12                 $0             $0             $0              $0           $25,317
2012-01             $4,070         $2,220         $1,850          $1,442           $26,759
2012-02             $4,070         $2,220         $1,850          $1,438           $28,197
2012-03             $4,070         $2,220         $1,850          $1,434           $29,630
2012-04             $4,070         $2,220         $1,850          $1,429           $31,060
2012-05             $4,070         $2,220         $1,850          $1,425           $32,485
2012-06             $4,561         $2,220         $2,341          $1,798           $34,284
2012-07             $4,561         $2,220         $2,341          $1,793           $36,077


                                                                                  Exhibit A to
                                                              C. Ifezulumba's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2012-08             $4,561         $2,220         $2,341          $1,788           $37,865
2012-09             $4,561         $2,220         $2,341          $1,782           $39,647
2012-10             $4,561         $2,220         $2,341          $1,777           $41,424
2012-11             $4,561         $2,220         $2,341          $1,772           $43,196
2012-12             $4,561         $2,220         $2,341          $1,767           $44,963
2013-01             $4,620         $2,730         $1,890          $1,422           $46,385
2013-02             $4,620         $2,730         $1,890          $1,418           $47,802
2013-03             $4,620         $2,730         $1,890          $1,413           $49,215
2013-04             $4,620         $2,730         $1,890          $1,409           $50,624
2013-05             $4,666         $2,730         $1,936          $1,439           $52,064
2013-06             $4,666         $2,730         $1,936          $1,435           $53,498
2013-07             $4,666         $2,730         $1,936          $1,430           $54,929
2013-08             $4,666         $2,730         $1,936          $1,426           $56,355
2013-09             $4,666         $2,730         $1,936          $1,422           $57,777
2013-10             $4,666         $2,730         $1,936          $1,417           $59,194
2013-11             $4,666         $2,730         $1,936          $1,413           $60,607
2013-12             $4,666         $2,730         $1,936          $1,409           $62,016
2014-01             $4,717         $1,488         $3,230          $2,343           $64,360
2014-02             $4,717         $1,488         $3,230          $2,336           $66,696
2014-03             $4,717         $1,488         $3,230          $2,329           $69,025
2014-04             $4,717         $1,488         $3,230          $2,322           $71,347
2014-05             $4,765         $1,488         $3,277          $2,349           $73,695
2014-06             $4,765         $1,488         $3,277          $3,056           $76,751
2014-07             $4,765         $1,488         $3,277          $2,334           $79,085
2014-08             $4,765         $1,488         $3,277          $2,327           $81,412
2014-09             $4,765         $1,488         $3,277          $2,319           $83,731
2014-10             $4,765         $1,488         $3,277          $2,312           $86,043
2014-11             $4,790         $1,488         $3,302          $2,323           $88,366
2014-12             $4,875         $1,488         $3,387          $2,375           $90,741
2015-01             $4,931         $1,540         $3,391          $2,370           $93,111
2015-02             $4,931         $1,540         $3,391          $2,362           $95,473
2015-03             $5,010         $1,540         $3,470          $2,410           $97,883
2015-04             $5,010         $1,540         $3,470          $2,402          $100,286
2015-05             $5,161         $1,540         $3,621          $2,499          $102,785
2015-06             $5,161         $1,540         $3,621          $2,491          $105,276
2015-07             $5,161         $1,540         $3,621          $2,483          $107,760
2015-08             $5,311         $1,540         $3,771          $2,578          $110,337
2015-09             $5,311         $1,540         $3,771          $2,569          $112,907
2015-10             $5,311         $1,540         $3,771          $2,561          $115,468
2015-11             $5,311         $1,540         $3,771          $2,553          $118,021
2015-12             $5,311         $1,540         $3,771          $2,545          $120,566
2016-01             $5,432         $1,593         $3,840          $2,583          $123,149
2016-02             $5,432         $1,593         $3,840          $2,574          $125,723


                                                                                  Exhibit A to
                                                              C. Ifezulumba's Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 42 of 219
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2016-03             $5,432         $1,593         $3,840          $2,566          $128,289
2016-04             $5,446         $1,593         $3,853          $2,567          $130,856
2016-05             $5,636         $1,593         $4,043          $2,685          $133,541
2016-06             $5,636         $1,593         $4,043          $2,676          $136,217
2016-07             $5,636         $1,593         $4,043          $2,667          $138,884
2016-08             $5,636         $1,593         $4,043          $2,658          $141,542
2016-09             $5,636         $1,593         $4,043          $2,650          $144,192
2016-10             $5,636         $1,593         $4,043          $2,641          $146,832
2016-11             $5,636         $1,593         $4,043          $2,632          $149,464
2016-12             $5,930         $1,593         $4,337          $2,814          $152,278
2017-01                 $0             $0             $0              $0          $152,278
2017-02                 $0             $0             $0              $0          $152,278
2017-03                 $0             $0             $0              $0          $152,278
2017-04                 $0             $0             $0              $0          $152,278
2017-05                 $0             $0             $0              $0          $152,278
2017-06                 $0             $0             $0              $0          $152,278
2017-07                 $0             $0             $0              $0          $152,278
2017-08                 $0             $0             $0              $0          $152,278
2017-09                 $0             $0             $0              $0          $152,278
2017-10                 $0             $0             $0              $0          $152,278
2017-11                 $0             $0             $0              $0          $152,278
2017-12                 $0             $0             $0              $0          $152,278
2018-01                 $0             $0             $0              $0          $152,278
2018-02                 $0             $0             $0              $0          $152,278
2018-03                 $0             $0             $0              $0          $152,278
2018-04                 $0             $0             $0              $0          $152,278
2018-05                 $0             $0             $0              $0          $152,278
2018-06                 $0             $0             $0              $0          $152,278
2018-07                 $0             $0             $0              $0          $152,278
2018-08                 $0             $0             $0              $0          $152,278
2018-09                 $0             $0             $0              $0          $152,278
2018-10                 $0             $0             $0              $0          $152,278
2018-11                 $0             $0             $0              $0          $152,278
2018-12                 $0             $0             $0              $0          $152,278
2019-01             $6,812         $1,763         $5,049          $3,006          $155,284
2019-02             $6,947         $1,763         $5,183          $3,075          $158,359
2019-03             $7,314         $1,763         $5,551          $3,281          $161,640
2019-04             $7,314         $1,763         $5,551          $3,269          $164,909
2019-05             $7,314         $1,763         $5,551          $3,257          $168,166
2019-06             $7,314         $1,763         $5,551          $3,246          $171,412
2019-07             $7,314         $1,763         $5,551          $3,234          $174,645
2019-08             $7,314         $1,763         $5,551          $3,222          $177,867
2019-09             $7,314         $1,763         $5,551          $3,210          $181,078


                                                                                  Exhibit A to
                                                              C. Ifezulumba's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2019-10             $7,314         $1,763         $5,551          $3,199          $184,276
2019-11             $7,314         $1,763         $5,551          $3,187          $187,463
2019-12             $7,314         $1,763         $5,551          $3,175          $190,638
2020-01             $7,314         $1,822         $5,493          $3,130          $193,768
2020-02             $7,314         $1,822         $5,493          $3,119          $196,887
2020-03             $7,314         $1,822         $5,493          $3,107          $199,994
2020-04             $7,314         $1,822         $5,493          $3,096          $203,090
2020-05             $7,497         $1,822         $5,676          $3,187          $206,277
2020-06             $7,497         $1,822         $5,676          $3,175          $209,452
2020-07             $7,497         $1,822         $5,676          $3,163          $212,615
2020-08             $7,497         $1,822         $5,676          $3,151          $215,766
2020-09             $7,497         $1,822         $5,676          $3,139          $218,905
2020-10             $7,497         $1,822         $5,676          $3,127          $222,032
2020-11             $7,497         $1,822         $5,676          $3,115          $225,147
2020-12             $7,497         $1,822         $5,676          $3,103          $228,251
2021-01             $7,497         $1,876         $5,621          $3,062          $231,313
2021-02             $7,497         $1,876         $5,621          $3,050          $234,363
2021-03             $7,497         $1,876         $5,621          $3,038          $237,401
2021-04             $7,497         $1,876         $5,621          $3,026          $240,427
2021-05             $7,500         $1,876         $5,624          $3,016          $243,443
2021-06             $7,500         $1,876         $5,624          $3,004          $246,448
2021-07             $7,500         $1,876         $5,624          $3,004          $249,452




                                                                                  Exhibit A to
                                                              C. Ifezulumba's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2009-01     Regularly Appointed Teacher               $45,530
          2009-02     Regularly Appointed Teacher               $45,530
          2009-03     Regularly Appointed Teacher               $45,530
          2009-04     Regularly Appointed Teacher               $45,530
          2009-05     Regularly Appointed Teacher               $45,530
          2009-06     Regularly Appointed Teacher               $45,530
          2009-07     Regularly Appointed Teacher               $45,530
          2009-08     Regularly Appointed Teacher               $45,530
          2009-09     Regularly Appointed Teacher               $45,530
          2009-10     Regularly Appointed Teacher               $45,530
          2009-11     Regularly Appointed Teacher               $45,530
          2009-12     Regularly Appointed Teacher               $45,530
          2010-01     Regularly Appointed Teacher               $48,434
          2010-02     Regularly Appointed Teacher               $48,434
          2010-03     Regularly Appointed Teacher               $48,434
          2010-04     Regularly Appointed Teacher               $48,434
          2010-05     Regularly Appointed Teacher               $48,434
          2010-06     Regularly Appointed Teacher               $48,434
          2010-07     Regularly Appointed Teacher               $48,434
          2010-08     Regularly Appointed Teacher               $48,434
          2010-09     Regularly Appointed Teacher               $48,434
          2010-10     Regularly Appointed Teacher               $48,434
          2010-11     Regularly Appointed Teacher               $48,434
          2010-12     Regularly Appointed Teacher               $48,434
          2011-01     Regularly Appointed Teacher / LWOP        $48,434
          2011-02     Regularly Appointed Teacher / LWOP        $48,434
          2011-03     Regularly Appointed Teacher / LWOP        $48,434
          2011-04     Regularly Appointed Teacher / LWOP        $48,434
          2011-05     Regularly Appointed Teacher / LWOP        $48,434
          2011-06     Regularly Appointed Teacher / LWOP        $48,434
          2011-07     Regularly Appointed Teacher / LWOP        $48,434
          2011-08     Regularly Appointed Teacher / LWOP        $48,434
          2011-09     Regularly Appointed Teacher / LWOP        $48,434
          2011-10     Regularly Appointed Teacher / LWOP        $48,434
          2011-11     Regularly Appointed Teacher / LWOP        $48,434
          2011-12     Regularly Appointed Teacher / LWOP        $48,434
          2012-01     Regularly Appointed Teacher               $48,836
          2012-02     Regularly Appointed Teacher               $48,836
          2012-03     Regularly Appointed Teacher               $48,836
          2012-04     Regularly Appointed Teacher               $48,836
          2012-05     Regularly Appointed Teacher               $48,836
          2012-06     Regularly Appointed Teacher               $54,731
          2012-07     Regularly Appointed Teacher               $54,731

                                                                                   Exhibit B to
                                                               C. Ifezulumba's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2012-08     Regularly Appointed Teacher               $54,731
          2012-09     Regularly Appointed Teacher               $54,731
          2012-10     Regularly Appointed Teacher               $54,731
          2012-11     Regularly Appointed Teacher               $54,731
          2012-12     Regularly Appointed Teacher               $54,731
          2013-01     Regularly Appointed Teacher               $55,438
          2013-02     Regularly Appointed Teacher               $55,438
          2013-03     Regularly Appointed Teacher               $55,438
          2013-04     Regularly Appointed Teacher               $55,438
          2013-05     Regularly Appointed Teacher               $55,992
          2013-06     Regularly Appointed Teacher               $55,992
          2013-07     Regularly Appointed Teacher               $55,992
          2013-08     Regularly Appointed Teacher               $55,992
          2013-09     Regularly Appointed Teacher               $55,992
          2013-10     Regularly Appointed Teacher               $55,992
          2013-11     Regularly Appointed Teacher               $55,992
          2013-12     Regularly Appointed Teacher               $55,992
          2014-01     Regularly Appointed Teacher               $56,608
          2014-02     Regularly Appointed Teacher               $56,608
          2014-03     Regularly Appointed Teacher               $56,608
          2014-04     Regularly Appointed Teacher               $56,608
          2014-05     Regularly Appointed Teacher               $57,175
          2014-06     Regularly Appointed Teacher               $57,175
          2014-07     Regularly Appointed Teacher               $57,175
          2014-08     Regularly Appointed Teacher               $57,175
          2014-09     Regularly Appointed Teacher               $57,175
          2014-10     Regularly Appointed Teacher               $57,175
          2014-11     Regularly Appointed Teacher               $57,475
          2014-12     Regularly Appointed Teacher               $58,495
          2015-01     Regularly Appointed Teacher               $59,167
          2015-02     Regularly Appointed Teacher               $59,167
          2015-03     Regularly Appointed Teacher               $60,118
          2015-04     Regularly Appointed Teacher               $60,118
          2015-05     Regularly Appointed Teacher               $61,933
          2015-06     Regularly Appointed Teacher               $61,933
          2015-07     Regularly Appointed Teacher               $61,933
          2015-08     Regularly Appointed Teacher               $63,730
          2015-09     Regularly Appointed Teacher               $63,730
          2015-10     Regularly Appointed Teacher               $63,730
          2015-11     Regularly Appointed Teacher               $63,730
          2015-12     Regularly Appointed Teacher               $63,730
          2016-01     Regularly Appointed Teacher               $65,185
          2016-02     Regularly Appointed Teacher               $65,185

                                                                                   Exhibit B to
                                                               C. Ifezulumba's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2016-03     Regularly Appointed Teacher               $65,185
          2016-04     Regularly Appointed Teacher               $65,348
          2016-05     Regularly Appointed Teacher               $67,630
          2016-06     Regularly Appointed Teacher               $67,630
          2016-07     Regularly Appointed Teacher               $67,630
          2016-08     Regularly Appointed Teacher               $67,630
          2016-09     Regularly Appointed Teacher               $67,630




                                                                                   Exhibit B to
                                                               C. Ifezulumba's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : DIEUVE
                                                                       : GAUSSAINT
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Dieuve Gaussaint (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on April 8, 2021, with respect to Mr. Gaussaint’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Dieuve
Gaussaint, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Dieuve Gaussaint (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Gaussaint will have
judgment against the BOE as follows:

   1. Backpay in the amount of $295,008;

   2. Tax-component award in the amount of $34,663;

   3. LAST Fees in the amount of $510;

   4. ASAF account award in the amount of $3,053;

   5. CAR Day award in the amount of $10,593;

   6. Pre-judgment interest calculated to be $36,534; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Gaussaint will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Gaussaint’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Dieuve Gaussaint; and

       c. Grant Mr. Gaussaint retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

   2. The BOE is ordered to provide the findings of fact contained in the “Pension Input”
      section, Paragraph 4 of Exhibit 1, to the New York City Office of the Actuary.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.




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This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                3
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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : DIEUVE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : GAUSSAINT
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Dieuve Gaussaint:

    1. Class Membership. Mr. Gaussaint is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Gaussaint would have been appointed
                as a regularly appointed teacher in September 2003. The Special Master also
                finds, and the Court agrees, that Mr. Gaussaint is eligible to accrue backpay
                damages beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Gaussaint would have worked as a
                regularly appointed teacher until January 1, 2017, Mr. Gaussaint accrues backpay
                damages through the date of judgment, and Mr. Gaussaint’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Gaussaint’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Gaussaint’s monthly backpay damages are as listed in the column
          entitled Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Gaussaint has satisfied his burden of establishing his entitlement to
   the following monetary relief:

       a. Backpay in the amount of $295,008;

       b. A tax-component award in the amount of $34,663;

       c. $510 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $3,053;

       e. CAR Day damages in the amount of $10,593; and

       f. Pre-judgment interest in the amount of $36,534.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Gaussaint has satisfied his burden of establishing his
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Gaussaint’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Gaussaint should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Gaussaint (the “Pension Inputs”)
          should be provided to the New York City Office of the Actuary by the BOE, and
          then imported into the Teachers’ Retirement System of the City of New York
          (“TRS”):

               i.    Date of Birth —         1969

               ii.   Gender — Male

               iii. Address —                        Brooklyn, NY 11226




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               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   September 2, 2003

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — January 1, 2005 through December
                     31, 2005

               ix. Termination of regularly appointed teacher service (if any) — January 1,
                   2017

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                           3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2003-09             $3,352          $497          $2,855          $2,855            $2,855
2003-10             $3,352          $497          $2,855          $2,845            $5,700
2003-11             $3,352          $497          $2,855          $2,836            $8,536
2003-12             $3,419          $497          $2,922          $2,892           $11,428
2004-01             $3,419          $787          $2,632          $2,596           $14,024
2004-02             $3,419          $787          $2,632          $2,587           $16,612
2004-03             $3,419          $787          $2,632          $2,578           $19,190
2004-04             $3,419          $787          $2,632          $2,570           $21,760
2004-05             $3,419          $787          $2,632          $2,563           $24,323
2004-06             $3,419          $787          $2,632          $2,555           $26,878
2004-07             $3,419          $787          $2,632          $2,547           $29,425
2004-08             $3,419          $787          $2,632          $2,540           $31,965
2004-09             $3,461         $1,208         $2,254          $2,168           $34,133
2004-10             $3,461         $1,208         $2,254          $2,162           $36,294
2004-11             $3,461         $1,208         $2,254          $2,155           $38,450
2004-12             $3,582         $1,208         $2,375          $2,265           $40,714
2005-01                 $0             $0             $0              $0           $40,714
2005-02                 $0             $0             $0              $0           $40,714
2005-03                 $0             $0             $0              $0           $40,714
2005-04                 $0             $0             $0              $0           $40,714
2005-05                 $0             $0             $0              $0           $40,714
2005-06                 $0             $0             $0              $0           $40,714
2005-07                 $0             $0             $0              $0           $40,714
2005-08                 $0             $0             $0              $0           $40,714
2005-09                 $0             $0             $0              $0           $40,714
2005-10                 $0             $0             $0              $0           $40,714
2005-11                 $0             $0             $0              $0           $40,714
2005-12                 $0             $0             $0              $0           $40,714
2006-01             $3,779         $1,301         $2,479          $2,278           $42,992
2006-02             $3,779         $1,301         $2,479          $2,271           $45,264
2006-03             $3,779         $1,301         $2,479          $2,265           $47,529
2006-04             $4,224         $1,301         $2,923          $2,664           $50,192
2006-05             $4,224         $1,301         $2,923          $2,656           $52,849
2006-06             $4,224         $1,301         $2,923          $2,649           $55,498
2006-07             $4,224         $1,301         $2,923          $2,641           $58,139
2006-08             $4,224         $1,301         $2,923          $2,634           $60,773
2006-09             $4,273         $1,301         $2,972          $2,671           $63,444
2006-10             $4,412         $1,301         $3,111          $2,788           $66,233
2006-11             $4,412         $1,301         $3,111          $2,781           $69,013
2006-12             $4,412         $1,301         $3,111          $2,773           $71,786
2007-01             $4,412             $0         $4,412          $3,921           $75,708
2007-02             $4,412             $0         $4,412          $3,910           $79,618
2007-03             $4,485             $0         $4,485          $3,964           $83,582


                                                                                  Exhibit A to
                                                               D. Gaussaint's Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 55 of 219
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2007-04             $4,485             $0         $4,485          $3,953           $87,534
2007-05             $4,485             $0         $4,485          $3,941           $91,475
2007-06             $4,485             $0         $4,485          $3,930           $95,406
2007-07             $4,485             $0         $4,485          $3,919           $99,325
2007-08             $4,485             $0         $4,485          $3,908          $103,233
2007-09             $4,593             $0         $4,593          $3,991          $107,225
2007-10             $4,684             $0         $4,684          $4,060          $111,285
2007-11             $4,684             $0         $4,684          $4,049          $115,333
2007-12             $4,684             $0         $4,684          $4,038          $119,371
2008-01             $4,684         $1,458         $3,226          $2,773          $122,144
2008-02             $4,684         $1,458         $3,226          $2,765          $124,909
2008-03             $4,942         $1,458         $3,483          $2,978          $127,887
2008-04             $4,942         $1,458         $3,483          $2,969          $130,856
2008-05             $5,272         $1,458         $3,814          $3,242          $134,098
2008-06             $5,272         $1,458         $3,814          $3,233          $137,331
2008-07             $5,272         $1,458         $3,814          $3,224          $140,555
2008-08             $5,272         $1,458         $3,814          $3,215          $143,769
2008-09             $5,549         $1,458         $4,091          $3,439          $147,208
2008-10             $5,549         $1,458         $4,091          $3,429          $150,637
2008-11             $5,549         $1,458         $4,091          $3,419          $154,056
2008-12             $5,549         $1,458         $4,091          $3,410          $157,466
2009-01             $5,549         $1,458         $4,091          $3,400          $160,866
2009-02             $5,549         $1,458         $4,091          $3,390          $164,256
2009-03             $5,850         $1,458         $4,391          $3,628          $167,884
2009-04             $5,850         $1,458         $4,391          $3,618          $171,502
2009-05             $5,850         $1,458         $4,391          $3,607          $175,109
2009-06             $5,992         $1,458         $4,534          $3,714          $178,823
2009-07             $5,992         $1,458         $4,534          $3,703          $182,526
2009-08             $5,992         $1,458         $4,534          $3,692          $186,218
2009-09             $5,992         $1,458         $4,534          $3,681          $189,899
2009-10             $5,992         $1,458         $4,534          $3,671          $193,570
2009-11             $5,992         $1,458         $4,534          $3,660          $197,230
2009-12             $5,992         $1,458         $4,534          $3,650          $200,879
2010-01             $5,992         $4,592         $1,400          $1,124          $202,003
2010-02             $6,005         $4,592         $1,413          $1,131          $203,134
2010-03             $6,005         $4,592         $1,413          $1,128          $204,262
2010-04             $6,005         $4,592         $1,413          $1,124          $205,386
2010-05             $6,005         $4,592         $1,413          $1,121          $206,507
2010-06             $6,005         $4,592         $1,413          $1,118          $207,625
2010-07             $6,005         $4,592         $1,413          $1,115          $208,740
2010-08             $6,005         $4,592         $1,413          $1,111          $209,851
2010-09             $6,005         $4,592         $1,413          $1,108          $210,960
2010-10             $6,005         $4,592         $1,413          $1,105          $212,065


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2010-11             $6,005         $4,592         $1,413          $1,102          $213,166
2010-12             $6,005         $4,592         $1,413          $1,098          $214,265
2011-01             $6,005         $4,790         $1,215           $941           $215,206
2011-02             $6,005         $4,790         $1,215           $939           $216,145
2011-03             $6,005         $4,790         $1,215           $936           $217,081
2011-04             $6,005         $4,790         $1,215           $933           $218,014
2011-05             $6,005         $4,790         $1,215           $930           $218,944
2011-06             $6,005         $4,790         $1,215           $928           $219,872
2011-07             $6,005         $4,790         $1,215           $925           $220,796
2011-08             $6,005         $4,790         $1,215           $922           $221,719
2011-09             $6,262         $4,790         $1,472          $1,114          $222,833
2011-10             $6,262         $4,790         $1,472          $1,111          $223,944
2011-11             $6,262         $4,790         $1,472          $1,108          $225,051
2011-12             $6,262         $4,790         $1,472          $1,104          $226,156
2012-01             $6,262         $5,386          $876            $656           $226,811
2012-02             $6,262         $5,386          $876            $654           $227,465
2012-03             $6,262         $5,386          $876            $652           $228,116
2012-04             $6,262         $5,386          $876            $650           $228,766
2012-05             $6,262         $5,386          $876            $648           $229,414
2012-06             $6,262         $5,386          $876            $646           $230,059
2012-07             $6,262         $5,386          $876            $644           $230,703
2012-08             $6,262         $5,386          $876            $642           $231,345
2012-09             $6,262         $5,386          $876            $640           $231,985
2012-10             $6,262         $5,386          $876            $638           $232,623
2012-11             $6,262         $5,386          $876            $636           $233,258
2012-12             $6,262         $5,386          $876            $634           $233,892
2013-01             $6,262         $4,304         $1,959          $1,413          $235,305
2013-02             $6,262         $4,304         $1,959          $1,408          $236,713
2013-03             $6,262         $4,304         $1,959          $1,404          $238,117
2013-04             $6,262         $4,304         $1,959          $1,400          $239,517
2013-05             $6,325         $4,304         $2,022          $1,440          $240,957
2013-06             $6,325         $4,304         $2,022          $1,435          $242,392
2013-07             $6,325         $4,304         $2,022          $1,431          $243,823
2013-08             $6,325         $4,304         $2,022          $1,426          $245,250
2013-09             $6,325         $4,304         $2,022          $1,422          $246,671
2013-10             $6,325         $4,304         $2,022          $1,418          $248,089
2013-11             $6,325         $4,304         $2,022          $1,413          $249,502
2013-12             $6,325         $4,304         $2,022          $1,409          $250,911
2014-01             $6,325         $4,866         $1,459          $1,013          $251,924
2014-02             $6,325         $4,866         $1,459          $1,010          $252,934
2014-03             $6,325         $4,866         $1,459          $1,007          $253,941
2014-04             $6,325         $4,866         $1,459          $1,004          $254,945
2014-05             $6,388         $4,866         $1,522          $1,044          $255,989


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2014-06             $6,388         $4,866         $1,522          $1,724          $257,714
2014-07             $6,388         $4,866         $1,522          $1,037          $258,751
2014-08             $6,388         $4,866         $1,522          $1,034          $259,785
2014-09             $6,567         $4,866         $1,701          $1,152          $260,937
2014-10             $6,567         $4,866         $1,701          $1,148          $262,085
2014-11             $6,567         $4,866         $1,701          $1,144          $263,229
2014-12             $6,567         $4,866         $1,701          $1,141          $264,369
2015-01             $6,567         $6,108          $459            $307           $264,676
2015-02             $6,567         $6,108          $459            $306           $264,982
2015-03             $6,567         $6,108          $459            $305           $265,287
2015-04             $6,567         $6,108          $459            $304           $265,590
2015-05             $6,765         $6,108          $657            $434           $266,024
2015-06             $6,765         $6,108          $657            $432           $266,456
2015-07             $6,765         $6,108          $657            $431           $266,887
2015-08             $6,765         $6,108          $657            $429           $267,316
2015-09             $6,765         $6,108          $657            $428           $267,744
2015-10             $6,765         $6,108          $657            $427           $268,171
2015-11             $6,765         $6,108          $657            $425           $268,596
2015-12             $6,765         $6,108          $657            $424           $269,020
2016-01             $6,765         $6,198          $567            $364           $269,384
2016-02             $6,765         $6,198          $567            $363           $269,747
2016-03             $6,765         $6,198          $567            $362           $270,109
2016-04             $6,765         $6,198          $567            $361           $270,470
2016-05             $7,001         $6,198          $803            $509           $270,979
2016-06             $7,001         $6,198          $803            $507           $271,487
2016-07             $7,001         $6,198          $803            $506           $271,992
2016-08             $7,001         $6,198          $803            $504           $272,496
2016-09             $7,404         $6,198         $1,206           $754           $273,250
2016-10             $7,404         $6,198         $1,206           $751           $274,001
2016-11             $7,404         $6,198         $1,206           $749           $274,750
2016-12             $7,404         $6,198         $1,206           $746           $275,496
2017-01             $7,404         $6,196         $1,208           $745           $276,241
2017-02             $7,404         $6,196         $1,208           $742           $276,983
2017-03             $7,404         $6,196         $1,208           $740           $277,722
2017-04             $7,404         $6,196         $1,208           $737           $278,460
2017-05             $7,741         $6,196         $1,545           $939           $279,399
2017-06             $7,741         $6,196         $1,545           $936           $280,335
2017-07             $7,741         $6,196         $1,545           $933           $281,268
2017-08             $7,741         $6,196         $1,545           $929           $282,197
2017-09             $7,741         $6,196         $1,545           $926           $283,123
2017-10             $7,741         $6,196         $1,545           $923           $284,046
2017-11             $7,741         $6,196         $1,545           $920           $284,966
2017-12             $7,741         $6,196         $1,545           $916           $285,882


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2018-01             $7,741         $8,585             $0              $0          $285,882
2018-02             $7,741         $8,585             $0              $0          $285,882
2018-03             $7,741         $8,585             $0              $0          $285,882
2018-04             $7,741         $8,585             $0              $0          $285,882
2018-05             $7,892         $8,585             $0              $0          $285,882
2018-06             $8,129         $8,585             $0              $0          $285,882
2018-07             $8,129         $8,585             $0              $0          $285,882
2018-08             $8,129         $8,585             $0              $0          $285,882
2018-09             $8,129         $8,585             $0              $0          $285,882
2018-10             $8,129         $8,585             $0              $0          $285,882
2018-11             $8,129         $8,585             $0              $0          $285,882
2018-12             $8,129         $8,585             $0              $0          $285,882
2019-01             $8,129         $7,795           $334            $189          $286,071
2019-02             $8,292         $7,795           $496            $280          $286,350
2019-03             $8,292         $7,795           $496            $279          $286,629
2019-04             $8,292         $7,795           $496            $278          $286,907
2019-05             $8,292         $7,795           $496            $277          $287,183
2019-06             $8,292         $7,795           $496            $276          $287,459
2019-07             $8,292         $7,795           $496            $275          $287,733
2019-08             $8,292         $7,795           $496            $273          $288,007
2019-09             $8,410         $7,795           $615            $337          $288,344
2019-10             $8,410         $7,795           $615            $336          $288,680
2019-11             $8,410         $7,795           $615            $335          $289,015
2019-12             $8,410         $7,795           $615            $333          $289,348
2020-01             $8,410         $7,952           $458            $248          $289,596
2020-02             $8,410         $7,952           $458            $247          $289,842
2020-03             $8,410         $7,952           $458            $246          $290,088
2020-04             $8,410         $7,952           $458            $245          $290,333
2020-05             $8,620         $7,952           $668            $356          $290,688
2020-06             $8,620         $7,952           $668            $354          $291,042
2020-07             $8,620         $7,952           $668            $353          $291,395
2020-08             $8,620         $7,952           $668            $351          $291,747
2020-09             $8,620         $7,952           $668            $350          $292,097
2020-10             $8,620         $7,952           $668            $349          $292,445
2020-11             $8,620         $7,952           $668            $347          $292,792
2020-12             $8,620         $7,952           $668            $346          $293,138
2021-01             $8,620         $8,112           $508            $262          $293,400
2021-02             $8,620         $8,112           $508            $261          $293,661
2021-03             $8,620         $8,112           $508            $260          $293,921
2021-04             $8,620         $8,112           $508            $259          $294,180
2021-05             $8,657         $8,112           $545            $277          $294,457
2021-06             $8,657         $8,112           $545            $275          $294,732
2021-07             $8,657         $8,112           $545            $275          $295,008


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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2003-09     Regularly Appointed Teacher               $40,225
          2003-10     Regularly Appointed Teacher               $40,225
          2003-11     Regularly Appointed Teacher               $40,225
          2003-12     Regularly Appointed Teacher               $41,030
          2004-01     Regularly Appointed Teacher               $41,030
          2004-02     Regularly Appointed Teacher               $41,030
          2004-03     Regularly Appointed Teacher               $41,030
          2004-04     Regularly Appointed Teacher               $41,030
          2004-05     Regularly Appointed Teacher               $41,030
          2004-06     Regularly Appointed Teacher               $41,030
          2004-07     Regularly Appointed Teacher               $41,030
          2004-08     Regularly Appointed Teacher               $41,030
          2004-09     Regularly Appointed Teacher               $41,534
          2004-10     Regularly Appointed Teacher               $41,534
          2004-11     Regularly Appointed Teacher               $41,534
          2004-12     Regularly Appointed Teacher               $42,988
          2005-01     Regularly Appointed Teacher / LWOP        $42,988
          2005-02     Regularly Appointed Teacher / LWOP        $42,988
          2005-03     Regularly Appointed Teacher / LWOP        $42,988
          2005-04     Regularly Appointed Teacher / LWOP        $42,988
          2005-05     Regularly Appointed Teacher / LWOP        $42,988
          2005-06     Regularly Appointed Teacher / LWOP        $42,988
          2005-07     Regularly Appointed Teacher / LWOP        $42,988
          2005-08     Regularly Appointed Teacher / LWOP        $42,988
          2005-09     Regularly Appointed Teacher / LWOP        $42,988
          2005-10     Regularly Appointed Teacher / LWOP        $42,988
          2005-11     Regularly Appointed Teacher / LWOP        $45,352
          2005-12     Regularly Appointed Teacher / LWOP        $45,352
          2006-01     Regularly Appointed Teacher               $45,352
          2006-02     Regularly Appointed Teacher               $45,352
          2006-03     Regularly Appointed Teacher               $45,352
          2006-04     Regularly Appointed Teacher               $50,683
          2006-05     Regularly Appointed Teacher               $50,683
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,683
          2006-08     Regularly Appointed Teacher               $50,683
          2006-09     Regularly Appointed Teacher               $51,279
          2006-10     Regularly Appointed Teacher               $52,947
          2006-11     Regularly Appointed Teacher               $52,947
          2006-12     Regularly Appointed Teacher               $52,947
          2007-01     Regularly Appointed Teacher               $52,947
          2007-02     Regularly Appointed Teacher               $52,947
          2007-03     Regularly Appointed Teacher               $53,818

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                                                                D. Gaussaint's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2007-04     Regularly Appointed Teacher               $53,818
          2007-05     Regularly Appointed Teacher               $53,818
          2007-06     Regularly Appointed Teacher               $53,818
          2007-07     Regularly Appointed Teacher               $53,818
          2007-08     Regularly Appointed Teacher               $53,818
          2007-09     Regularly Appointed Teacher               $55,110
          2007-10     Regularly Appointed Teacher               $56,212
          2007-11     Regularly Appointed Teacher               $56,212
          2007-12     Regularly Appointed Teacher               $56,212
          2008-01     Regularly Appointed Teacher               $56,212
          2008-02     Regularly Appointed Teacher               $56,212
          2008-03     Regularly Appointed Teacher               $59,300
          2008-04     Regularly Appointed Teacher               $59,300
          2008-05     Regularly Appointed Teacher               $63,265
          2008-06     Regularly Appointed Teacher               $63,265
          2008-07     Regularly Appointed Teacher               $63,265
          2008-08     Regularly Appointed Teacher               $63,265
          2008-09     Regularly Appointed Teacher               $66,593
          2008-10     Regularly Appointed Teacher               $66,593
          2008-11     Regularly Appointed Teacher               $66,593
          2008-12     Regularly Appointed Teacher               $66,593
          2009-01     Regularly Appointed Teacher               $66,593
          2009-02     Regularly Appointed Teacher               $66,593
          2009-03     Regularly Appointed Teacher               $70,195
          2009-04     Regularly Appointed Teacher               $70,195
          2009-05     Regularly Appointed Teacher               $70,195
          2009-06     Regularly Appointed Teacher               $71,905
          2009-07     Regularly Appointed Teacher               $71,905
          2009-08     Regularly Appointed Teacher               $71,905
          2009-09     Regularly Appointed Teacher               $71,905
          2009-10     Regularly Appointed Teacher               $71,905
          2009-11     Regularly Appointed Teacher               $71,905
          2009-12     Regularly Appointed Teacher               $71,905
          2010-01     Regularly Appointed Teacher               $71,905
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060

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                                                                D. Gaussaint's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660

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                                                                D. Gaussaint's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $78,804
          2014-10     Regularly Appointed Teacher               $78,804
          2014-11     Regularly Appointed Teacher               $78,804
          2014-12     Regularly Appointed Teacher               $78,804
          2015-01     Regularly Appointed Teacher               $78,804
          2015-02     Regularly Appointed Teacher               $78,804
          2015-03     Regularly Appointed Teacher               $78,804
          2015-04     Regularly Appointed Teacher               $78,804
          2015-05     Regularly Appointed Teacher               $81,184
          2015-06     Regularly Appointed Teacher               $81,184
          2015-07     Regularly Appointed Teacher               $81,184
          2015-08     Regularly Appointed Teacher               $81,184
          2015-09     Regularly Appointed Teacher               $81,184
          2015-10     Regularly Appointed Teacher               $81,184
          2015-11     Regularly Appointed Teacher               $81,184
          2015-12     Regularly Appointed Teacher               $81,184
          2016-01     Regularly Appointed Teacher               $81,184
          2016-02     Regularly Appointed Teacher               $81,184
          2016-03     Regularly Appointed Teacher               $81,184
          2016-04     Regularly Appointed Teacher               $81,184
          2016-05     Regularly Appointed Teacher               $84,018
          2016-06     Regularly Appointed Teacher               $84,018
          2016-07     Regularly Appointed Teacher               $84,018
          2016-08     Regularly Appointed Teacher               $84,018
          2016-09     Regularly Appointed Teacher               $88,844
          2016-10     Regularly Appointed Teacher               $88,844
          2016-11     Regularly Appointed Teacher               $88,844
          2016-12     Regularly Appointed Teacher               $88,844




                                                                                   Exhibit B to
                                                                D. Gaussaint's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : THE ESTATE OF
                                                                       : PAULINE GREEN
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
prior to her death, Pauline Green (“Claimant”) was a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, Pauline Green died on January 1, 2016, and on April 16, 2016, Shenequa Wilson
was appointed by the Brunswick County Superior Court as Administrator of Pauline Green’s
estate;

WHEREAS, the Special Master held a hearing on March 19, 2019, with respect to the Estate of
Pauline Green’s demand for damages and Defendant’s objections, [ECF No. 8247];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for the Estate of
Pauline Green, annexed hereto as Exhibit 1, which he recommends that the Court adopt;


                                                   1
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WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for the Estate of Pauline Green (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Estate of Pauline Green
will have judgment against the BOE as follows:

   1. Backpay in the amount of $15,006;

   2. Tax-component award in the amount of $1,763;

   3. LAST Fees in the amount of $140;

   4. ASAF account award in the amount of $467;

   5. CAR Day award in the amount of $184;

   6. Pre-judgment interest calculated to be $7,840; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Estate of Pauline Green
will be entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1; and

       b. Incorporate Pauline Green’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for the Estate of Pauline
          Green.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.




                                               2
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This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                3
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            Exhibit 1
     Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 67 of 219




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : THE ESTATE OF
THE BOARD OF EDUCATION OF THE CITY SCHOOL : PAULINE GREEN
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for the Estate of Pauline Green:

    1. Class Membership. Prior to her death on January 1, 2016, Pauline Green was a member
       of the Plaintiff class in this action, and her estate is entitled to monetary and injunctive
       relief from Defendant, the Board of Education of the City School District of the City of
       New York (“BOE”), as compensation for the injuries Pauline Green suffered as a result
       of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Pauline Green would have been appointed
                as a regularly appointed teacher in August 1998. The Special Master also finds,
                and the Court agrees, that Pauline Green is eligible to accrue backpay damages
                beginning August 1998.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Pauline Green would have worked as a
                regularly appointed teacher until October 18, 1999, Pauline Green accrues
                backpay damages until October 18, 1999, and Pauline Green’s backpay damages
                should not be reduced by a probability of pre-retirement attrition.




1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         5
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       c. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Pauline Green’s monthly mitigation during each month of the damages period
          was as listed in the column entitled Monthly Mitigation on Exhibit A.

       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Pauline Green’s monthly backpay damages are as listed in the column
          entitled Monthly Damages on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that the Estate of Pauline Green has satisfied its burden of establishing its
   entitlement to the following monetary relief:

       a. Backpay in the amount of $15,006;

       b. A tax-component award in the amount of $1,763;

       c. $140 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $467;

       e. CAR Day damages in the amount of $184; and

       f. Pre-judgment interest in the amount of $7,840.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that the Estate of Pauline Green has satisfied its burden of establishing
   its entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Pauline Green’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Pauline Green (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —             1957

               ii.   Gender — Female

               iii. Address —                                            Riverdale, GA 30274

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   August 1, 1998

               v.    BOE Employment Title — As listed in column entitled Title on Exhibit B



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               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — October
                   18, 1999

               x.   Retirement date (if any) — N/A

               xi. Date of death — January 1, 2016

DATED: November 23, 2021




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                                   Exhibit A --
                            Monthly Backpay Damages

                Counterfactual
                                  Monthly          Monthly         Cumulative
      Month       Monthly
                                  Mitigation       Damages          Damages
                   Earnings

      1998-08           $4,059           $2,935          $1,124           $1,124
      1998-09           $4,059           $2,935          $1,124           $2,248
      1998-10           $4,141           $2,994          $1,147           $3,395
      1998-11           $4,141           $2,994          $1,147           $4,542
      1998-12           $4,141           $2,994          $1,147           $5,689
      1999-01           $4,141           $2,994          $1,147           $6,836
      1999-02           $4,141           $2,994          $1,147           $7,983
      1999-03           $4,141           $2,994          $1,147           $9,130
      1999-04           $4,222           $3,054          $1,168          $10,298
      1999-05           $4,222           $3,054          $1,168          $11,466
      1999-06           $4,222           $3,054          $1,168          $12,634
      1999-07           $4,240           $3,054          $1,186          $13,820
      1999-08           $4,240           $3,054          $1,186          $15,006
      1999-09           $4,490           $4,623              $0          $15,006
      1999-10           $4,490           $4,623              $0          $15,006




                                                                                Exhibit A to
           Shenequa Wilson, as Administrator of the Estate of Pauline Green Findings of Fact
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                                 Exhibit B --
                Counterfactual BOE Service and Salary History

           Month                    Title                Annual Salary
          1998-08   Regularly Appointed Teacher             $48,712
          1998-09   Regularly Appointed Teacher             $48,712
          1998-10   Regularly Appointed Teacher             $49,687
          1998-11   Regularly Appointed Teacher             $49,687
          1998-12   Regularly Appointed Teacher             $49,687
          1999-01   Regularly Appointed Teacher             $49,687
          1999-02   Regularly Appointed Teacher             $49,687
          1999-03   Regularly Appointed Teacher             $49,687
          1999-04   Regularly Appointed Teacher             $50,680
          1999-05   Regularly Appointed Teacher             $50,680
          1999-06   Regularly Appointed Teacher             $50,680
          1999-07   Regularly Appointed Teacher             $50,879
          1999-08   Regularly Appointed Teacher             $50,879
          1999-09   Regularly Appointed Teacher             $53,885
          1999-10   Regularly Appointed Teacher             $53,885




                                                                            Exhibit B to
       Shenequa Wilson, as Administrator of the Estate of Pauline Green Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : IRMA
                                                                       : VARNER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Irma Varner (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on February 23, 2021, with respect to Ms.
Varner’s demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Irma Varner,
which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Irma Varner (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Varner will have
judgment against the BOE as follows:

   1. Backpay in the amount of $191,406;

   2. Tax-component award in the amount of $22,490;

   3. LAST Fees in the amount of $1,460;

   4. ASAF account award in the amount of $393;

   5. CAR Day award in the amount of $4,289;

   6. Pre-judgment interest calculated to be $62,345; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Varner will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Varner’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Irma Varner; and

       c. Grant Ms. Varner retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
     Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 75 of 219




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : IRMA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : VARNER
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Irma Varner:

    1. Class Membership. Ms. Varner is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Varner would have been appointed as a
                regularly appointed teacher in December 1996. The Special Master also finds,
                and the Court agrees, that Ms. Varner is eligible to accrue backpay damages
                beginning December 1996.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Varner would have worked as a
                regularly appointed teacher until March 1, 2007, Ms. Varner accrues backpay
                damages until April 1, 2007, and Ms. Varner’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Varner’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A. The
                Special Master also finds, and the Court agrees, that Ms. Varner’s backpay

1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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           damages are mitigated by the retirement benefit payments she actually received
           from the Teachers’ Retirement System of the City of New York (“TRS”) during
           the damages period. Ms. Varner’s retirement benefit payments from TRS during
           the damages period are as listed in the column entitled NYC Pension Mitigation
           on Exhibit A. TRS may invoice the BOE in an amount equal to the pension
           payments incorporated herein for purposes of mitigating back-pay damages,
           consistent with the procedure set forth in the Pension Stipulation and Order with
           respect to other amounts that TRS may invoice to the BOE.

       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Varner’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Varner has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $191,406;

       b. A tax-component award in the amount of $22,490;

       c. $1,460 to compensate her for the fees she paid to take the Liberal Arts and
          Sciences Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $393;

       e. CAR Day damages in the amount of $4,289; and

       f. Pre-judgment interest in the amount of $62,345.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Varner has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Varner’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Varner should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Varner (the “Pension Inputs”)
          should be imported into TRS:



                                            2
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               i.    Date of Birth —          1939

               ii.   Gender — Female

               iii. Address —                        Brooklyn, NY 11221

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   December 17, 1996

               v.    BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) —

                     a)    March 1, 2001 through December 31, 2001; and

                     b)    March 1, 2005 through October 31, 2005

               ix. Termination of regularly appointed teacher service (if any) — March 1,
                   2007

               x.    Retirement date (if any) — March 1, 2007

DATED: November 23, 2021




                                             3
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                                         Exhibit A --
                                  Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly      Monthly                   NYC Pension    Cumulative
Month       Monthly                                  Damages with
                           Mitigation   Damages                    Mitigation     Damages
             Earnings                                  Attrition
1996-12           $2,898       $2,850          $48             $48    N/A                 $48
1997-01           $2,898       $2,850          $48             $48    N/A                 $96
1997-02           $2,898       $2,850          $48             $48    N/A               $144
1997-03           $2,898       $2,850          $48             $48    N/A               $192
1997-04           $2,898       $2,850          $48             $48    N/A               $240
1997-05           $2,898       $2,850          $48             $48    N/A               $287
1997-06           $2,898       $2,850          $48             $48    N/A               $335
1997-07           $2,898       $3,099           $0              $0    N/A               $335
1997-08           $2,898       $3,099           $0              $0    N/A               $335
1997-09           $2,898       $2,850          $48             $48    N/A               $383
1997-10           $2,985       $2,935          $49             $49    N/A               $433
1997-11           $2,985       $2,935          $49             $49    N/A               $482
1997-12           $3,034       $2,935          $99             $99    N/A               $581
1998-01           $3,085       $2,935        $149            $149     N/A               $730
1998-02           $3,085       $2,935        $149            $149     N/A               $879
1998-03           $3,085       $2,935        $149            $149     N/A              $1,028
1998-04           $3,085       $2,935        $149            $149     N/A              $1,177
1998-05           $3,085       $2,935        $149            $149     N/A              $1,327
1998-06           $3,085       $2,935        $149            $149     N/A              $1,476
1998-07           $3,085       $2,935        $149            $149     N/A              $1,625
1998-08           $3,085       $2,935        $149            $149     N/A              $1,774
1998-09           $3,085        $945        $2,140          $2,140    N/A              $3,914
1998-10           $3,146        $945        $2,201          $2,201    N/A              $6,115
1998-11           $3,146        $945        $2,201          $2,201    N/A              $8,316
1998-12           $3,237        $945        $2,292          $2,292    N/A             $10,608
1999-01           $3,418        $992        $2,426          $2,426    N/A             $13,034
1999-02           $3,418        $992        $2,426          $2,426    N/A             $15,460
1999-03           $3,418        $992        $2,426          $2,426    N/A             $17,886
1999-04           $3,486        $992        $2,494          $2,494    N/A             $20,380
1999-05           $3,486        $992        $2,494          $2,494    N/A             $22,874
1999-06           $3,486       $1,171       $2,315          $2,315    N/A             $25,189
1999-07           $3,486        $992        $2,494          $2,494    N/A             $27,683
1999-08           $3,486        $992        $2,494          $2,494    N/A             $30,177
1999-09           $3,486       $1,278       $2,208          $2,208    N/A             $32,386
1999-10           $3,486       $2,342       $1,144          $1,144    N/A             $33,529
1999-11           $3,486       $1,597       $1,889          $1,889    N/A             $35,418
1999-12           $3,802       $2,046       $1,756          $1,756    N/A             $37,175
2000-01           $4,013       $2,141       $1,872          $1,872    N/A             $39,046
2000-02           $4,013       $1,920       $2,092          $2,092    N/A             $41,139




                                                                                       Exhibit A to
                                                                       I. Varner's Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 79 of 219
                                         Exhibit A --
                                  Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly      Monthly                   NYC Pension    Cumulative
Month       Monthly                                  Damages with
                           Mitigation   Damages                    Mitigation     Damages
             Earnings                                  Attrition
2000-03           $4,013       $2,472       $1,541          $1,541    N/A             $42,680
2000-04           $4,013       $1,479       $2,533          $2,533    N/A             $45,213
2000-05           $4,013       $2,692       $1,320          $1,320    N/A             $46,533
2000-06           $4,013       $1,479       $2,533          $2,533    N/A             $49,067
2000-07           $4,013       $1,079       $2,934          $2,934    N/A             $52,000
2000-08           $4,013       $1,079       $2,934          $2,934    N/A             $54,934
2000-09           $4,013       $2,031       $1,982          $1,982    N/A             $56,916
2000-10           $4,013       $2,251       $1,761          $1,761    N/A             $58,677
2000-11           $4,173       $2,062       $2,112          $2,112    N/A             $60,789
2000-12           $4,191       $1,986       $2,205          $2,205    N/A             $62,993
2001-01           $4,191       $2,744       $1,447          $1,447    N/A             $64,441
2001-02           $4,191       $2,170       $2,021          $2,021    N/A             $66,462
2001-03               $0           $0           $0              $0    N/A             $66,462
2001-04               $0           $0           $0              $0    N/A             $66,462
2001-05               $0           $0           $0              $0    N/A             $66,462
2001-06               $0           $0           $0              $0    N/A             $66,462
2001-07               $0           $0           $0              $0    N/A             $66,462
2001-08               $0           $0           $0              $0    N/A             $66,462
2001-09               $0           $0           $0              $0    N/A             $66,462
2001-10               $0           $0           $0              $0    N/A             $66,462
2001-11               $0           $0           $0              $0     $1,645         $66,462
2001-12               $0           $0           $0              $0     $1,645         $66,462
2002-01           $4,401       $1,445       $2,955          $2,955     $1,645         $67,772
2002-02           $4,401       $1,325       $3,076          $3,076     $1,393         $69,455
2002-03           $4,401       $1,208       $3,193          $3,193     $1,393         $71,255
2002-04           $4,401       $1,208       $3,193          $3,193     $1,393         $73,055
2002-05           $4,401       $1,686       $2,714          $2,714     $1,393         $74,377
2002-06           $4,401       $1,208       $3,193          $3,193     $1,393         $76,177
2002-07           $4,510       $1,208       $3,302          $3,302     $1,393         $78,086
2002-08           $4,510       $1,208       $3,302          $3,302     $1,393         $79,995
2002-09           $4,797       $1,208       $3,590          $3,590     $1,393         $82,192
2002-10           $4,797       $1,535       $3,262          $3,262     $1,393         $84,061
2002-11           $4,797       $1,663       $3,134          $3,134     $1,393         $85,803
2002-12           $4,797       $1,535       $3,262          $3,262     $1,393         $87,672
2003-01           $4,797       $2,687       $2,111          $2,111     $1,393         $88,389
2003-02           $4,797       $1,208       $3,590          $3,590     $1,393         $90,586
2003-03           $4,808       $1,208       $3,600          $3,600     $1,393         $92,794
2003-04           $4,808       $1,535       $3,273          $3,273     $1,393         $94,673
2003-05           $5,085       $2,175       $2,910          $2,910     $1,393         $96,190
2003-06           $5,085       $1,208       $3,877          $3,877     $1,393         $98,674




                                                                                       Exhibit A to
                                                                       I. Varner's Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 80 of 219
                                         Exhibit A --
                                  Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly      Monthly                   NYC Pension    Cumulative
Month       Monthly                                  Damages with
                           Mitigation   Damages                    Mitigation     Damages
             Earnings                                  Attrition
2003-07           $5,085       $1,208       $3,877          $3,877     $1,393        $101,158
2003-08           $5,085       $1,208       $3,877          $3,877     $1,393        $103,642
2003-09           $5,085       $1,208       $3,877          $3,877     $1,393        $106,127
2003-10           $5,085       $2,303       $2,782          $2,782     $1,393        $107,515
2003-11           $5,085       $1,663       $3,421          $3,421     $1,393        $109,544
2003-12           $5,186       $1,697       $3,490          $3,490     $1,393        $111,640
2004-01           $5,186       $1,766       $3,420          $3,420     $1,393        $113,667
2004-02           $5,186       $1,208       $3,979          $3,979     $1,393        $116,253
2004-03           $5,186       $1,636       $3,550          $3,550     $1,393        $118,410
2004-04           $5,186       $1,636       $3,550          $3,550     $1,393        $120,568
2004-05           $5,186       $1,766       $3,420          $3,420     $1,393        $122,594
2004-06           $5,186       $1,208       $3,979          $3,979     $1,393        $125,180
2004-07           $5,186       $1,208       $3,979          $3,979     $1,393        $127,766
2004-08           $5,186       $1,208       $3,979          $3,979     $1,393        $130,352
2004-09           $5,186       $1,208       $3,979          $3,979     $1,393        $132,938
2004-10           $5,186       $1,636       $3,550          $3,550     $1,393        $135,095
2004-11           $5,186       $1,636       $3,550          $3,550     $1,393        $137,252
2004-12           $5,351       $1,421       $3,930          $3,930     $1,393        $139,790
2005-01           $5,351       $1,237       $4,114          $4,114     $1,393        $142,511
2005-02           $5,351       $1,339       $4,012          $4,012     $1,393        $145,130
2005-03               $0           $0           $0              $0     $1,393        $145,130
2005-04               $0           $0           $0              $0     $1,393        $145,130
2005-05               $0           $0           $0              $0     $1,393        $145,130
2005-06               $0           $0           $0              $0     $1,393        $145,130
2005-07               $0           $0           $0              $0     $1,393        $145,130
2005-08               $0           $0           $0              $0     $1,393        $145,130
2005-09               $0           $0           $0              $0     $1,393        $145,130
2005-10               $0           $0           $0              $0     $1,393        $145,130
2005-11           $5,663       $1,237       $4,426          $4,396     $1,393        $148,133
2005-12           $5,663       $1,237       $4,426          $4,365     $1,393        $151,105
2006-01           $5,663       $1,301       $4,362          $4,272     $1,393        $153,984
2006-02           $5,663       $1,301       $4,362          $4,242     $1,393        $156,833
2006-03           $5,663       $1,962       $3,701          $3,574     $1,393        $159,014
2006-04           $5,663       $1,301       $4,362          $4,182     $1,393        $161,803
2006-05           $5,663       $1,301       $4,362          $4,152     $1,393        $164,562
2006-06           $5,663       $1,301       $4,362          $4,122     $1,393        $167,291
2006-07           $5,663       $1,301       $4,362          $4,092     $1,393        $169,990
2006-08           $5,663       $1,301       $4,362          $4,062     $1,393        $172,659
2006-09           $5,663       $1,301       $4,362          $4,032     $1,393        $175,298
2006-10           $5,847       $1,301       $4,546          $4,171     $1,393        $178,077




                                                                                       Exhibit A to
                                                                       I. Varner's Findings of Fact
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                                         Exhibit A --
                                  Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly      Monthly                   NYC Pension    Cumulative
Month       Monthly                                  Damages with
                           Mitigation   Damages                    Mitigation     Damages
             Earnings                                  Attrition
2006-11           $5,847       $1,301       $4,546          $4,140     $1,419        $180,798
2006-12           $5,847       $1,301       $4,546          $4,110     $1,419        $183,489
2007-01           $6,011       $1,453       $4,558          $4,089     $1,419        $186,159
2007-02           $6,011       $1,453       $4,558          $4,058     $1,419        $188,798
2007-03           $6,011       $1,453       $4,558          $4,027     $1,419        $191,406




                                                                                       Exhibit A to
                                                                       I. Varner's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          1996-12     Regularly Appointed Teacher               $34,774
          1997-01     Regularly Appointed Teacher               $34,774
          1997-02     Regularly Appointed Teacher               $34,774
          1997-03     Regularly Appointed Teacher               $34,774
          1997-04     Regularly Appointed Teacher               $34,774
          1997-05     Regularly Appointed Teacher               $34,774
          1997-06     Regularly Appointed Teacher               $34,774
          1997-07     Regularly Appointed Teacher               $34,774
          1997-08     Regularly Appointed Teacher               $34,774
          1997-09     Regularly Appointed Teacher               $34,774
          1997-10     Regularly Appointed Teacher               $35,817
          1997-11     Regularly Appointed Teacher               $35,817
          1997-12     Regularly Appointed Teacher               $36,410
          1998-01     Regularly Appointed Teacher               $37,015
          1998-02     Regularly Appointed Teacher               $37,015
          1998-03     Regularly Appointed Teacher               $37,015
          1998-04     Regularly Appointed Teacher               $37,015
          1998-05     Regularly Appointed Teacher               $37,015
          1998-06     Regularly Appointed Teacher               $37,015
          1998-07     Regularly Appointed Teacher               $37,015
          1998-08     Regularly Appointed Teacher               $37,015
          1998-09     Regularly Appointed Teacher               $37,015
          1998-10     Regularly Appointed Teacher               $37,756
          1998-11     Regularly Appointed Teacher               $37,756
          1998-12     Regularly Appointed Teacher               $38,839
          1999-01     Regularly Appointed Teacher               $41,011
          1999-02     Regularly Appointed Teacher               $41,011
          1999-03     Regularly Appointed Teacher               $41,011
          1999-04     Regularly Appointed Teacher               $41,831
          1999-05     Regularly Appointed Teacher               $41,831
          1999-06     Regularly Appointed Teacher               $41,831
          1999-07     Regularly Appointed Teacher               $41,831
          1999-08     Regularly Appointed Teacher               $41,831
          1999-09     Regularly Appointed Teacher               $41,831
          1999-10     Regularly Appointed Teacher               $41,831
          1999-11     Regularly Appointed Teacher               $41,831
          1999-12     Regularly Appointed Teacher               $45,625
          2000-01     Regularly Appointed Teacher               $48,152
          2000-02     Regularly Appointed Teacher               $48,152




                                                                                    Exhibit B to
                                                                    I. Varner's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2000-03     Regularly Appointed Teacher               $48,152
          2000-04     Regularly Appointed Teacher               $48,152
          2000-05     Regularly Appointed Teacher               $48,152
          2000-06     Regularly Appointed Teacher               $48,152
          2000-07     Regularly Appointed Teacher               $48,152
          2000-08     Regularly Appointed Teacher               $48,152
          2000-09     Regularly Appointed Teacher               $48,152
          2000-10     Regularly Appointed Teacher               $48,152
          2000-11     Regularly Appointed Teacher               $50,078
          2000-12     Regularly Appointed Teacher               $50,293
          2001-01     Regularly Appointed Teacher               $50,293
          2001-02     Regularly Appointed Teacher               $50,293
          2001-03     Regularly Appointed Teacher / LWOP        $50,293
          2001-04     Regularly Appointed Teacher / LWOP        $50,293
          2001-05     Regularly Appointed Teacher / LWOP        $50,293
          2001-06     Regularly Appointed Teacher / LWOP        $50,293
          2001-07     Regularly Appointed Teacher / LWOP        $50,293
          2001-08     Regularly Appointed Teacher / LWOP        $50,293
          2001-09     Regularly Appointed Teacher / LWOP        $50,293
          2001-10     Regularly Appointed Teacher / LWOP        $50,293
          2001-11     Regularly Appointed Teacher / LWOP        $52,807
          2001-12     Regularly Appointed Teacher / LWOP        $52,807
          2002-01     Regularly Appointed Teacher               $52,807
          2002-02     Regularly Appointed Teacher               $52,807
          2002-03     Regularly Appointed Teacher               $52,807
          2002-04     Regularly Appointed Teacher               $52,807
          2002-05     Regularly Appointed Teacher               $52,807
          2002-06     Regularly Appointed Teacher               $52,807
          2002-07     Regularly Appointed Teacher               $54,117
          2002-08     Regularly Appointed Teacher               $54,117
          2002-09     Regularly Appointed Teacher               $57,569
          2002-10     Regularly Appointed Teacher               $57,569
          2002-11     Regularly Appointed Teacher               $57,569
          2002-12     Regularly Appointed Teacher               $57,569
          2003-01     Regularly Appointed Teacher               $57,569
          2003-02     Regularly Appointed Teacher               $57,569
          2003-03     Regularly Appointed Teacher               $57,695
          2003-04     Regularly Appointed Teacher               $57,695
          2003-05     Regularly Appointed Teacher               $61,015
          2003-06     Regularly Appointed Teacher               $61,015




                                                                                    Exhibit B to
                                                                    I. Varner's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2003-07     Regularly Appointed Teacher               $61,015
          2003-08     Regularly Appointed Teacher               $61,015
          2003-09     Regularly Appointed Teacher               $61,015
          2003-10     Regularly Appointed Teacher               $61,015
          2003-11     Regularly Appointed Teacher               $61,015
          2003-12     Regularly Appointed Teacher               $62,235
          2004-01     Regularly Appointed Teacher               $62,235
          2004-02     Regularly Appointed Teacher               $62,235
          2004-03     Regularly Appointed Teacher               $62,235
          2004-04     Regularly Appointed Teacher               $62,235
          2004-05     Regularly Appointed Teacher               $62,235
          2004-06     Regularly Appointed Teacher               $62,235
          2004-07     Regularly Appointed Teacher               $62,235
          2004-08     Regularly Appointed Teacher               $62,235
          2004-09     Regularly Appointed Teacher               $62,235
          2004-10     Regularly Appointed Teacher               $62,235
          2004-11     Regularly Appointed Teacher               $62,235
          2004-12     Regularly Appointed Teacher               $64,214
          2005-01     Regularly Appointed Teacher               $64,214
          2005-02     Regularly Appointed Teacher               $64,214
          2005-03     Regularly Appointed Teacher / LWOP        $64,214
          2005-04     Regularly Appointed Teacher / LWOP        $64,214
          2005-05     Regularly Appointed Teacher / LWOP        $64,214
          2005-06     Regularly Appointed Teacher / LWOP        $64,214
          2005-07     Regularly Appointed Teacher / LWOP        $64,214
          2005-08     Regularly Appointed Teacher / LWOP        $64,214
          2005-09     Regularly Appointed Teacher / LWOP        $64,214
          2005-10     Regularly Appointed Teacher / LWOP        $64,214
          2005-11     Regularly Appointed Teacher               $67,957
          2005-12     Regularly Appointed Teacher               $67,957
          2006-01     Regularly Appointed Teacher               $67,957
          2006-02     Regularly Appointed Teacher               $67,957
          2006-03     Regularly Appointed Teacher               $67,957
          2006-04     Regularly Appointed Teacher               $67,957
          2006-05     Regularly Appointed Teacher               $67,957
          2006-06     Regularly Appointed Teacher               $67,957
          2006-07     Regularly Appointed Teacher               $67,957
          2006-08     Regularly Appointed Teacher               $67,957
          2006-09     Regularly Appointed Teacher               $67,957
          2006-10     Regularly Appointed Teacher               $70,167




                                                                                    Exhibit B to
                                                                    I. Varner's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2006-11     Regularly Appointed Teacher               $70,167
          2006-12     Regularly Appointed Teacher               $70,167
          2007-01     Regularly Appointed Teacher               $72,129
          2007-02     Regularly Appointed Teacher               $72,129




                                                                                    Exhibit B to
                                                                    I. Varner's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ISIDRO
                                                                       : GARCIA CRUZ
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Isidro Garcia Cruz (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held hearings on December 3, 2020 and January 13, 2021, with
respect to Mr. Garcia Cruz’s demand for damages and Defendant’s objections, [ECF Nos. 7219,
8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Isidro Garcia
Cruz, which the Special Master recommends that the Court adopt;




                                                   1
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WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Isidro Garcia Cruz (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Garcia Cruz will have
judgment against the BOE as follows:

   1. Backpay in the amount of $394,470;

   2. Tax-component award in the amount of $46,350;

   3. LAST Fees in the amount of $720;

   4. CAR Day award in the amount of $7,000;

   5. Pre-judgment interest calculated to be $76,667; and

   6. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Garcia Cruz will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Garcia Cruz’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Isidro Garcia Cruz; and

       c. Grant Mr. Garcia Cruz retroactive seniority based on her counterfactual monthly
          service history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.




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This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                3
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            Exhibit 1
     Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 90 of 219




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ISIDRO
THE BOARD OF EDUCATION OF THE CITY SCHOOL : GARCIA CRUZ
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Isidro Garcia Cruz:

    1. Class Membership. Mr. Garcia Cruz is a member of the Plaintiff class in this action, and
       is entitled to monetary and injunctive relief from Defendant, the Board of Education of
       the City School District of the City of New York (“BOE”), as compensation for the
       injuries he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Garcia Cruz would have been
                appointed as a regularly appointed teacher in November 1998. The Special
                Master also finds, and the Court agrees, that Mr. Garcia Cruz is eligible to accrue
                backpay damages beginning November 1998.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Garcia Cruz would have worked as a
                regularly appointed teacher until November 1, 2012, Mr. Garcia Cruz accrues
                backpay damages until November 1, 2012, and Mr. Garcia Cruz’s backpay
                damages should not be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Garcia Cruz’s monthly mitigation during each month of the damages
                period was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Garcia Cruz’s monthly backpay damages are as listed in the column
          entitled Monthly Damages on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Garcia Cruz has satisfied his burden of establishing his entitlement
   to the following monetary relief:

       a. Backpay in the amount of $394,470;

       b. A tax-component award in the amount of $46,350;

       c. $720 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. CAR Day damages in the amount of $7,000; and

       e. Pre-judgment interest in the amount of $76,667.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Garcia Cruz has satisfied his burden of establishing his
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Garcia Cruz’s counterfactual monthly BOE
          service history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Garcia Cruz should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Garcia Cruz (the “Pension
          Inputs”) should be imported into the Teachers’ Retirement System of the City of
          New York (“TRS”):

               i.    Date of Birth —        1948

               ii.   Gender — Male

               iii. Address —                            New York, NY 10034

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   November 10, 1998

               v.    BOE Employment Title — As listed in column entitled Title on Exhibit B



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               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — November
                   1, 2012

               x.   Retirement date (if any) — November 1, 2012

DATED: November 23, 2021




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                                    Exhibit A --
                             Monthly Backpay Damages


                Counterfactual    Monthly         Monthly        Cumulative
     Month
               Monthly Earnings   Mitigation      Damages         Damages

     1998-11             $2,517          $542          $1,572            $1,572
     1998-12             $2,517          $960          $1,557            $3,129
     1999-01             $2,517          $626          $1,525            $4,654
     1999-02             $2,517          $104          $1,525            $6,180
     1999-03             $2,517         $1,566          $951             $7,131
     1999-04             $2,567          $950          $1,576            $8,706
     1999-05             $2,567         $1,384         $1,183            $9,889
     1999-06             $2,567           -$24         $1,576           $11,465
     1999-07             $2,567           -$24         $1,576           $13,040
     1999-08             $2,567           -$24         $1,576           $14,616
     1999-09             $2,567          $319          $1,576           $16,192
     1999-10             $2,567         $1,278         $1,289           $17,481
     1999-11             $2,619         $1,704          $915            $18,396
     1999-12             $2,712         $1,080         $1,632           $20,028
     2000-01             $2,712          $773          $1,633           $21,662
     2000-02             $2,712         $1,104         $1,609           $23,270
     2000-03             $2,712         $1,986          $727            $23,997
     2000-04             $2,712          $883          $1,633           $25,630
     2000-05             $2,712         $2,206          $506            $26,136
     2000-06             $3,057          $552          $1,978           $28,114
     2000-07             $3,057           -$26         $1,978           $30,092
     2000-08             $3,057           -$26         $1,978           $32,070
     2000-09             $3,057          $773          $1,978           $34,048
     2000-10             $3,057         $2,206          $851            $34,898
     2000-11             $3,235         $2,136         $1,099           $35,997
     2000-12             $3,235         $1,033         $2,155           $38,152
     2001-01             $3,235         $1,491         $1,743           $39,896
     2001-02             $3,235         $1,376         $1,858           $41,754
     2001-03             $3,235         $1,376         $1,858           $43,612
     2001-04             $3,235         $1,376         $1,858           $45,470
     2001-05             $3,235         $2,523          $711            $46,181
     2001-06             $3,235          $803          $2,103           $48,284
     2001-07             $3,235           -$79         $2,103           $50,387
     2001-08             $3,235           -$79         $2,103           $52,490
     2001-09             $3,235         $1,376         $1,858           $54,348
     2001-10             $3,235         $1,950         $1,285           $55,633
     2001-11             $3,454         $2,002         $1,453           $57,086
     2001-12             $3,454         $1,204         $2,250           $59,336
     2002-01             $3,454         $1,405         $2,050           $61,385




                                                                                 Exhibit A to
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                                    Exhibit A --
                             Monthly Backpay Damages


                Counterfactual    Monthly         Monthly        Cumulative
     Month
               Monthly Earnings   Mitigation      Damages         Damages

     2002-02             $3,454         $1,164         $2,247          $63,632
     2002-03             $3,454         $2,127         $1,327          $64,959
     2002-04             $3,454         $1,766         $1,688          $66,647
     2002-05             $3,454         $2,127         $1,327          $67,974
     2002-06             $3,454         $1,284         $2,170          $70,144
     2002-07             $3,454           -$81         $2,247          $72,391
     2002-08             $3,454           -$81         $2,247          $74,638
     2002-09             $3,751         $1,615         $2,136          $76,774
     2002-10             $3,751         $2,895          $856           $77,630
     2002-11             $3,792         $2,255         $1,537          $79,167
     2002-12             $3,792         $1,359         $2,433          $81,600
     2003-01             $3,792         $1,535         $2,257          $83,857
     2003-02             $3,792         $1,024         $2,585          $86,441
     2003-03             $3,792         $1,791         $2,001          $88,442
     2003-04             $3,792         $1,791         $2,001          $90,443
     2003-05             $3,792         $2,431         $1,361          $91,805
     2003-06             $3,792         $2,175         $1,617          $93,422
     2003-07             $3,792          -$109         $2,585          $96,007
     2003-08             $3,792          -$109         $2,585          $98,591
     2003-09             $3,792           $256         $2,585         $101,176
     2003-10             $3,792         $1,280         $2,513         $103,689
     2003-11             $3,837         $1,283         $2,554         $106,243
     2003-12             $3,914         $2,090         $1,823         $108,066
     2004-01             $3,914         $1,566         $2,348         $110,413
     2004-02             $3,914         $1,436         $2,478         $112,891
     2004-03             $3,978         $2,610         $1,368         $114,259
     2004-04             $3,978         $1,697         $2,281         $116,541
     2004-05             $3,978         $1,958         $2,020         $118,561
     2004-06             $3,978         $1,175         $2,770         $121,331
     2004-07             $3,978          -$135         $2,770         $124,102
     2004-08             $3,978          -$135         $2,770         $126,872
     2004-09             $3,978           $783         $2,770         $129,642
     2004-10             $3,978         $2,088         $1,890         $131,532
     2004-11             $4,073         $2,349         $1,724         $133,257
     2004-12             $4,216         $2,384         $1,832         $135,088
     2005-01             $4,216         $2,293         $1,923         $137,011
     2005-02             $4,216         $2,094         $2,122         $139,132
     2005-03             $4,448         $2,802         $1,646         $140,778
     2005-04             $4,448         $1,586         $2,861         $143,640
     2005-05             $4,448         $2,730         $1,717         $145,357




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                                    Exhibit A --
                             Monthly Backpay Damages


                Counterfactual    Monthly         Monthly        Cumulative
     Month
               Monthly Earnings   Mitigation      Damages         Damages

     2005-06             $4,448         $1,419         $3,028         $148,385
     2005-07             $4,448           -$56         $3,211         $151,596
     2005-08             $4,448           -$56         $3,211         $154,807
     2005-09             $4,448         $1,149         $3,211         $158,018
     2005-10             $4,448         $1,689         $2,758         $160,776
     2005-11             $4,921         $1,750         $3,171         $163,947
     2005-12             $4,921         $2,170         $2,750         $166,697
     2006-01             $4,921         $1,997         $2,924         $169,621
     2006-02             $4,921           $876         $3,620         $173,241
     2006-03             $5,192         $1,997         $3,195         $176,436
     2006-04             $5,192         $1,436         $3,756         $180,191
     2006-05             $5,192         $1,436         $3,756         $183,947
     2006-06             $5,192         $1,436         $3,756         $187,703
     2006-07             $5,192          -$124         $3,891         $191,594
     2006-08             $5,192          -$124         $3,891         $195,486
     2006-09             $5,192          -$124         $3,891         $199,377
     2006-10             $5,361         $1,477         $3,884         $203,261
     2006-11             $5,361         $4,134         $1,227         $204,488
     2006-12             $5,361         $4,134         $1,227         $205,715
     2007-01             $5,361         $4,134         $1,227         $206,942
     2007-02             $5,361         $4,134         $1,227         $208,170
     2007-03             $5,361         $4,386          $975          $209,145
     2007-04             $5,361         $4,386          $975          $210,120
     2007-05             $5,361         $4,386          $975          $211,095
     2007-06             $5,361         $4,386          $975          $212,070
     2007-07             $5,361         $4,386          $975          $213,045
     2007-08             $5,361         $4,386          $975          $214,020
     2007-09             $5,361         $4,386          $975          $214,995
     2007-10             $5,468         $4,474          $995          $215,989
     2007-11             $5,468         $4,715          $754          $216,743
     2007-12             $5,468         $4,715          $754          $217,497
     2008-01             $5,468         $4,715          $754          $218,250
     2008-02             $5,468         $5,182          $286          $218,536
     2008-03             $5,468         $5,468             $0         $218,536
     2008-04             $5,468         $5,468             $0         $218,536
     2008-05             $5,825         $5,825             $0         $218,536
     2008-06             $5,825         $5,825             $0         $218,536
     2008-07             $5,825         $5,825             $0         $218,536
     2008-08             $5,825         $5,825             $0         $218,536
     2008-09             $5,825         $5,825             $0         $218,536




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                                    Exhibit A --
                             Monthly Backpay Damages


                Counterfactual    Monthly         Monthly        Cumulative
     Month
               Monthly Earnings   Mitigation      Damages         Damages

     2008-10             $5,825         $5,825             $0         $218,536
     2008-11             $6,083         $5,825          $257          $218,794
     2008-12             $6,083         $5,825          $257          $219,051
     2009-01             $6,083         $5,825          $257          $219,308
     2009-02             $6,083         $5,825          $257          $219,566
     2009-03             $6,083         $5,825          $257          $219,823
     2009-04             $6,083         $5,825          $257          $220,081
     2009-05             $6,083         $5,825          $257          $220,338
     2009-06             $6,083         $5,825          $257          $220,596
     2009-07             $6,083         $5,825          $257          $220,853
     2009-08             $6,083         $5,825          $257          $221,110
     2009-09             $6,083         $3,142         $2,941         $224,051
     2009-10             $6,083         $1,395         $4,688         $228,739
     2009-11             $6,083         $1,085         $4,998         $233,737
     2009-12             $6,083         $1,705         $4,378         $238,115
     2010-01             $6,083         $1,518         $4,565         $242,679
     2010-02             $6,083           $930         $5,153         $247,832
     2010-03             $6,083         $2,325         $3,758         $251,590
     2010-04             $6,083         $1,027         $5,056         $256,645
     2010-05             $6,083         $2,789         $3,293         $259,938
     2010-06             $6,083           $155         $5,928         $265,866
     2010-07             $6,083          -$127         $4,624         $270,490
     2010-08             $6,083          -$127         $4,624         $275,114
     2010-09             $6,083           $310         $4,624         $279,738
     2010-10             $6,083         $1,086         $4,624         $284,363
     2010-11             $6,083         $2,325         $3,758         $288,120
     2010-12             $6,083         $2,015         $4,068         $292,188
     2011-01             $6,083         $1,033         $4,624         $296,813
     2011-02             $6,083         $1,498         $4,584         $301,397
     2011-03             $6,083         $2,117         $3,966         $305,363
     2011-04             $6,083           $878         $4,624         $309,987
     2011-05             $6,083         $1,963         $4,120         $314,107
     2011-06             $6,083           $723         $4,624         $318,731
     2011-07             $6,083           -$26         $4,624         $323,355
     2011-08             $6,083           -$26         $4,624         $327,979
     2011-09             $6,083           -$26         $4,624         $332,603
     2011-10             $6,083           $568         $4,624         $337,228
     2011-11             $6,258         $1,808         $4,450         $341,677
     2011-12             $6,258           $879         $4,799         $346,477
     2012-01             $6,258           -$57         $4,799         $351,276




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                                    Exhibit A --
                             Monthly Backpay Damages


                Counterfactual    Monthly         Monthly        Cumulative
     Month
               Monthly Earnings   Mitigation      Damages         Damages

     2012-02             $6,258           -$57         $4,799         $356,075
     2012-03             $6,258           -$57         $4,799         $360,875
     2012-04             $6,258           -$57         $4,799         $365,674
     2012-05             $6,258           -$57         $4,799         $370,473
     2012-06             $6,258           -$57         $4,799         $375,273
     2012-07             $6,258           -$57         $4,799         $380,072
     2012-08             $6,258           -$57         $4,799         $384,871
     2012-09             $6,258           $531         $4,799         $389,671
     2012-10             $6,258           $155         $4,799         $394,470




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          1998-11     Regularly Appointed Teacher               $30,203
          1998-12     Regularly Appointed Teacher               $30,203
          1999-01     Regularly Appointed Teacher               $30,203
          1999-02     Regularly Appointed Teacher               $30,203
          1999-03     Regularly Appointed Teacher               $30,203
          1999-04     Regularly Appointed Teacher               $30,807
          1999-05     Regularly Appointed Teacher               $30,807
          1999-06     Regularly Appointed Teacher               $30,807
          1999-07     Regularly Appointed Teacher               $30,807
          1999-08     Regularly Appointed Teacher               $30,807
          1999-09     Regularly Appointed Teacher               $30,807
          1999-10     Regularly Appointed Teacher               $30,807
          1999-11     Regularly Appointed Teacher               $31,424
          1999-12     Regularly Appointed Teacher               $32,549
          2000-01     Regularly Appointed Teacher               $32,549
          2000-02     Regularly Appointed Teacher               $32,549
          2000-03     Regularly Appointed Teacher               $32,549
          2000-04     Regularly Appointed Teacher               $32,549
          2000-05     Regularly Appointed Teacher               $32,549
          2000-06     Regularly Appointed Teacher               $36,684
          2000-07     Regularly Appointed Teacher               $36,684
          2000-08     Regularly Appointed Teacher               $36,684
          2000-09     Regularly Appointed Teacher               $36,684
          2000-10     Regularly Appointed Teacher               $36,684
          2000-11     Regularly Appointed Teacher               $38,815
          2000-12     Regularly Appointed Teacher               $38,815
          2001-01     Regularly Appointed Teacher               $38,815
          2001-02     Regularly Appointed Teacher               $38,815
          2001-03     Regularly Appointed Teacher               $38,815
          2001-04     Regularly Appointed Teacher               $38,815
          2001-05     Regularly Appointed Teacher               $38,815
          2001-06     Regularly Appointed Teacher               $38,815
          2001-07     Regularly Appointed Teacher               $38,815
          2001-08     Regularly Appointed Teacher               $38,815
          2001-09     Regularly Appointed Teacher               $38,815
          2001-10     Regularly Appointed Teacher               $38,815
          2001-11     Regularly Appointed Teacher               $41,452
          2001-12     Regularly Appointed Teacher               $41,452
          2002-01     Regularly Appointed Teacher               $41,452




                                                                                    Exhibit B to
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2002-02     Regularly Appointed Teacher               $41,452
          2002-03     Regularly Appointed Teacher               $41,452
          2002-04     Regularly Appointed Teacher               $41,452
          2002-05     Regularly Appointed Teacher               $41,452
          2002-06     Regularly Appointed Teacher               $41,452
          2002-07     Regularly Appointed Teacher               $41,452
          2002-08     Regularly Appointed Teacher               $41,452
          2002-09     Regularly Appointed Teacher               $45,011
          2002-10     Regularly Appointed Teacher               $45,011
          2002-11     Regularly Appointed Teacher               $45,506
          2002-12     Regularly Appointed Teacher               $45,506
          2003-01     Regularly Appointed Teacher               $45,506
          2003-02     Regularly Appointed Teacher               $45,506
          2003-03     Regularly Appointed Teacher               $45,506
          2003-04     Regularly Appointed Teacher               $45,506
          2003-05     Regularly Appointed Teacher               $45,506
          2003-06     Regularly Appointed Teacher               $45,506
          2003-07     Regularly Appointed Teacher               $45,506
          2003-08     Regularly Appointed Teacher               $45,506
          2003-09     Regularly Appointed Teacher               $45,506
          2003-10     Regularly Appointed Teacher               $45,506
          2003-11     Regularly Appointed Teacher               $46,041
          2003-12     Regularly Appointed Teacher               $46,962
          2004-01     Regularly Appointed Teacher               $46,962
          2004-02     Regularly Appointed Teacher               $46,962
          2004-03     Regularly Appointed Teacher               $47,734
          2004-04     Regularly Appointed Teacher               $47,734
          2004-05     Regularly Appointed Teacher               $47,734
          2004-06     Regularly Appointed Teacher               $47,734
          2004-07     Regularly Appointed Teacher               $47,734
          2004-08     Regularly Appointed Teacher               $47,734
          2004-09     Regularly Appointed Teacher               $47,734
          2004-10     Regularly Appointed Teacher               $47,734
          2004-11     Regularly Appointed Teacher               $48,881
          2004-12     Regularly Appointed Teacher               $50,592
          2005-01     Regularly Appointed Teacher               $50,592
          2005-02     Regularly Appointed Teacher               $50,592
          2005-03     Regularly Appointed Teacher               $53,370
          2005-04     Regularly Appointed Teacher               $53,370
          2005-05     Regularly Appointed Teacher               $53,370




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2005-06     Regularly Appointed Teacher               $53,370
          2005-07     Regularly Appointed Teacher               $53,370
          2005-08     Regularly Appointed Teacher               $53,370
          2005-09     Regularly Appointed Teacher               $53,370
          2005-10     Regularly Appointed Teacher               $53,370
          2005-11     Regularly Appointed Teacher               $59,049
          2005-12     Regularly Appointed Teacher               $59,049
          2006-01     Regularly Appointed Teacher               $59,049
          2006-02     Regularly Appointed Teacher               $59,049
          2006-03     Regularly Appointed Teacher               $62,306
          2006-04     Regularly Appointed Teacher               $62,306
          2006-05     Regularly Appointed Teacher               $62,306
          2006-06     Regularly Appointed Teacher               $62,306
          2006-07     Regularly Appointed Teacher               $62,306
          2006-08     Regularly Appointed Teacher               $62,306
          2006-09     Regularly Appointed Teacher               $62,306
          2006-10     Regularly Appointed Teacher               $64,333
          2006-11     Regularly Appointed Teacher               $64,333
          2006-12     Regularly Appointed Teacher               $64,333
          2007-01     Regularly Appointed Teacher               $64,333
          2007-02     Regularly Appointed Teacher               $64,333
          2007-03     Regularly Appointed Teacher               $64,333
          2007-04     Regularly Appointed Teacher               $64,333
          2007-05     Regularly Appointed Teacher               $64,333
          2007-06     Regularly Appointed Teacher               $64,333
          2007-07     Regularly Appointed Teacher               $64,333
          2007-08     Regularly Appointed Teacher               $64,333
          2007-09     Regularly Appointed Teacher               $64,333
          2007-10     Regularly Appointed Teacher               $65,620
          2007-11     Regularly Appointed Teacher               $65,620
          2007-12     Regularly Appointed Teacher               $65,620
          2008-01     Regularly Appointed Teacher               $65,620
          2008-02     Regularly Appointed Teacher               $65,620
          2008-03     Regularly Appointed Teacher               $65,620
          2008-04     Regularly Appointed Teacher               $65,620
          2008-05     Regularly Appointed Teacher               $69,901
          2008-06     Regularly Appointed Teacher               $69,901
          2008-07     Regularly Appointed Teacher               $69,901
          2008-08     Regularly Appointed Teacher               $69,901
          2008-09     Regularly Appointed Teacher               $69,901




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2008-10     Regularly Appointed Teacher               $69,901
          2008-11     Regularly Appointed Teacher               $72,990
          2008-12     Regularly Appointed Teacher               $72,990
          2009-01     Regularly Appointed Teacher               $72,990
          2009-02     Regularly Appointed Teacher               $72,990
          2009-03     Regularly Appointed Teacher               $72,990
          2009-04     Regularly Appointed Teacher               $72,990
          2009-05     Regularly Appointed Teacher               $72,990
          2009-06     Regularly Appointed Teacher               $72,990
          2009-07     Regularly Appointed Teacher               $72,990
          2009-08     Regularly Appointed Teacher               $72,990
          2009-09     Regularly Appointed Teacher               $72,990
          2009-10     Regularly Appointed Teacher               $72,990
          2009-11     Regularly Appointed Teacher               $72,990
          2009-12     Regularly Appointed Teacher               $72,990
          2010-01     Regularly Appointed Teacher               $72,990
          2010-02     Regularly Appointed Teacher               $72,990
          2010-03     Regularly Appointed Teacher               $72,990
          2010-04     Regularly Appointed Teacher               $72,990
          2010-05     Regularly Appointed Teacher               $72,990
          2010-06     Regularly Appointed Teacher               $72,990
          2010-07     Regularly Appointed Teacher               $72,990
          2010-08     Regularly Appointed Teacher               $72,990
          2010-09     Regularly Appointed Teacher               $72,990
          2010-10     Regularly Appointed Teacher               $72,990
          2010-11     Regularly Appointed Teacher               $72,990
          2010-12     Regularly Appointed Teacher               $72,990
          2011-01     Regularly Appointed Teacher               $72,990
          2011-02     Regularly Appointed Teacher               $72,990
          2011-03     Regularly Appointed Teacher               $72,990
          2011-04     Regularly Appointed Teacher               $72,990
          2011-05     Regularly Appointed Teacher               $72,990
          2011-06     Regularly Appointed Teacher               $72,990
          2011-07     Regularly Appointed Teacher               $72,990
          2011-08     Regularly Appointed Teacher               $72,990
          2011-09     Regularly Appointed Teacher               $72,990
          2011-10     Regularly Appointed Teacher               $72,990
          2011-11     Regularly Appointed Teacher               $75,092
          2011-12     Regularly Appointed Teacher               $75,092
          2012-01     Regularly Appointed Teacher               $75,092




                                                                                    Exhibit B to
                                                               I. Garcia Cruz's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-02     Regularly Appointed Teacher               $75,092
          2012-03     Regularly Appointed Teacher               $75,092
          2012-04     Regularly Appointed Teacher               $75,092
          2012-05     Regularly Appointed Teacher               $75,092
          2012-06     Regularly Appointed Teacher               $75,092
          2012-07     Regularly Appointed Teacher               $75,092
          2012-08     Regularly Appointed Teacher               $75,092
          2012-09     Regularly Appointed Teacher               $75,092
          2012-10     Regularly Appointed Teacher               $75,092




                                                                                    Exhibit B to
                                                               I. Garcia Cruz's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : IYABODE
                                                                       : FASASI
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Iyabode Fasasi (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on January 5, 2021, with respect to Ms. Fasasi’s
demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Iyabode
Fasasi, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Iyabode Fasasi (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Fasasi will have
judgment against the BOE as follows:

   1. Backpay in the amount of $313,221;

   2. Tax-component award in the amount of $36,803;

   3. LAST Fees in the amount of $70;

   4. ASAF account award in the amount of $2,690;

   5. CAR Day award in the amount of $8,458;

   6. Pre-judgment interest calculated to be $30,037; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Fasasi will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Fasasi’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Iyabode Fasasi; and

       c. Grant Ms. Fasasi retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : IYABODE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FASASI
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Iyabode Fasasi:

    1. Class Membership. Ms. Fasasi is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Fasasi would have been appointed as a
                regularly appointed teacher in January 2004. The Special Master also finds, and
                the Court agrees, that Ms. Fasasi is eligible to accrue backpay damages beginning
                January 2004.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Fasasi would have worked as a
                regularly appointed teacher until January 1, 2014, Ms. Fasasi accrues backpay
                damages through the date of judgment, and Ms. Fasasi’s backpay damages should
                be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Fasasi’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Fasasi’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Fasasi has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $313,221;

       b. A tax-component award in the amount of $36,803;

       c. $70 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,690;

       e. CAR Day damages in the amount of $8,458; and

       f. Pre-judgment interest in the amount of $30,037.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Fasasi has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Fasasi’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Fasasi should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Fasasi (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —             1967

               ii.   Gender — Female

               iii. Address —                                Brooklyn, NY 11208

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 1, 2004



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — January 1,
                   2014

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 109 of 219
                                   Exhibit A --
                            Monthly Backpay Damages

          Counterfactual                                 Monthly
                           Monthly        Monthly                       Cumulative
 Month      Monthly                                    Damages with
                           Mitigation     Damages                        Damages
             Earnings                                    Attrition
2004-01           $3,826         $2,162       $1,664          $1,426           $1,426
2004-02           $3,826         $2,162       $1,664          $1,421           $2,847
2004-03           $3,826         $2,162       $1,664          $1,416           $4,264
2004-04           $3,826         $2,162       $1,664          $1,411           $5,675
2004-05           $3,826         $2,162       $1,664          $1,406           $7,081
2004-06           $3,826         $2,162       $1,664          $1,401           $8,482
2004-07           $3,826         $2,162       $1,664          $1,396           $9,878
2004-08           $3,826         $2,162       $1,664          $1,391          $11,269
2004-09           $3,826         $2,162       $1,664          $1,386          $12,656
2004-10           $3,826         $2,162       $1,664          $1,381          $14,037
2004-11           $3,826         $2,162       $1,664          $1,376          $15,413
2004-12           $3,960         $2,162       $1,798          $1,482          $16,895
2005-01           $4,003         $2,686       $1,317          $1,082          $17,977
2005-02           $4,003         $2,686       $1,317          $1,078          $19,055
2005-03           $4,003         $2,686       $1,317          $1,074          $20,129
2005-04           $4,003         $2,686       $1,317          $1,070          $21,200
2005-05           $4,003         $2,686       $1,317          $1,067          $22,266
2005-06           $4,003         $2,686       $1,317          $1,063          $23,329
2005-07           $4,024         $2,686       $1,338          $1,076          $24,405
2005-08           $4,024         $2,686       $1,338          $1,072          $25,476
2005-09           $4,024         $2,686       $1,338          $1,068          $26,544
2005-10           $4,024         $2,686       $1,338          $1,064          $27,608
2005-11           $4,246         $2,686       $1,560          $1,235          $28,844
2005-12           $4,246         $2,686       $1,560          $1,231          $30,075
2006-01           $4,295         $2,272       $2,024          $1,592          $31,666
2006-02           $4,295         $2,272       $2,024          $1,586          $33,252
2006-03           $4,366         $2,272       $2,094          $1,635          $34,887
2006-04           $4,494         $2,272       $2,223          $1,729          $36,616
2006-05           $4,494         $2,272       $2,223          $1,723          $38,338
2006-06           $4,494         $2,272       $2,223          $1,716          $40,054
2006-07           $4,494         $2,272       $2,223          $1,710          $41,764
2006-08           $4,494         $2,272       $2,223          $1,703          $43,468
2006-09           $4,494         $2,272       $2,223          $1,697          $45,165
2006-10           $4,641         $2,272       $2,369          $1,802          $46,967
2006-11           $4,641         $2,272       $2,369          $1,795          $48,762
2006-12           $4,653         $2,272       $2,381          $1,798          $50,560
2007-01           $4,761         $2,461       $2,299          $1,729          $52,290
2007-02           $4,761         $2,461       $2,299          $1,723          $54,013
2007-03           $5,013         $2,461       $2,552          $1,905          $55,917
2007-04           $5,013         $2,461       $2,552          $1,897          $57,815
2007-05           $5,013         $2,461       $2,552          $1,890          $59,705
2007-06           $5,013         $2,461       $2,552          $1,883          $61,588
2007-07           $5,013         $2,461       $2,552          $1,876          $63,464


                                                                                Exhibit A to
                                                                I. Fasasi's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 110 of 219
                                   Exhibit A --
                            Monthly Backpay Damages

          Counterfactual                                 Monthly
                           Monthly        Monthly                       Cumulative
 Month      Monthly                                    Damages with
                           Mitigation     Damages                        Damages
             Earnings                                    Attrition
2007-08           $5,013         $2,461       $2,552          $1,869         $65,333
2007-09           $5,013         $2,461       $2,552          $1,862         $67,194
2007-10           $5,113         $2,461       $2,652          $1,927         $69,122
2007-11           $5,113         $2,461       $2,652          $1,920         $71,042
2007-12           $5,113         $2,461       $2,652          $1,912         $72,954
2008-01           $5,354         $2,561       $2,793          $2,006         $74,960
2008-02           $5,354         $2,561       $2,793          $1,998         $76,959
2008-03           $5,640         $2,561       $3,079          $2,194         $79,153
2008-04           $5,640         $2,561       $3,079          $2,186         $81,339
2008-05           $6,005         $2,561       $3,444          $2,436         $83,774
2008-06           $6,005         $2,561       $3,444          $2,426         $86,200
2008-07           $6,005         $2,561       $3,444          $2,416         $88,617
2008-08           $6,005         $2,561       $3,444          $2,407         $91,023
2008-09           $6,005         $2,561       $3,444          $2,397         $93,421
2008-10           $6,005         $2,561       $3,444          $2,388         $95,809
2008-11           $6,005         $2,561       $3,444          $2,378         $98,187
2008-12           $6,005         $2,561       $3,444          $2,369        $100,556
2009-01           $6,005         $3,069       $2,936          $2,011        $102,567
2009-02           $6,005         $3,069       $2,936          $2,003        $104,570
2009-03           $6,005         $3,069       $2,936          $1,995        $106,565
2009-04           $6,005         $3,069       $2,936          $1,987        $108,552
2009-05           $6,005         $3,069       $2,936          $1,979        $110,531
2009-06           $6,005         $3,069       $2,936          $1,971        $112,502
2009-07           $6,005         $3,069       $2,936          $1,963        $114,465
2009-08           $6,005         $3,069       $2,936          $1,955        $116,420
2009-09           $6,005         $3,069       $2,936          $1,947        $118,367
2009-10           $6,005         $3,069       $2,936          $1,939        $120,305
2009-11           $6,005         $3,069       $2,936          $1,931        $122,236
2009-12           $6,005         $3,069       $2,936          $1,923        $124,159
2010-01           $6,005         $3,102       $2,903          $1,893        $126,052
2010-02           $6,005         $3,102       $2,903          $1,885        $127,937
2010-03           $6,005         $3,102       $2,903          $1,877        $129,815
2010-04           $6,005         $3,102       $2,903          $1,869        $131,684
2010-05           $6,005         $3,102       $2,903          $1,862        $133,546
2010-06           $6,005         $3,102       $2,903          $1,854        $135,399
2010-07           $6,005         $3,102       $2,903          $1,846        $137,245
2010-08           $6,005         $3,102       $2,903          $1,838        $139,083
2010-09           $6,005         $3,102       $2,903          $1,830        $140,913
2010-10           $6,005         $3,102       $2,903          $1,822        $142,736
2010-11           $6,005         $3,102       $2,903          $1,815        $144,550
2010-12           $6,005         $3,102       $2,903          $1,807        $146,357
2011-01           $6,005         $3,306       $2,699          $1,673        $148,030
2011-02           $6,005         $3,306       $2,699          $1,666        $149,696


                                                                                Exhibit A to
                                                                I. Fasasi's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 111 of 219
                                   Exhibit A --
                            Monthly Backpay Damages

          Counterfactual                                 Monthly
                           Monthly        Monthly                       Cumulative
 Month      Monthly                                    Damages with
                           Mitigation     Damages                        Damages
             Earnings                                    Attrition
2011-03           $6,005         $3,306       $2,699          $1,658        $151,354
2011-04           $6,005         $3,306       $2,699          $1,651        $153,005
2011-05           $6,005         $3,306       $2,699          $1,644        $154,649
2011-06           $6,005         $3,306       $2,699          $1,637        $156,286
2011-07           $6,005         $3,306       $2,699          $1,629        $157,915
2011-08           $6,005         $3,306       $2,699          $1,622        $159,538
2011-09           $6,005         $3,306       $2,699          $1,615        $161,153
2011-10           $6,005         $3,306       $2,699          $1,608        $162,760
2011-11           $6,005         $3,306       $2,699          $1,601        $164,361
2011-12           $6,005         $3,306       $2,699          $1,593        $165,954
2012-01           $6,005         $3,281       $2,724          $1,601        $167,555
2012-02           $6,005         $3,281       $2,724          $1,594        $169,149
2012-03           $6,005         $3,281       $2,724          $1,586        $170,735
2012-04           $6,005         $3,281       $2,724          $1,579        $172,314
2012-05           $6,005         $3,281       $2,724          $1,572        $173,886
2012-06           $6,005         $3,281       $2,724          $1,565        $175,451
2012-07           $6,005         $3,281       $2,724          $1,557        $177,008
2012-08           $6,005         $3,281       $2,724          $1,550        $178,559
2012-09           $6,005         $3,281       $2,724          $1,543        $180,102
2012-10           $6,005         $3,281       $2,724          $1,536        $181,637
2012-11           $6,005         $3,281       $2,724          $1,529        $183,166
2012-12           $6,005         $3,281       $2,724          $1,521        $184,687
2013-01           $6,005         $3,233       $2,772          $1,540        $186,228
2013-02           $6,005         $3,233       $2,772          $1,533        $187,761
2013-03           $6,005         $3,233       $2,772          $1,526        $189,287
2013-04           $6,005         $3,233       $2,772          $1,518        $190,805
2013-05           $6,065         $3,233       $2,832          $1,544        $192,349
2013-06           $6,065         $3,233       $2,832          $1,536        $193,885
2013-07           $6,065         $3,233       $2,832          $1,529        $195,414
2013-08           $6,065         $3,233       $2,832          $1,521        $196,936
2013-09           $6,065         $3,233       $2,832          $1,514        $198,450
2013-10           $6,065         $3,233       $2,832          $1,507        $199,956
2013-11           $6,065         $3,233       $2,832          $1,499        $201,456
2013-12           $6,065         $3,233       $2,832          $1,492        $202,947
2014-01           $6,325         $3,244       $3,081          $1,615        $204,562
2014-02           $6,325         $3,244       $3,081          $1,607        $206,170
2014-03           $6,325         $3,244       $3,081          $1,599        $207,769
2014-04           $6,325         $3,244       $3,081          $1,591        $209,360
2014-05           $6,388         $3,244       $3,145          $1,615        $210,975
2014-06           $6,388         $3,244       $4,145          $2,118        $213,093
2014-07           $6,388         $3,244       $3,145          $1,599        $214,692
2014-08           $6,388         $3,244       $3,145          $1,591        $216,283
2014-09           $6,388         $3,244       $3,145          $1,583        $217,865


                                                                                Exhibit A to
                                                                I. Fasasi's Findings of Fact
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                                   Exhibit A --
                            Monthly Backpay Damages

          Counterfactual                                 Monthly
                           Monthly        Monthly                       Cumulative
 Month      Monthly                                    Damages with
                           Mitigation     Damages                        Damages
             Earnings                                    Attrition
2014-10           $6,388         $3,244       $3,145          $1,574        $219,440
2014-11           $6,388         $3,244       $3,145          $1,566        $221,006
2014-12           $6,388         $3,244       $3,145          $1,558        $222,564
2015-01           $6,388         $3,430       $2,958          $1,458        $224,022
2015-02           $6,388         $3,430       $2,958          $1,450        $225,472
2015-03           $6,388         $3,430       $2,958          $1,443        $226,915
2015-04           $6,388         $3,430       $2,958          $1,435        $228,350
2015-05           $6,581         $3,430       $3,151          $1,520        $229,870
2015-06           $6,581         $3,430       $3,151          $1,512        $231,383
2015-07           $6,581         $3,430       $3,151          $1,504        $232,887
2015-08           $6,581         $3,430       $3,151          $1,496        $234,383
2015-09           $6,581         $3,430       $3,151          $1,488        $235,871
2015-10           $6,581         $3,430       $3,151          $1,480        $237,350
2015-11           $6,581         $3,430       $3,151          $1,472        $238,822
2015-12           $6,581         $3,430       $3,151          $1,463        $240,285
2016-01           $6,581         $4,076       $2,505          $1,157        $241,442
2016-02           $6,581         $4,076       $2,505          $1,151        $242,593
2016-03           $6,581         $4,076       $2,505          $1,144        $243,737
2016-04           $6,581         $4,076       $2,505          $1,138        $244,875
2016-05           $6,811         $4,076       $2,735          $1,235        $246,110
2016-06           $6,811         $4,076       $2,735          $1,228        $247,337
2016-07           $6,811         $4,076       $2,735          $1,221        $248,558
2016-08           $6,811         $4,076       $2,735          $1,214        $249,772
2016-09           $6,811         $4,076       $2,735          $1,207        $250,979
2016-10           $6,811         $4,076       $2,735          $1,200        $252,178
2016-11           $6,811         $4,076       $2,735          $1,193        $253,371
2016-12           $6,811         $4,076       $2,735          $1,186        $254,557
2017-01           $7,001         $4,400       $2,602          $1,121        $255,678
2017-02           $7,001         $4,400       $2,602          $1,114        $256,792
2017-03           $7,001         $4,400       $2,602          $1,108        $257,900
2017-04           $7,001         $4,400       $2,602          $1,101        $259,001
2017-05           $7,320         $4,400       $2,920          $1,228        $260,229
2017-06           $7,320         $4,400       $2,920          $1,221        $261,450
2017-07           $7,320         $4,400       $2,920          $1,214        $262,664
2017-08           $7,320         $4,400       $2,920          $1,206        $263,870
2017-09           $7,320         $4,400       $2,920          $1,199        $265,068
2017-10           $7,320         $4,400       $2,920          $1,191        $266,260
2017-11           $7,320         $4,400       $2,920          $1,184        $267,443
2017-12           $7,320         $4,400       $2,920          $1,176        $268,620
2018-01           $7,320         $4,413       $2,907          $1,164        $269,783
2018-02           $7,320         $4,413       $2,907          $1,156        $270,939
2018-03           $7,320         $4,413       $2,907          $1,149        $272,088
2018-04           $7,320         $4,413       $2,907          $1,141        $273,229


                                                                                Exhibit A to
                                                                I. Fasasi's Findings of Fact
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                                   Exhibit A --
                            Monthly Backpay Damages

          Counterfactual                                 Monthly
                           Monthly        Monthly                       Cumulative
 Month      Monthly                                    Damages with
                           Mitigation     Damages                        Damages
             Earnings                                    Attrition
2018-05           $7,464         $4,413       $3,051          $1,190        $274,419
2018-06           $7,687         $4,413       $3,274          $1,269        $275,688
2018-07           $7,687         $4,413       $3,274          $1,260        $276,949
2018-08           $7,687         $4,413       $3,274          $1,252        $278,201
2018-09           $7,687         $4,413       $3,274          $1,244        $279,445
2018-10           $7,687         $4,413       $3,274          $1,236        $280,680
2018-11           $7,687         $4,413       $3,274          $1,227        $281,908
2018-12           $7,687         $4,413       $3,274          $1,219        $283,127
2019-01           $8,129         $5,435       $2,694           $996         $284,123
2019-02           $8,292         $5,435       $2,856          $1,049        $285,172
2019-03           $8,292         $5,435       $2,856          $1,042        $286,213
2019-04           $8,292         $5,435       $2,856          $1,034        $287,248
2019-05           $8,292         $5,435       $2,856          $1,027        $288,275
2019-06           $8,292         $5,435       $2,856          $1,020        $289,295
2019-07           $8,292         $5,435       $2,856          $1,013        $290,308
2019-08           $8,292         $5,435       $2,856          $1,006        $291,313
2019-09           $8,292         $5,435       $2,856           $998         $292,312
2019-10           $8,292         $5,435       $2,856           $991         $293,303
2019-11           $8,292         $5,435       $2,856           $984         $294,287
2019-12           $8,292         $5,435       $2,856           $977         $295,263
2020-01           $8,292         $5,545       $2,747           $932         $296,196
2020-02           $8,292         $5,545       $2,747           $926         $297,121
2020-03           $8,292         $5,545       $2,747           $919         $298,040
2020-04           $8,292         $5,545       $2,747           $912         $298,952
2020-05           $8,499         $5,545       $2,954           $973         $299,925
2020-06           $8,499         $5,545       $2,954           $966         $300,890
2020-07           $8,499         $5,545       $2,954           $966         $301,856
2020-08           $8,499         $5,545       $2,954           $966         $302,822
2020-09           $8,499         $5,545       $2,954           $966         $303,787
2020-10           $8,499         $5,545       $2,954           $966         $304,753
2020-11           $8,499         $5,545       $2,954           $966         $305,719
2020-12           $8,499         $5,545       $2,954           $966         $306,684
2021-01           $8,499         $5,656       $2,843           $929         $307,613
2021-02           $8,499         $5,656       $2,843           $929         $308,543
2021-03           $8,499         $5,656       $2,843           $929         $309,472
2021-04           $8,499         $5,656       $2,843           $929         $310,401
2021-05           $8,532         $5,656       $2,876           $940         $311,341
2021-06           $8,532         $5,656       $2,876           $940         $312,281
2021-07           $8,532         $5,656       $2,876           $940         $313,221




                                                                                Exhibit A to
                                                                I. Fasasi's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2004-01     Regularly Appointed Teacher               $45,912
          2004-02     Regularly Appointed Teacher               $45,912
          2004-03     Regularly Appointed Teacher               $45,912
          2004-04     Regularly Appointed Teacher               $45,912
          2004-05     Regularly Appointed Teacher               $45,912
          2004-06     Regularly Appointed Teacher               $45,912
          2004-07     Regularly Appointed Teacher               $45,912
          2004-08     Regularly Appointed Teacher               $45,912
          2004-09     Regularly Appointed Teacher               $45,912
          2004-10     Regularly Appointed Teacher               $45,912
          2004-11     Regularly Appointed Teacher               $45,912
          2004-12     Regularly Appointed Teacher               $47,519
          2005-01     Regularly Appointed Teacher               $48,041
          2005-02     Regularly Appointed Teacher               $48,041
          2005-03     Regularly Appointed Teacher               $48,041
          2005-04     Regularly Appointed Teacher               $48,041
          2005-05     Regularly Appointed Teacher               $48,041
          2005-06     Regularly Appointed Teacher               $48,041
          2005-07     Regularly Appointed Teacher               $48,293
          2005-08     Regularly Appointed Teacher               $48,293
          2005-09     Regularly Appointed Teacher               $48,293
          2005-10     Regularly Appointed Teacher               $48,293
          2005-11     Regularly Appointed Teacher               $50,949
          2005-12     Regularly Appointed Teacher               $50,949
          2006-01     Regularly Appointed Teacher               $51,545
          2006-02     Regularly Appointed Teacher               $51,545
          2006-03     Regularly Appointed Teacher               $52,388
          2006-04     Regularly Appointed Teacher               $53,934
          2006-05     Regularly Appointed Teacher               $53,934
          2006-06     Regularly Appointed Teacher               $53,934
          2006-07     Regularly Appointed Teacher               $53,934
          2006-08     Regularly Appointed Teacher               $53,934
          2006-09     Regularly Appointed Teacher               $53,934
          2006-10     Regularly Appointed Teacher               $55,689
          2006-11     Regularly Appointed Teacher               $55,689
          2006-12     Regularly Appointed Teacher               $55,834
          2007-01     Regularly Appointed Teacher               $57,126
          2007-02     Regularly Appointed Teacher               $57,126
          2007-03     Regularly Appointed Teacher               $60,153
          2007-04     Regularly Appointed Teacher               $60,153
          2007-05     Regularly Appointed Teacher               $60,153
          2007-06     Regularly Appointed Teacher               $60,153
          2007-07     Regularly Appointed Teacher               $60,153

                                                                                    Exhibit B to
                                                                    I. Fasasi's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-08     Regularly Appointed Teacher               $60,153
          2007-09     Regularly Appointed Teacher               $60,153
          2007-10     Regularly Appointed Teacher               $61,357
          2007-11     Regularly Appointed Teacher               $61,357
          2007-12     Regularly Appointed Teacher               $61,357
          2008-01     Regularly Appointed Teacher               $64,246
          2008-02     Regularly Appointed Teacher               $64,246
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    I. Fasasi's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $72,060
          2011-11     Regularly Appointed Teacher               $72,060
          2011-12     Regularly Appointed Teacher               $72,060
          2012-01     Regularly Appointed Teacher               $72,060
          2012-02     Regularly Appointed Teacher               $72,060
          2012-03     Regularly Appointed Teacher               $72,060
          2012-04     Regularly Appointed Teacher               $72,060
          2012-05     Regularly Appointed Teacher               $72,060
          2012-06     Regularly Appointed Teacher               $72,060
          2012-07     Regularly Appointed Teacher               $72,060
          2012-08     Regularly Appointed Teacher               $72,060
          2012-09     Regularly Appointed Teacher               $72,060
          2012-10     Regularly Appointed Teacher               $72,060
          2012-11     Regularly Appointed Teacher               $72,060
          2012-12     Regularly Appointed Teacher               $72,060
          2013-01     Regularly Appointed Teacher               $72,060
          2013-02     Regularly Appointed Teacher               $72,060
          2013-03     Regularly Appointed Teacher               $72,060
          2013-04     Regularly Appointed Teacher               $72,060
          2013-05     Regularly Appointed Teacher               $72,781
          2013-06     Regularly Appointed Teacher               $72,781
          2013-07     Regularly Appointed Teacher               $72,781
          2013-08     Regularly Appointed Teacher               $72,781
          2013-09     Regularly Appointed Teacher               $72,781
          2013-10     Regularly Appointed Teacher               $72,781
          2013-11     Regularly Appointed Teacher               $72,781
          2013-12     Regularly Appointed Teacher               $72,781




                                                                                    Exhibit B to
                                                                    I. Fasasi's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : JEANNIENE
                                                                       : BROWN
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Jeanniene Brown (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on April 8, 2021, with respect to Ms. Brown’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Jeanniene
Brown, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
   Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 118 of 219




IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Jeanniene Brown (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Brown will have
judgment against the BOE as follows:

   1. Backpay in the amount of $203,554;

   2. Tax-component award in the amount of $23,918;

   3. LAST Fees in the amount of $300;

   4. ASAF account award in the amount of $2,001;

   5. CAR Day award in the amount of $11,130;

   6. Pre-judgment interest calculated to be $8,998; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Brown will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Brown’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Jeanniene Brown; and

       c. Grant Ms. Brown retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : JEANNIENE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : BROWN
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Jeanniene Brown:

    1. Class Membership. Ms. Brown is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Brown would have been appointed as a
                regularly appointed teacher in September 2003. The Special Master also finds,
                and the Court agrees, that Ms. Brown is eligible to accrue backpay damages
                beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Brown would have worked as a
                regularly appointed teacher until August 1, 2016, Ms. Brown accrues backpay
                damages through the date of judgement, and Ms. Brown’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Brown’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A. The
                Special Master finds, and the Court agrees, that Ms. Brown’s backpay damages

1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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           should be decreased by $4,116 to account for the current value of employer
           contributions Ms. Brown received in her retirement account during the damages
           period.

       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Brown’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Brown has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $203,554;

       b. A tax-component award in the amount of $23,918;

       c. $300 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,001;

       e. CAR Day damages in the amount of $11,130; and

       f. Pre-judgment interest in the amount of $8,998.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Brown has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Brown’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Brown should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Brown (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

              i.    Date of Birth —             1969

              ii.   Gender — Female




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               iii. Address —                             Jamaica, NY 11435

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   September 2, 2003

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — August 1,
                   2016

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

          Counterfactual                              Monthly
                           Monthly       Monthly                   Cumulative    Adjusted
Month       Monthly                                  Damages
                           Mitigation    Damages                    Damages      Damages
             Earnings                               With Attrition
2003-09           $3,412        $9,142         $0             $0           $0            $0
2003-10           $3,412        $9,142         $0             $0           $0            $0
2003-11           $3,412        $9,142         $0             $0           $0            $0
2003-12           $3,480        $9,142         $0             $0           $0            $0
2004-01           $3,480        $2,966       $514           $508        $508          $508
2004-02           $3,480        $2,966       $514           $506       $1,014        $1,014
2004-03           $3,480        $2,966       $514           $505       $1,519        $1,519
2004-04           $3,480        $2,966       $514           $503       $2,022        $2,022
2004-05           $3,480        $2,966       $514           $502       $2,524        $2,524
2004-06           $3,480        $2,966       $514           $500       $3,024        $3,024
2004-07           $3,480        $2,966       $514           $499       $3,523        $3,523
2004-08           $3,480        $2,966       $514           $497       $4,020        $4,020
2004-09           $3,529        $2,966       $563           $543       $4,563        $4,563
2004-10           $3,529        $2,966       $563           $542       $5,105        $5,105
2004-11           $3,529        $2,966       $563           $540       $5,645        $5,645
2004-12           $3,653        $2,966       $687           $657       $6,302        $6,302
2005-01           $3,653        $5,215         $0             $0       $6,302        $6,302
2005-02           $3,653        $5,215         $0             $0       $6,302        $6,302
2005-03           $3,653        $5,215         $0             $0       $6,302        $6,302
2005-04           $3,960        $5,215         $0             $0       $6,302        $6,302
2005-05           $3,960        $5,215         $0             $0       $6,302        $6,302
2005-06           $3,960        $5,215         $0             $0       $6,302        $6,302
2005-07           $3,960        $5,215         $0             $0       $6,302        $6,302
2005-08           $3,960        $5,215         $0             $0       $6,302        $6,302
2005-09           $4,003        $5,215         $0             $0       $6,302        $6,302
2005-10           $4,003        $5,215         $0             $0       $6,302        $6,302
2005-11           $4,224        $5,215         $0             $0       $6,302        $6,302
2005-12           $4,224        $5,215         $0             $0       $6,302        $6,302
2006-01           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-02           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-03           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-04           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-05           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-06           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-07           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-08           $4,224        $7,047         $0             $0       $6,302        $6,302
2006-09           $4,273        $7,047         $0             $0       $6,302        $6,302
2006-10           $4,412        $7,047         $0             $0       $6,302        $6,302
2006-11           $4,412        $7,047         $0             $0       $6,302        $6,302
2006-12           $4,412        $7,047         $0             $0       $6,302        $6,302
2007-01           $4,412        $7,362         $0             $0       $6,302        $6,302
2007-02           $4,412        $7,362         $0             $0       $6,302        $6,302
2007-03           $4,485        $7,362         $0             $0       $6,302        $6,302

                                                                                    Exhibit A to
                                                                     J. Brown's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly       Monthly                    Cumulative    Adjusted
Month       Monthly                                   Damages
                           Mitigation    Damages                     Damages      Damages
             Earnings                                With Attrition
2007-04           $4,485        $7,362          $0             $0       $6,302        $6,302
2007-05           $4,485        $7,362          $0             $0       $6,302        $6,302
2007-06           $4,485        $7,362          $0             $0       $6,302        $6,302
2007-07           $4,485        $7,362          $0             $0       $6,302        $6,302
2007-08           $4,485        $7,362          $0             $0       $6,302        $6,302
2007-09           $4,615        $7,362          $0             $0       $6,302        $6,302
2007-10           $4,708        $7,362          $0             $0       $6,302        $6,302
2007-11           $4,708        $7,362          $0             $0       $6,302        $6,302
2007-12           $4,708        $7,362          $0             $0       $6,302        $6,302
2008-01           $4,708        $4,965          $0             $0       $6,302        $6,302
2008-02           $4,708        $4,965          $0             $0       $6,302        $6,302
2008-03           $4,965        $4,965          $0             $0       $6,302        $6,302
2008-04           $4,965        $4,965          $0             $0       $6,302        $6,302
2008-05           $5,293        $4,965       $328           $284        $6,586        $6,586
2008-06           $5,439        $4,965       $474           $406        $6,992        $6,992
2008-07           $5,439        $4,965       $474           $405        $7,397        $7,397
2008-08           $5,439        $4,965       $474           $404        $7,801        $7,801
2008-09           $5,692        $4,965       $727           $617        $8,418        $8,418
2008-10           $5,692        $4,965       $727           $616        $9,034        $9,034
2008-11           $5,692        $4,965       $727           $614        $9,648        $9,648
2008-12           $5,692        $4,965       $727           $613       $10,261       $10,261
2009-01           $5,692        $3,973      $1,719         $1,445      $11,706       $11,706
2009-02           $5,705        $3,973      $1,732         $1,452      $13,158       $13,158
2009-03           $6,005        $3,973      $2,032         $1,700      $14,858       $14,858
2009-04           $6,005        $3,973      $2,032         $1,695      $16,553       $16,553
2009-05           $6,005        $3,973      $2,032         $1,691      $18,244       $18,244
2009-06           $6,005        $3,973      $2,032         $1,686      $19,930       $19,930
2009-07           $6,005        $3,973      $2,032         $1,682      $21,612       $21,612
2009-08           $6,005        $3,973      $2,032         $1,677      $23,289       $23,289
2009-09           $6,005        $3,973      $2,032         $1,673      $24,962       $24,962
2009-10           $6,005        $3,973      $2,032         $1,668      $26,630       $26,630
2009-11           $6,005        $3,973      $2,032         $1,664      $28,294       $28,294
2009-12           $6,005        $3,973      $2,032         $1,659      $29,953       $29,953
2010-01           $6,005        $5,078       $927           $755       $30,708       $30,708
2010-02           $6,005        $5,078       $927           $753       $31,461       $31,461
2010-03           $6,005        $5,078       $927           $751       $32,212       $32,212
2010-04           $6,005        $5,078       $927           $749       $32,961       $32,961
2010-05           $6,005        $5,078       $927           $747       $33,708       $33,708
2010-06           $6,005        $5,078       $927           $745       $34,453       $34,453
2010-07           $6,005        $5,078       $927           $743       $35,196       $35,196
2010-08           $6,005        $5,078       $927           $741       $35,937       $35,937
2010-09           $6,005        $5,078       $927           $739       $36,676       $36,676
2010-10           $6,005        $5,078       $927           $737       $37,413       $37,413

                                                                                     Exhibit A to
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                                      Exhibit A --
                               Monthly Backpay Damages

          Counterfactual                              Monthly
                           Monthly       Monthly                   Cumulative    Adjusted
Month       Monthly                                  Damages
                           Mitigation    Damages                    Damages      Damages
             Earnings                               With Attrition
2010-11           $6,005        $5,078       $927           $735      $38,148       $38,148
2010-12           $6,005        $5,078       $927           $733      $38,881       $38,881
2011-01           $6,005        $5,640       $365           $288      $39,169       $39,169
2011-02           $6,005        $5,640       $365           $287      $39,456       $39,456
2011-03           $6,005        $5,640       $365           $286      $39,742       $39,742
2011-04           $6,005        $5,640       $365           $286      $40,028       $40,028
2011-05           $6,005        $5,640       $365           $285      $40,313       $40,313
2011-06           $6,005        $5,640       $365           $284      $40,597       $40,597
2011-07           $6,005        $5,640       $365           $283      $40,880       $40,880
2011-08           $6,005        $5,640       $365           $283      $41,163       $41,163
2011-09           $6,262        $5,640       $623           $480      $41,643       $41,643
2011-10           $6,262        $5,640       $623           $479      $42,122       $42,122
2011-11           $6,262        $5,640       $623           $478      $42,600       $42,600
2011-12           $6,262        $5,640       $623           $476      $43,076       $43,076
2012-01           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-02           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-03           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-04           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-05           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-06           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-07           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-08           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-09           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-10           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-11           $6,262        $6,943         $0             $0      $43,076       $43,076
2012-12           $6,262        $6,943         $0             $0      $43,076       $43,076
2013-01           $6,262        $7,615         $0             $0      $43,076       $43,076
2013-02           $6,262        $7,615         $0             $0      $43,076       $43,076
2013-03           $6,262        $7,615         $0             $0      $43,076       $43,076
2013-04           $6,262        $7,615         $0             $0      $43,076       $43,076
2013-05           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-06           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-07           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-08           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-09           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-10           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-11           $6,325        $7,615         $0             $0      $43,076       $43,076
2013-12           $6,325        $7,615         $0             $0      $43,076       $43,076
2014-01           $6,325        $7,776         $0             $0      $43,076       $43,076
2014-02           $6,325        $7,776         $0             $0      $43,076       $43,076
2014-03           $6,325        $7,776         $0             $0      $43,076       $43,076
2014-04           $6,325        $7,776         $0             $0      $43,076       $43,076
2014-05           $6,388        $7,776         $0             $0      $43,076       $43,076

                                                                                    Exhibit A to
                                                                     J. Brown's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly       Monthly                    Cumulative    Adjusted
Month       Monthly                                   Damages
                           Mitigation    Damages                     Damages      Damages
             Earnings                                With Attrition
2014-06           $6,388        $7,776          $0             $0      $43,076       $43,076
2014-07           $6,388        $7,776          $0             $0      $43,076       $43,076
2014-08           $6,388        $7,776          $0             $0      $43,076       $43,076
2014-09           $6,567        $7,776          $0             $0      $43,076       $43,076
2014-10           $6,567        $7,776          $0             $0      $43,076       $43,076
2014-11           $6,567        $7,776          $0             $0      $43,076       $43,076
2014-12           $6,567        $7,776          $0             $0      $43,076       $43,076
2015-01           $6,567        $8,295          $0             $0      $43,076       $43,076
2015-02           $6,567        $8,295          $0             $0      $43,076       $43,076
2015-03           $6,567        $8,295          $0             $0      $43,076       $43,076
2015-04           $6,567        $8,295          $0             $0      $43,076       $43,076
2015-05           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-06           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-07           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-08           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-09           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-10           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-11           $6,765        $8,295          $0             $0      $43,076       $43,076
2015-12           $6,765        $8,295          $0             $0      $43,076       $43,076
2016-01           $6,765        $4,880      $1,886         $1,251      $44,327       $44,327
2016-02           $6,765        $4,880      $1,886         $1,247      $45,574       $45,574
2016-03           $6,765        $4,880      $1,886         $1,244      $46,818       $46,818
2016-04           $6,765        $4,880      $1,886         $1,240      $48,058       $48,058
2016-05           $7,001        $4,880      $2,122         $1,391      $49,449       $49,449
2016-06           $7,001        $4,880      $2,122         $1,387      $50,836       $50,836
2016-07           $7,001        $4,880      $2,122         $1,382      $52,218       $52,218
2016-08           $7,001        $4,880      $2,122         $1,378      $53,596       $53,596
2016-09           $7,404        $4,880      $2,524         $1,634      $55,230       $55,230
2016-10           $7,404        $4,880      $2,524         $1,629      $56,859       $56,859
2016-11           $7,404        $4,880      $2,524         $1,624      $58,483       $58,483
2016-12           $7,404        $4,880      $2,524         $1,619      $60,102       $60,102
2017-01           $7,404        $1,720      $5,683         $3,634      $63,736       $63,736
2017-02           $7,404        $1,720      $5,683         $3,623      $67,359       $67,359
2017-03           $7,404        $1,720      $5,683         $3,611      $70,970       $70,970
2017-04           $7,404        $1,720      $5,683         $3,600      $74,570       $74,570
2017-05           $7,741        $1,720      $6,020         $3,801      $78,371       $78,371
2017-06           $7,741        $1,720      $6,020         $3,789      $82,160       $82,160
2017-07           $7,741        $1,720      $6,020         $3,777      $85,937       $85,937
2017-08           $7,741        $1,720      $6,020         $3,765      $89,702       $89,702
2017-09           $7,741        $1,720      $6,020         $3,753      $93,455       $93,455
2017-10           $7,741        $1,720      $6,020         $3,741      $97,196       $97,196
2017-11           $7,741        $1,720      $6,020         $3,729     $100,925      $100,925
2017-12           $7,741        $1,720      $6,020         $3,717     $104,642      $104,642

                                                                                     Exhibit A to
                                                                      J. Brown's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

          Counterfactual                               Monthly
                           Monthly       Monthly                    Cumulative    Adjusted
Month       Monthly                                   Damages
                           Mitigation    Damages                     Damages      Damages
             Earnings                                With Attrition
2018-01               $0            $0          $0             $0     $104,642      $104,642
2018-02               $0            $0          $0             $0     $104,642      $104,642
2018-03               $0            $0          $0             $0     $104,642      $104,642
2018-04               $0            $0          $0             $0     $104,642      $104,642
2018-05               $0            $0          $0             $0     $104,642      $104,642
2018-06               $0            $0          $0             $0     $104,642      $104,642
2018-07               $0            $0          $0             $0     $104,642      $104,642
2018-08               $0            $0          $0             $0     $104,642      $104,642
2018-09               $0            $0          $0             $0     $104,642      $104,642
2018-10               $0            $0          $0             $0     $104,642      $104,642
2018-11               $0            $0          $0             $0     $104,642      $104,642
2018-12               $0            $0          $0             $0     $104,642      $104,642
2019-01           $8,129        $2,516      $5,613         $3,321     $107,963      $107,963
2019-02           $8,292        $2,516      $5,776         $3,405     $111,368      $111,368
2019-03           $8,292        $2,516      $5,776         $3,394     $114,762      $114,762
2019-04           $8,292        $2,516      $5,776         $3,382     $118,144      $118,144
2019-05           $8,292        $2,516      $5,776         $3,371     $121,515      $121,515
2019-06           $8,292        $2,516      $5,776         $3,360     $124,875      $124,875
2019-07           $8,292        $2,516      $5,776         $3,348     $128,223      $128,223
2019-08           $8,292        $2,516      $5,776         $3,337     $131,560      $131,560
2019-09           $8,292        $2,516      $5,776         $3,325     $134,885      $134,885
2019-10           $8,292        $2,516      $5,776         $3,314     $138,199      $138,199
2019-11           $8,292        $2,516      $5,776         $3,303     $141,502      $141,502
2019-12           $8,292        $2,516      $5,776         $3,291     $144,793      $144,793
2020-01           $8,292        $2,516      $5,776         $3,280     $148,073      $148,073
2020-02           $8,292        $2,516      $5,776         $3,269     $151,342      $151,342
2020-03           $8,292        $2,516      $5,776         $3,257     $154,599      $154,599
2020-04           $8,292        $2,516      $5,776         $3,246     $157,845      $157,845
2020-05           $8,499        $2,516      $5,983         $3,351     $161,196      $161,196
2020-06           $8,499        $2,516      $5,983         $3,339     $164,535      $164,535
2020-07           $8,499        $2,516      $5,983         $3,327     $167,862      $167,862
2020-08           $8,499        $2,516      $5,983         $3,315     $171,177      $171,177
2020-09           $8,620        $2,516      $6,105         $3,371     $174,548      $174,548
2020-10           $8,620        $2,516      $6,105         $3,359     $177,907      $177,907
2020-11           $8,620        $2,516      $6,105         $3,347     $181,254      $181,254
2020-12           $8,620        $2,516      $6,105         $3,335     $184,589      $184,589
2021-01           $8,620        $2,516      $6,105         $3,323     $187,912      $187,912
2021-02           $8,620        $2,516      $6,105         $3,311     $191,223      $191,223
2021-03           $8,620        $2,516      $6,105         $3,299     $194,522      $194,522
2021-04           $8,620        $2,516      $6,105         $3,287     $197,809      $197,809
2021-05           $8,657        $2,516      $6,141         $3,295     $201,104      $201,104
2021-06           $8,657        $2,516      $6,141         $3,283     $204,387      $204,387
2021-07           $8,657        $2,516      $6,141         $3,283     $207,670      $203,554

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                                                                      J. Brown's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-09     Regularly Appointed Teacher               $40,944
          2003-10     Regularly Appointed Teacher               $40,944
          2003-11     Regularly Appointed Teacher               $40,944
          2003-12     Regularly Appointed Teacher               $41,763
          2004-01     Regularly Appointed Teacher               $41,763
          2004-02     Regularly Appointed Teacher               $41,763
          2004-03     Regularly Appointed Teacher               $41,763
          2004-04     Regularly Appointed Teacher               $41,763
          2004-05     Regularly Appointed Teacher               $41,763
          2004-06     Regularly Appointed Teacher               $41,763
          2004-07     Regularly Appointed Teacher               $41,763
          2004-08     Regularly Appointed Teacher               $41,763
          2004-09     Regularly Appointed Teacher               $42,350
          2004-10     Regularly Appointed Teacher               $42,350
          2004-11     Regularly Appointed Teacher               $42,350
          2004-12     Regularly Appointed Teacher               $43,832
          2005-01     Regularly Appointed Teacher               $43,832
          2005-02     Regularly Appointed Teacher               $43,832
          2005-03     Regularly Appointed Teacher               $43,832
          2005-04     Regularly Appointed Teacher               $47,519
          2005-05     Regularly Appointed Teacher               $47,519
          2005-06     Regularly Appointed Teacher               $47,519
          2005-07     Regularly Appointed Teacher               $47,519
          2005-08     Regularly Appointed Teacher               $47,519
          2005-09     Regularly Appointed Teacher               $48,041
          2005-10     Regularly Appointed Teacher               $48,041
          2005-11     Regularly Appointed Teacher               $50,683
          2005-12     Regularly Appointed Teacher               $50,683
          2006-01     Regularly Appointed Teacher               $50,683
          2006-02     Regularly Appointed Teacher               $50,683
          2006-03     Regularly Appointed Teacher               $50,683
          2006-04     Regularly Appointed Teacher               $50,683
          2006-05     Regularly Appointed Teacher               $50,683
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,683
          2006-08     Regularly Appointed Teacher               $50,683
          2006-09     Regularly Appointed Teacher               $51,279
          2006-10     Regularly Appointed Teacher               $52,947
          2006-11     Regularly Appointed Teacher               $52,947
          2006-12     Regularly Appointed Teacher               $52,947
          2007-01     Regularly Appointed Teacher               $52,947
          2007-02     Regularly Appointed Teacher               $52,947
          2007-03     Regularly Appointed Teacher               $53,818

                                                                                   Exhibit B to
                                                                    J. Brown's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-04     Regularly Appointed Teacher               $53,818
          2007-05     Regularly Appointed Teacher               $53,818
          2007-06     Regularly Appointed Teacher               $53,818
          2007-07     Regularly Appointed Teacher               $53,818
          2007-08     Regularly Appointed Teacher               $53,818
          2007-09     Regularly Appointed Teacher               $55,385
          2007-10     Regularly Appointed Teacher               $56,492
          2007-11     Regularly Appointed Teacher               $56,492
          2007-12     Regularly Appointed Teacher               $56,492
          2008-01     Regularly Appointed Teacher               $56,492
          2008-02     Regularly Appointed Teacher               $56,492
          2008-03     Regularly Appointed Teacher               $59,580
          2008-04     Regularly Appointed Teacher               $59,580
          2008-05     Regularly Appointed Teacher               $63,559
          2008-06     Regularly Appointed Teacher               $65,269
          2008-07     Regularly Appointed Teacher               $65,269
          2008-08     Regularly Appointed Teacher               $65,269
          2008-09     Regularly Appointed Teacher               $68,303
          2008-10     Regularly Appointed Teacher               $68,303
          2008-11     Regularly Appointed Teacher               $68,303
          2008-12     Regularly Appointed Teacher               $68,303
          2009-01     Regularly Appointed Teacher               $68,303
          2009-02     Regularly Appointed Teacher               $68,458
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060

                                                                                   Exhibit B to
                                                                    J. Brown's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660

                                                                                   Exhibit B to
                                                                    J. Brown's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $78,804
          2014-10     Regularly Appointed Teacher               $78,804
          2014-11     Regularly Appointed Teacher               $78,804
          2014-12     Regularly Appointed Teacher               $78,804
          2015-01     Regularly Appointed Teacher               $78,804
          2015-02     Regularly Appointed Teacher               $78,804
          2015-03     Regularly Appointed Teacher               $78,804
          2015-04     Regularly Appointed Teacher               $78,804
          2015-05     Regularly Appointed Teacher               $81,184
          2015-06     Regularly Appointed Teacher               $81,184
          2015-07     Regularly Appointed Teacher               $81,184
          2015-08     Regularly Appointed Teacher               $81,184
          2015-09     Regularly Appointed Teacher               $81,184
          2015-10     Regularly Appointed Teacher               $81,184
          2015-11     Regularly Appointed Teacher               $81,184
          2015-12     Regularly Appointed Teacher               $81,184
          2016-01     Regularly Appointed Teacher               $81,184
          2016-02     Regularly Appointed Teacher               $81,184
          2016-03     Regularly Appointed Teacher               $81,184
          2016-04     Regularly Appointed Teacher               $81,184
          2016-05     Regularly Appointed Teacher               $84,018
          2016-06     Regularly Appointed Teacher               $84,018
          2016-07     Regularly Appointed Teacher               $84,018




                                                                                   Exhibit B to
                                                                    J. Brown's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : MARLON
                                                                       : SEATON
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Marlon Seaton (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on February 23, 2021, with respect to Mr.
Seaton’s demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Marlon
Seaton, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Marlon Seaton (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Seaton will have
judgment against the BOE as follows:

   1. Backpay in the amount of $77,551;

   2. Tax-component award in the amount of $9,112;

   3. LAST Fees in the amount of $440;

   4. ASAF account award in the amount of $1,830;

   5. CAR Day award in the amount of $3,605;

   6. Pre-judgment interest calculated to be $18,018; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Seaton will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Seaton’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Marlon Seaton; and

       c. Grant Mr. Seaton retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : MARLON
THE BOARD OF EDUCATION OF THE CITY SCHOOL : SEATON
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Marlon Seaton:

    1. Class Membership. Mr. Seaton is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Seaton would have been appointed as a
                regularly appointed teacher in October 2000. The Special Master also finds, and
                the Court agrees, that Mr. Seaton is eligible to accrue backpay damages beginning
                October 2000.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Seaton would have worked as a
                regularly appointed teacher until June 1, 2010, Mr. Seaton accrues backpay
                damages until January 1, 2012, and Mr. Seaton’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Seaton’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Seaton’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Seaton has satisfied his burden of establishing his entitlement to
   the following monetary relief:

       a. Backpay in the amount of $77,551;

       b. A tax-component award in the amount of $9,112;

       c. $440 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,830;

       e. CAR Day damages in the amount of $3,605; and

       f. Pre-judgment interest in the amount of $18,018.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Seaton has satisfied his burden of establishing his entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Seaton’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Seaton should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Seaton (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —             1971

               ii.   Gender — Male

               iii. Address —                           Brooklyn, NY 11210

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   October 17, 2000



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — June 1,
                   2010

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2000-10             $3,217         $3,163            $53             $53              $53
2000-11             $3,345         $3,290            $55             $55            $109
2000-12             $3,345         $3,290            $55             $55            $164
2001-01             $3,345         $3,290            $55             $55            $219
2001-02             $3,345         $3,290            $55             $55            $275
2001-03             $3,345         $3,290            $55             $55            $330
2001-04             $3,345         $3,290            $55             $55            $385
2001-05             $3,345         $3,290            $55             $55            $441
2001-06             $3,345         $3,290            $55             $55            $496
2001-07             $3,345         $3,290            $55             $55            $551
2001-08             $3,345         $3,290            $55             $55            $607
2001-09             $3,418         $3,290          $128            $128             $735
2001-10             $3,418         $3,290          $128            $128             $863
2001-11             $3,589         $3,454          $135            $135             $998
2001-12             $3,589         $3,454          $135            $135            $1,133
2002-01             $3,589         $5,356             $0              $0           $1,133
2002-02             $3,589         $5,356             $0              $0           $1,133
2002-03             $3,649         $5,356             $0              $0           $1,133
2002-04             $3,649         $5,356             $0              $0           $1,133
2002-05             $3,649         $5,356             $0              $0           $1,133
2002-06             $3,758         $5,356             $0              $0           $1,133
2002-07             $3,758         $5,356             $0              $0           $1,133
2002-08             $3,758         $5,356             $0              $0           $1,133
2002-09             $4,129         $5,356             $0              $0           $1,133
2002-10             $4,129         $6,599             $0              $0           $1,133
2002-11             $4,129         $6,599             $0              $0           $1,133
2002-12             $4,129         $6,599             $0              $0           $1,133
2003-01             $4,129         $2,835         $1,294          $1,280           $2,413
2003-02             $4,140         $2,835         $1,305          $1,287           $3,700
2003-03             $4,359         $2,835         $1,524          $1,498           $5,198
2003-04             $4,359         $2,835         $1,524          $1,494           $6,692
2003-05             $4,359         $2,835         $1,524          $1,489           $8,181
2003-06             $4,359         $2,835         $1,524          $1,485           $9,666
2003-07             $4,359         $2,835         $1,524          $1,480          $11,146
2003-08             $4,359         $2,835         $1,524          $1,475          $12,621
2003-09             $4,564         $2,835         $1,729          $1,669          $14,290
2003-10             $4,564         $2,835         $1,729          $1,664          $15,953
2003-11             $4,564         $2,835         $1,729          $1,658          $17,612
2003-12             $4,656         $2,835         $1,821          $1,740          $19,352
2004-01             $4,656         $2,948         $1,707          $1,627          $20,979
2004-02             $4,656         $2,948         $1,707          $1,622          $22,601
2004-03             $4,904         $2,948         $1,956          $1,852          $24,453
2004-04             $4,904         $2,948         $1,956          $1,846          $26,299


                                                                                 Exhibit A to
                                                                 M. Seaton's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-05             $4,904         $2,948         $1,956          $1,840          $28,139
2004-06             $4,904         $2,948         $1,956          $1,834          $29,974
2004-07             $4,904         $2,948         $1,956          $1,828          $31,802
2004-08             $4,904         $2,948         $1,956          $1,822          $33,624
2004-09             $4,904         $2,948         $1,956          $1,817          $35,441
2004-10             $4,904         $2,948         $1,956          $1,811          $37,252
2004-11             $4,904         $2,948         $1,956          $1,805          $39,056
2004-12             $5,076         $2,948         $2,128          $1,957          $41,013
2005-01             $5,076         $4,024         $1,052           $964           $41,977
2005-02             $5,076         $4,024         $1,052           $961           $42,938
2005-03             $5,076         $4,024         $1,052           $958           $43,896
2005-04             $5,076         $4,024         $1,052           $955           $44,850
2005-05             $5,076         $4,024         $1,052           $951           $45,802
2005-06             $5,076         $4,024         $1,052           $948           $46,750
2005-07             $5,076         $4,024         $1,052           $945           $47,695
2005-08             $5,076         $4,024         $1,052           $942           $48,637
2005-09             $5,076         $4,024         $1,052           $939           $49,576
2005-10             $5,076         $4,024         $1,052           $935           $50,511
2005-11             $5,355         $4,024         $1,331          $1,180          $51,691
2005-12             $5,355         $4,024         $1,331          $1,176          $52,866
2006-01             $5,355         $4,316         $1,039           $915           $53,781
2006-02             $5,355         $4,316         $1,039           $912           $54,693
2006-03             $5,355         $4,316         $1,039           $909           $55,602
2006-04             $5,355         $4,316         $1,039           $906           $56,508
2006-05             $5,355         $4,316         $1,039           $902           $57,410
2006-06             $5,355         $4,316         $1,039           $899           $58,309
2006-07             $5,355         $4,316         $1,039           $896           $59,205
2006-08             $5,355         $4,316         $1,039           $893           $60,098
2006-09             $5,355         $4,316         $1,039           $890           $60,988
2006-10             $5,529         $4,316         $1,214          $1,035          $62,023
2006-11             $5,529         $4,316         $1,214          $1,032          $63,055
2006-12             $5,529         $4,316         $1,214          $1,028          $64,083
2007-01             $5,529         $4,739          $790            $667           $64,750
2007-02             $5,529         $4,739          $790            $665           $65,415
2007-03             $5,529         $4,739          $790            $662           $66,077
2007-04             $5,529         $4,739          $790            $660           $66,736
2007-05             $5,529         $4,739          $790            $657           $67,394
2007-06             $5,529         $4,739          $790            $655           $68,049
2007-07             $5,529         $4,739          $790            $653           $68,701
2007-08             $5,529         $4,739          $790            $650           $69,352
2007-09             $5,529         $4,739          $790            $648           $69,999
2007-10             $5,640         $4,739          $901            $736           $70,735
2007-11             $5,640         $4,739          $901            $733           $71,468


                                                                                 Exhibit A to
                                                                 M. Seaton's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2007-12             $5,640         $4,739           $901            $730          $72,198
2008-01             $5,640         $5,663             $0              $0          $72,198
2008-02             $5,640         $5,663             $0              $0          $72,198
2008-03             $5,640         $5,663             $0              $0          $72,198
2008-04             $5,640         $5,663             $0              $0          $72,198
2008-05             $6,005         $5,663           $342            $272          $72,471
2008-06             $6,005         $5,663           $342            $271          $72,742
2008-07             $6,005         $5,663           $342            $270          $73,012
2008-08             $6,005         $5,663           $342            $269          $73,282
2008-09             $6,262         $5,663           $600            $470          $73,752
2008-10             $6,262         $5,663           $600            $468          $74,220
2008-11             $6,262         $5,663           $600            $466          $74,686
2008-12             $6,262         $5,663           $600            $464          $75,151
2009-01             $6,262         $7,095             $0              $0          $75,151
2009-02             $6,262         $7,095             $0              $0          $75,151
2009-03             $6,262         $7,095             $0              $0          $75,151
2009-04             $6,262         $7,095             $0              $0          $75,151
2009-05             $6,262         $7,095             $0              $0          $75,151
2009-06             $6,262         $7,095             $0              $0          $75,151
2009-07             $6,262         $7,095             $0              $0          $75,151
2009-08             $6,262         $7,095             $0              $0          $75,151
2009-09             $6,262         $7,095             $0              $0          $75,151
2009-10             $6,262         $7,095             $0              $0          $75,151
2009-11             $6,262         $7,095             $0              $0          $75,151
2009-12             $6,262         $7,095             $0              $0          $75,151
2010-01             $6,262         $6,935             $0              $0          $75,151
2010-02             $6,262         $6,935             $0              $0          $75,151
2010-03             $6,262         $6,935             $0              $0          $75,151
2010-04             $6,262         $6,935             $0              $0          $75,151
2010-05             $6,262         $6,935             $0              $0          $75,151
2010-06             $6,262         $6,935             $0              $0          $75,151
2010-07             $6,262         $6,935             $0              $0          $75,151
2010-08             $6,262         $6,935             $0              $0          $75,151
2010-09             $6,262         $6,935             $0              $0          $75,151
2010-10             $6,262         $6,935             $0              $0          $75,151
2010-11             $6,262         $6,935             $0              $0          $75,151
2010-12             $6,262         $6,935             $0              $0          $75,151
2011-01             $6,262         $6,027           $236            $165          $75,315
2011-02             $6,262         $6,027           $236            $164          $75,479
2011-03             $6,262         $6,027           $236            $163          $75,643
2011-04             $6,262         $6,027           $236            $163          $75,805
2011-05             $6,262         $6,027           $236            $162          $75,967
2011-06             $6,262         $6,027           $236            $161          $76,129


                                                                                 Exhibit A to
                                                                 M. Seaton's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2011-07             $6,262         $6,027           $236            $161          $76,289
2011-08             $6,262         $6,027           $236            $160          $76,449
2011-09             $6,438         $6,027           $411            $277          $76,726
2011-10             $6,438         $6,027           $411            $276          $77,002
2011-11             $6,438         $6,027           $411            $275          $77,277
2011-12             $6,438         $6,027           $411            $274          $77,551




                                                                                 Exhibit A to
                                                                 M. Seaton's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2000-10     Regularly Appointed Teacher               $38,598
          2000-11     Regularly Appointed Teacher               $40,142
          2000-12     Regularly Appointed Teacher               $40,142
          2001-01     Regularly Appointed Teacher               $40,142
          2001-02     Regularly Appointed Teacher               $40,142
          2001-03     Regularly Appointed Teacher               $40,142
          2001-04     Regularly Appointed Teacher               $40,142
          2001-05     Regularly Appointed Teacher               $40,142
          2001-06     Regularly Appointed Teacher               $40,142
          2001-07     Regularly Appointed Teacher               $40,142
          2001-08     Regularly Appointed Teacher               $40,142
          2001-09     Regularly Appointed Teacher               $41,020
          2001-10     Regularly Appointed Teacher               $41,020
          2001-11     Regularly Appointed Teacher               $43,070
          2001-12     Regularly Appointed Teacher               $43,070
          2002-01     Regularly Appointed Teacher               $43,070
          2002-02     Regularly Appointed Teacher               $43,070
          2002-03     Regularly Appointed Teacher               $43,784
          2002-04     Regularly Appointed Teacher               $43,784
          2002-05     Regularly Appointed Teacher               $43,784
          2002-06     Regularly Appointed Teacher               $45,094
          2002-07     Regularly Appointed Teacher               $45,094
          2002-08     Regularly Appointed Teacher               $45,094
          2002-09     Regularly Appointed Teacher               $49,549
          2002-10     Regularly Appointed Teacher               $49,549
          2002-11     Regularly Appointed Teacher               $49,549
          2002-12     Regularly Appointed Teacher               $49,549
          2003-01     Regularly Appointed Teacher               $49,549
          2003-02     Regularly Appointed Teacher               $49,675
          2003-03     Regularly Appointed Teacher               $52,307
          2003-04     Regularly Appointed Teacher               $52,307
          2003-05     Regularly Appointed Teacher               $52,307
          2003-06     Regularly Appointed Teacher               $52,307
          2003-07     Regularly Appointed Teacher               $52,307
          2003-08     Regularly Appointed Teacher               $52,307
          2003-09     Regularly Appointed Teacher               $54,770
          2003-10     Regularly Appointed Teacher               $54,770
          2003-11     Regularly Appointed Teacher               $54,770
          2003-12     Regularly Appointed Teacher               $55,866
          2004-01     Regularly Appointed Teacher               $55,866
          2004-02     Regularly Appointed Teacher               $55,866
          2004-03     Regularly Appointed Teacher               $58,849
          2004-04     Regularly Appointed Teacher               $58,849

                                                                                    Exhibit B to
                                                                    M. Seaton's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2004-05     Regularly Appointed Teacher               $58,849
          2004-06     Regularly Appointed Teacher               $58,849
          2004-07     Regularly Appointed Teacher               $58,849
          2004-08     Regularly Appointed Teacher               $58,849
          2004-09     Regularly Appointed Teacher               $58,849
          2004-10     Regularly Appointed Teacher               $58,849
          2004-11     Regularly Appointed Teacher               $58,849
          2004-12     Regularly Appointed Teacher               $60,909
          2005-01     Regularly Appointed Teacher               $60,909
          2005-02     Regularly Appointed Teacher               $60,909
          2005-03     Regularly Appointed Teacher               $60,909
          2005-04     Regularly Appointed Teacher               $60,909
          2005-05     Regularly Appointed Teacher               $60,909
          2005-06     Regularly Appointed Teacher               $60,909
          2005-07     Regularly Appointed Teacher               $60,909
          2005-08     Regularly Appointed Teacher               $60,909
          2005-09     Regularly Appointed Teacher               $60,909
          2005-10     Regularly Appointed Teacher               $60,909
          2005-11     Regularly Appointed Teacher               $64,259
          2005-12     Regularly Appointed Teacher               $64,259
          2006-01     Regularly Appointed Teacher               $64,259
          2006-02     Regularly Appointed Teacher               $64,259
          2006-03     Regularly Appointed Teacher               $64,259
          2006-04     Regularly Appointed Teacher               $64,259
          2006-05     Regularly Appointed Teacher               $64,259
          2006-06     Regularly Appointed Teacher               $64,259
          2006-07     Regularly Appointed Teacher               $64,259
          2006-08     Regularly Appointed Teacher               $64,259
          2006-09     Regularly Appointed Teacher               $64,259
          2006-10     Regularly Appointed Teacher               $66,349
          2006-11     Regularly Appointed Teacher               $66,349
          2006-12     Regularly Appointed Teacher               $66,349
          2007-01     Regularly Appointed Teacher               $66,349
          2007-02     Regularly Appointed Teacher               $66,349
          2007-03     Regularly Appointed Teacher               $66,349
          2007-04     Regularly Appointed Teacher               $66,349
          2007-05     Regularly Appointed Teacher               $66,349
          2007-06     Regularly Appointed Teacher               $66,349
          2007-07     Regularly Appointed Teacher               $66,349
          2007-08     Regularly Appointed Teacher               $66,349
          2007-09     Regularly Appointed Teacher               $66,349
          2007-10     Regularly Appointed Teacher               $67,677
          2007-11     Regularly Appointed Teacher               $67,677

                                                                                    Exhibit B to
                                                                    M. Seaton's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-12     Regularly Appointed Teacher               $67,677
          2008-01     Regularly Appointed Teacher               $67,677
          2008-02     Regularly Appointed Teacher               $67,677
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $75,149
          2008-10     Regularly Appointed Teacher               $75,149
          2008-11     Regularly Appointed Teacher               $75,149
          2008-12     Regularly Appointed Teacher               $75,149
          2009-01     Regularly Appointed Teacher               $75,149
          2009-02     Regularly Appointed Teacher               $75,149
          2009-03     Regularly Appointed Teacher               $75,149
          2009-04     Regularly Appointed Teacher               $75,149
          2009-05     Regularly Appointed Teacher               $75,149
          2009-06     Regularly Appointed Teacher               $75,149
          2009-07     Regularly Appointed Teacher               $75,149
          2009-08     Regularly Appointed Teacher               $75,149
          2009-09     Regularly Appointed Teacher               $75,149
          2009-10     Regularly Appointed Teacher               $75,149
          2009-11     Regularly Appointed Teacher               $75,149
          2009-12     Regularly Appointed Teacher               $75,149
          2010-01     Regularly Appointed Teacher               $75,149
          2010-02     Regularly Appointed Teacher               $75,149
          2010-03     Regularly Appointed Teacher               $75,149
          2010-04     Regularly Appointed Teacher               $75,149
          2010-05     Regularly Appointed Teacher               $75,149




                                                                                    Exhibit B to
                                                                    M. Seaton's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : NICOLE
                                                                       : EVERETT
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Nicole Everett (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on April 15, 2021, with respect to Ms. Everett’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Nicole
Everett, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Nicole Everett (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Everett will have
judgment against the BOE as follows:

   1. Backpay in the amount of $340,644;

   2. Tax-component award in the amount of $40,026;

   3. LAST Fees in the amount of $228;

   4. ASAF account award in the amount of $1,011;

   5. CAR Day award in the amount of $5,940;

   6. Pre-judgment interest calculated to be $34,968; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Everett will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Everett’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Nicole Everett; and

       c. Grant Ms. Everett retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : NICOLE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : EVERETT
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Nicole Everett:

    1. Class Membership. Ms. Everett is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Everett would have been appointed as a
                regularly appointed teacher in March 2004. The Special Master also finds, and
                the Court agrees, that Ms. Everett is eligible to accrue backpay damages
                beginning March 2004.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Everett would have worked as a
                regularly appointed teacher until November 1, 2012, Ms. Everett accrues backpay
                damages until April 1, 2015, and Ms. Everett’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Everett’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Everett’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Everett has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $340,644;

       b. A tax-component award in the amount of $40,026;

       c. $228 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,011;

       e. CAR Day damages in the amount of $5,940; and

       f. Pre-judgment interest in the amount of $34,968.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Everett has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Everett’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Everett should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Everett (the “Pension Inputs”)
          should be imported into the Board of Education Retirement System of the City of
          New York (“BERS”):

               i.    Date of Birth —          1949

               ii.   Gender — Female

               iii. Address —                                  New York, NY 10027

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   March 28, 2004



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — November
                   1, 2012

               x.   Retirement date (if any) — November 1, 2012

DATED: November 23, 2021




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Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 151 of 219
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-03             $3,419         $2,086         $1,333          $1,333            $1,333
2004-04             $3,419         $1,956         $1,463          $1,457            $2,790
2004-05             $3,419         $2,347         $1,072          $1,063            $3,853
2004-06             $3,419         $3,913             $0              $0            $3,853
2004-07             $3,419         $1,208         $2,212          $2,175            $6,028
2004-08             $3,419         $1,208         $2,212          $2,166            $8,194
2004-09             $3,419         $1,208         $2,212          $2,157           $10,352
2004-10             $3,419         $1,208         $2,212          $2,148           $12,500
2004-11             $3,419         $1,208         $2,212          $2,139           $14,638
2004-12             $3,539         $1,208         $2,331          $2,245           $16,883
2005-01             $3,539         $2,760          $779            $747            $17,630
2005-02             $3,539         $2,760          $779            $744            $18,374
2005-03             $3,582         $2,760          $822            $782            $19,155
2005-04             $3,582         $2,760          $822            $779            $19,934
2005-05             $3,582         $2,760          $822            $776            $20,710
2005-06             $3,582         $2,760          $822            $773            $21,483
2005-07             $3,582         $2,760          $822            $770            $22,253
2005-08             $3,582         $2,760          $822            $767            $23,020
2005-09             $3,582         $2,760          $822            $764            $23,785
2005-10             $4,003         $2,760         $1,243          $1,151           $24,936
2005-11             $4,224         $2,760         $1,464          $1,350           $26,286
2005-12             $4,224         $2,760         $1,464          $1,345           $27,631
2006-01             $4,224         $2,592         $1,631          $1,493           $29,124
2006-02             $4,224         $2,592         $1,631          $1,488           $30,612
2006-03             $4,273         $2,592         $1,681          $1,527           $32,139
2006-04             $4,273         $2,592         $1,681          $1,521           $33,660
2006-05             $4,273         $2,592         $1,681          $1,516           $35,175
2006-06             $4,273         $2,592         $1,681          $1,510           $36,686
2006-07             $4,273         $2,592         $1,681          $1,505           $38,191
2006-08             $4,273         $2,592         $1,681          $1,500           $39,690
2006-09             $4,344         $2,592         $1,751          $1,557           $41,247
2006-10             $4,485         $2,592         $1,893          $1,677           $42,924
2006-11             $4,485         $2,592         $1,893          $1,671           $44,594
2006-12             $4,485         $2,592         $1,893          $1,665           $46,259
2007-01             $4,485         $2,398         $2,087          $1,829           $48,088
2007-02             $4,485         $2,398         $2,087          $1,822           $49,910
2007-03             $4,593         $2,398         $2,194          $1,910           $51,820
2007-04             $4,593         $2,398         $2,194          $1,903           $53,723
2007-05             $4,593         $2,398         $2,194          $1,896           $55,619
2007-06             $4,593         $2,398         $2,194          $1,889           $57,507
2007-07             $4,593         $2,398         $2,194          $1,882           $59,389
2007-08             $4,593         $2,398         $2,194          $1,875           $61,265
2007-09             $4,845         $2,398         $2,447          $2,083           $63,347


                                                                                  Exhibit A to
                                                                 N. Everett's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2007-10             $4,942         $2,398         $2,544          $2,157           $65,505
2007-11             $4,942         $2,398         $2,544          $2,149           $67,654
2007-12             $4,942         $2,398         $2,544          $2,141           $69,796
2008-01             $4,942         $1,458         $3,483          $2,922           $72,718
2008-02             $4,942         $1,458         $3,483          $2,911           $75,628
2008-03             $5,206         $1,458         $3,747          $3,120           $78,748
2008-04             $5,206         $1,458         $3,747          $3,108           $81,856
2008-05             $5,549         $1,458         $4,091          $3,380           $85,236
2008-06             $5,549         $1,458         $4,091          $3,367           $88,603
2008-07             $5,549         $1,458         $4,091          $3,354           $91,957
2008-08             $5,549         $1,458         $4,091          $3,341           $95,299
2008-09             $5,850         $1,458         $4,391          $3,573           $98,871
2008-10             $5,850         $2,893         $2,957          $2,396          $101,268
2008-11             $5,850         $1,827         $4,023          $3,248          $104,516
2008-12             $5,992         $2,274         $3,718          $2,990          $107,506
2009-01             $5,992         $2,315         $3,677          $2,945          $110,451
2009-02             $5,992         $1,873         $4,119          $3,287          $113,738
2009-03             $5,992         $1,873         $4,119          $3,274          $117,012
2009-04             $5,992         $1,873         $4,119          $3,261          $120,272
2009-05             $5,992         $2,161         $3,832          $3,021          $123,293
2009-06             $5,992         $3,865         $2,127          $1,670          $124,964
2009-07             $5,992         $1,873         $4,119          $3,222          $128,186
2009-08             $6,005         $1,873         $4,132          $3,219          $131,405
2009-09             $6,005         $2,463         $3,542          $2,748          $134,153
2009-10             $6,005         $2,315         $3,690          $2,851          $137,005
2009-11             $6,005         $1,873         $4,132          $3,180          $140,185
2009-12             $6,005         $2,614         $3,391          $2,599          $142,784
2010-01             $6,005         $1,562         $4,443          $3,391          $146,175
2010-02             $6,262         $1,458         $4,804          $3,652          $149,827
2010-03             $6,262         $1,458         $4,804          $3,637          $153,464
2010-04             $6,262         $1,458         $4,804          $3,622          $157,086
2010-05             $6,262         $1,458         $4,804          $3,607          $160,693
2010-06             $6,262         $1,458         $4,804          $3,592          $164,285
2010-07             $6,262         $1,458         $4,804          $3,577          $167,862
2010-08             $6,262         $1,458         $4,804          $3,562          $171,423
2010-09             $6,262         $1,458         $4,804          $3,546          $174,970
2010-10             $6,262         $1,458         $4,804          $3,531          $178,501
2010-11             $6,262         $1,458         $4,804          $3,516          $182,017
2010-12             $6,262         $1,458         $4,804          $3,501          $185,518
2011-01             $6,262         $1,458         $4,804          $3,487          $189,005
2011-02             $6,262         $1,458         $4,804          $3,473          $192,478
2011-03             $6,262         $1,458         $4,804          $3,458          $195,936
2011-04             $6,262         $1,458         $4,804          $3,444          $199,380


                                                                                  Exhibit A to
                                                                 N. Everett's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2011-05             $6,262         $1,693         $4,570          $3,262          $202,643
2011-06             $6,262         $1,458         $4,804          $3,415          $206,058
2011-07             $6,262         $1,458         $4,804          $3,401          $209,459
2011-08             $6,262         $1,458         $4,804          $3,387          $212,846
2011-09             $6,262         $1,458         $4,804          $3,373          $216,219
2011-10             $6,262         $1,458         $4,804          $3,359          $219,578
2011-11             $6,262         $1,458         $4,804          $3,345          $222,923
2011-12             $6,262         $1,458         $4,804          $3,331          $226,253
2012-01             $6,262         $1,458         $4,804          $3,316          $229,570
2012-02             $6,262         $1,458         $4,804          $3,302          $232,872
2012-03             $6,262         $1,458         $4,804          $3,288          $236,160
2012-04             $6,262         $1,458         $4,804          $3,274          $239,434
2012-05             $6,262         $1,922         $4,340          $2,945          $242,379
2012-06             $6,262         $1,458         $4,804          $3,246          $245,625
2012-07             $6,262         $1,458         $4,804          $3,232          $248,857
2012-08             $6,262         $1,458         $4,804          $3,218          $252,074
2012-09             $6,262         $1,458         $4,804          $3,204          $255,278
2012-10             $6,262         $1,458         $4,804          $3,190          $258,468
2012-11             $6,262         $1,458         $4,804          $3,176          $261,643
2012-12             $6,262         $1,458         $4,804          $3,162          $264,805
2013-01             $6,262         $1,476         $4,787          $3,136          $267,942
2013-02             $6,438         $1,476         $4,962          $3,237          $271,178
2013-03             $6,438         $1,476         $4,962          $3,222          $274,401
2013-04             $6,438         $1,476         $4,962          $3,208          $277,609
2013-05             $6,502         $1,476         $5,026          $3,235          $280,844
2013-06             $6,502         $1,476         $5,026          $3,221          $284,064
2013-07             $6,502         $1,476         $5,026          $3,206          $287,270
2013-08             $6,502         $1,476         $5,026          $3,192          $290,462
2013-09             $6,502         $1,476         $5,026          $3,177          $293,639
2013-10             $6,502         $2,348         $4,154          $2,614          $296,253
2013-11             $6,502         $2,504         $3,998          $2,504          $298,757
2013-12             $6,502         $2,348         $4,154          $2,590          $301,347
2014-01             $6,502         $2,737         $3,765          $2,337          $303,684
2014-02             $6,502         $1,488         $5,014          $3,098          $306,782
2014-03             $6,502         $1,954         $4,548          $2,797          $309,579
2014-04             $6,502         $1,488         $5,014          $3,069          $312,648
2014-05             $6,567         $3,079         $3,488          $2,124          $314,772
2014-06             $6,567         $2,447         $4,120          $2,498          $317,270
2014-07             $6,567         $1,488         $5,079          $3,065          $320,335
2014-08             $6,567         $1,488         $5,079          $3,051          $323,386
2014-09             $6,567         $1,488         $5,079          $3,036          $326,422
2014-10             $6,567         $3,519         $3,048          $1,813          $328,235
2014-11             $6,567         $2,436         $4,131          $2,446          $330,681


                                                                                  Exhibit A to
                                                                 N. Everett's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2014-12             $6,567         $2,447         $4,120          $2,428          $333,109
2015-01             $6,567         $2,529         $4,038          $2,368          $335,476
2015-02             $6,944         $2,055         $4,889          $2,853          $338,329
2015-03             $6,944         $2,958         $3,986          $2,315          $340,644




                                                                                  Exhibit A to
                                                                 N. Everett's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2004-03     Regularly Appointed Teacher               $41,030
          2004-04     Regularly Appointed Teacher               $41,030
          2004-05     Regularly Appointed Teacher               $41,030
          2004-06     Regularly Appointed Teacher               $41,030
          2004-07     Regularly Appointed Teacher               $41,030
          2004-08     Regularly Appointed Teacher               $41,030
          2004-09     Regularly Appointed Teacher               $41,030
          2004-10     Regularly Appointed Teacher               $41,030
          2004-11     Regularly Appointed Teacher               $41,030
          2004-12     Regularly Appointed Teacher               $42,466
          2005-01     Regularly Appointed Teacher               $42,466
          2005-02     Regularly Appointed Teacher               $42,466
          2005-03     Regularly Appointed Teacher               $42,988
          2005-04     Regularly Appointed Teacher               $42,988
          2005-05     Regularly Appointed Teacher               $42,988
          2005-06     Regularly Appointed Teacher               $42,988
          2005-07     Regularly Appointed Teacher               $42,988
          2005-08     Regularly Appointed Teacher               $42,988
          2005-09     Regularly Appointed Teacher               $42,988
          2005-10     Regularly Appointed Teacher               $48,041
          2005-11     Regularly Appointed Teacher               $50,683
          2005-12     Regularly Appointed Teacher               $50,683
          2006-01     Regularly Appointed Teacher               $50,683
          2006-02     Regularly Appointed Teacher               $50,683
          2006-03     Regularly Appointed Teacher               $51,279
          2006-04     Regularly Appointed Teacher               $51,279
          2006-05     Regularly Appointed Teacher               $51,279
          2006-06     Regularly Appointed Teacher               $51,279
          2006-07     Regularly Appointed Teacher               $51,279
          2006-08     Regularly Appointed Teacher               $51,279
          2006-09     Regularly Appointed Teacher               $52,122
          2006-10     Regularly Appointed Teacher               $53,818
          2006-11     Regularly Appointed Teacher               $53,818
          2006-12     Regularly Appointed Teacher               $53,818
          2007-01     Regularly Appointed Teacher               $53,818
          2007-02     Regularly Appointed Teacher               $53,818
          2007-03     Regularly Appointed Teacher               $55,110
          2007-04     Regularly Appointed Teacher               $55,110
          2007-05     Regularly Appointed Teacher               $55,110
          2007-06     Regularly Appointed Teacher               $55,110
          2007-07     Regularly Appointed Teacher               $55,110
          2007-08     Regularly Appointed Teacher               $55,110
          2007-09     Regularly Appointed Teacher               $58,137

                                                                                     Exhibit B to
                                                                    N. Everett's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-10     Regularly Appointed Teacher               $59,300
          2007-11     Regularly Appointed Teacher               $59,300
          2007-12     Regularly Appointed Teacher               $59,300
          2008-01     Regularly Appointed Teacher               $59,300
          2008-02     Regularly Appointed Teacher               $59,300
          2008-03     Regularly Appointed Teacher               $62,469
          2008-04     Regularly Appointed Teacher               $62,469
          2008-05     Regularly Appointed Teacher               $66,593
          2008-06     Regularly Appointed Teacher               $66,593
          2008-07     Regularly Appointed Teacher               $66,593
          2008-08     Regularly Appointed Teacher               $66,593
          2008-09     Regularly Appointed Teacher               $70,195
          2008-10     Regularly Appointed Teacher               $70,195
          2008-11     Regularly Appointed Teacher               $70,195
          2008-12     Regularly Appointed Teacher               $71,905
          2009-01     Regularly Appointed Teacher               $71,905
          2009-02     Regularly Appointed Teacher               $71,905
          2009-03     Regularly Appointed Teacher               $71,905
          2009-04     Regularly Appointed Teacher               $71,905
          2009-05     Regularly Appointed Teacher               $71,905
          2009-06     Regularly Appointed Teacher               $71,905
          2009-07     Regularly Appointed Teacher               $71,905
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $75,149
          2010-03     Regularly Appointed Teacher               $75,149
          2010-04     Regularly Appointed Teacher               $75,149
          2010-05     Regularly Appointed Teacher               $75,149
          2010-06     Regularly Appointed Teacher               $75,149
          2010-07     Regularly Appointed Teacher               $75,149
          2010-08     Regularly Appointed Teacher               $75,149
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149

                                                                                     Exhibit B to
                                                                    N. Everett's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149




                                                                                     Exhibit B to
                                                                    N. Everett's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ORLERON
                                                                       : DEPEZA
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Orleron Depeza (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on February 23, 2021, with respect to Mr.
Depeza’s demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Orleron
Depeza, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Orleron Depeza (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Depeza will have
judgment against the BOE as follows:

   1. Backpay in the amount of $271,555;

   2. Tax-component award in the amount of $31,908;

   3. LAST Fees in the amount of $600;

   4. ASAF account award in the amount of $1,123.

   5. CAR Day award in the amount of $3,767;

   6. Pre-judgment interest calculated to be $39,063; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Depeza will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Depeza’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Orleron Depeza; and

       c. Grant Mr. Depeza retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ORLERON
THE BOARD OF EDUCATION OF THE CITY SCHOOL : DEPEZA
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Orleron Depeza:

    1. Class Membership. Mr. Depeza is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Depeza would have been appointed as a
                regularly appointed teacher in July 2001. The Special Master also finds, and the
                Court agrees, that Mr. Depeza is eligible to accrue backpay damages beginning
                July 2001.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Depeza would have worked as a
                regularly appointed teacher until September 1, 2010, Mr. Depeza accrues backpay
                damages until October 1, 2012, and Mr. Depeza’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Depeza’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Depeza’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Depeza has satisfied his burden of establishing his entitlement to
   the following monetary relief:

       a. Backpay in the amount of $271,555;

       b. A tax-component award in the amount of $31,908;

       c. $600 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,213;

       e. CAR Day damages in the amount of $3,767; and

       f. Pre-judgment interest in the amount of $39,063.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Depeza has satisfied his burden of establishing his entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Depeza’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Depeza should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Depeza (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —          1948

               ii.   Gender — Male

               iii. Address —                          Martinsburg, WV 25403

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   July 22, 2001



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — September
                   1, 2010

               x.   Retirement date (if any) — September 1, 2010

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2001-07             $2,821         $2,821             $0              $0               $0
2001-08             $2,821         $2,821             $0              $0               $0
2001-09             $2,876         $2,876             $0              $0               $0
2001-10             $2,876         $2,876             $0              $0               $0
2001-11             $3,020         $3,020             $0              $0               $0
2001-12             $3,020         $3,020             $0              $0               $0
2002-01             $3,020         $3,020             $0              $0               $0
2002-02             $3,020         $3,020             $0              $0               $0
2002-03             $3,020         $3,020             $0              $0               $0
2002-04             $3,020         $3,020             $0              $0               $0
2002-05             $3,020         $3,020             $0              $0               $0
2002-06             $3,020         $3,020             $0              $0               $0
2002-07             $3,020         $3,020             $0              $0               $0
2002-08             $3,020         $3,020             $0              $0               $0
2002-09             $3,352         $3,270            $82             $82              $82
2002-10             $3,352         $3,270            $82             $82            $165
2002-11             $3,352         $3,270            $82             $82            $247
2002-12             $3,352         $3,270            $82             $82            $329
2003-01             $3,352         $3,270            $82             $82            $412
2003-02             $3,751         $3,270          $481            $481             $893
2003-03             $3,751         $3,270          $481            $481            $1,374
2003-04             $3,751         $3,270          $481            $481            $1,855
2003-05             $3,751         $3,270          $481            $481            $2,336
2003-06             $3,751         $3,270          $481            $481            $2,818
2003-07             $3,751         $3,270          $481            $481            $3,299
2003-08             $3,751         $3,270          $481            $481            $3,780
2003-09             $3,792         $2,633         $1,160          $1,155           $4,935
2003-10             $3,792         $2,633         $1,160          $1,150           $6,085
2003-11             $3,792         $2,633         $1,160          $1,146           $7,231
2003-12             $3,868         $2,633         $1,235          $1,216           $8,447
2004-01             $3,868         $1,208         $2,661          $2,608          $11,055
2004-02             $3,868         $1,208         $2,661          $2,598          $13,653
2004-03             $3,868         $1,208         $2,661          $2,587          $16,240
2004-04             $3,868         $1,208         $2,661          $2,577          $18,817
2004-05             $3,868         $1,208         $2,661          $2,567          $21,383
2004-06             $3,868         $1,208         $2,661          $2,557          $23,940
2004-07             $3,868         $1,208         $2,661          $2,547          $26,487
2004-08             $3,868         $1,208         $2,661          $2,537          $29,025
2004-09             $3,914         $1,208         $2,706          $2,570          $31,595
2004-10             $3,914         $1,208         $2,706          $2,560          $34,156
2004-11             $3,914         $1,208         $2,706          $2,550          $36,706
2004-12             $4,051         $1,208         $2,843          $2,670          $39,376
2005-01             $4,051         $1,237         $2,814          $2,633          $42,008


                                                                                 Exhibit A to
                                                                 O. Depeza's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2005-02             $4,051         $1,237         $2,814          $2,623          $44,632
2005-03             $4,117         $1,237         $2,880          $2,675          $47,307
2005-04             $4,117         $1,237         $2,880          $2,665          $49,972
2005-05             $4,117         $1,237         $2,880          $2,656          $52,628
2005-06             $4,117         $1,237         $2,880          $2,646          $55,274
2005-07             $4,138         $1,237         $2,901          $2,655          $57,929
2005-08             $4,138         $1,237         $2,901          $2,645          $60,574
2005-09             $4,237         $1,237         $3,000          $2,725          $63,299
2005-10             $4,237         $1,237         $3,000          $2,715          $66,014
2005-11             $4,470         $1,237         $3,233          $2,915          $68,928
2005-12             $4,470         $1,237         $3,233          $2,904          $71,832
2006-01             $4,470         $1,301         $3,169          $2,835          $74,667
2006-02             $4,470         $1,301         $3,169          $2,824          $77,491
2006-03             $4,714         $1,301         $3,413          $3,030          $80,521
2006-04             $4,843         $1,301         $3,542          $3,132          $83,653
2006-05             $4,843         $1,301         $3,542          $3,120          $86,774
2006-06             $4,843         $1,301         $3,542          $3,108          $89,882
2006-07             $4,843         $1,301         $3,542          $3,096          $92,977
2006-08             $4,843         $1,301         $3,542          $3,056          $96,033
2006-09             $5,072         $1,301         $3,771          $3,253          $99,286
2006-10             $5,237         $1,301         $3,936          $3,395         $102,682
2006-11             $5,237         $1,301         $3,936          $3,386         $106,068
2006-12             $5,249         $1,301         $3,948          $3,383         $109,451
2007-01                 $0             $0             $0              $0         $109,451
2007-02                 $0             $0             $0              $0         $109,451
2007-03                 $0             $0             $0              $0         $109,451
2007-04                 $0             $0             $0              $0         $109,451
2007-05                 $0             $0             $0              $0         $109,451
2007-06                 $0             $0             $0              $0         $109,451
2007-07                 $0             $0             $0              $0         $109,451
2007-08                 $0             $0             $0              $0         $109,451
2007-09                 $0             $0             $0              $0         $109,451
2007-10                 $0             $0             $0              $0         $109,451
2007-11                 $0             $0             $0              $0         $109,451
2007-12                 $0             $0             $0              $0         $109,451
2008-01             $5,354         $1,458         $3,895          $3,104         $112,555
2008-02             $5,354         $1,458         $3,895          $3,104         $115,658
2008-03             $5,640         $1,458         $4,181          $3,331         $118,990
2008-04             $5,640         $1,458         $4,181          $3,331         $122,321
2008-05             $6,005         $1,458         $4,547          $3,622         $125,943
2008-06             $6,005         $1,458         $4,547          $3,616         $129,559
2008-07             $6,005         $1,458         $4,547          $3,600         $133,159
2008-08             $6,005         $1,458         $4,547          $3,284         $136,444


                                                                                 Exhibit A to
                                                                 O. Depeza's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2008-09             $6,005         $1,458         $4,547          $3,284         $139,728
2008-10             $6,005         $1,458         $4,547          $3,284         $143,012
2008-11             $6,005         $1,458         $4,547          $3,284         $146,296
2008-12             $6,005         $1,458         $4,547          $3,284         $149,581
2009-01             $6,005         $1,458         $4,547          $3,284         $152,865
2009-02             $6,005         $1,458         $4,547          $3,284         $156,149
2009-03             $6,005         $1,458         $4,547          $3,284         $159,434
2009-04             $6,005         $1,458         $4,547          $3,284         $162,718
2009-05             $6,005         $1,458         $4,547          $3,284         $166,002
2009-06             $6,005         $1,458         $4,547          $3,284         $169,287
2009-07             $6,005         $1,458         $4,547          $3,284         $172,571
2009-08             $6,005         $1,458         $4,547          $2,923         $175,494
2009-09             $6,005         $1,458         $4,547          $2,923         $178,416
2009-10             $6,005         $1,458         $4,547          $2,923         $181,339
2009-11             $6,005         $1,458         $4,547          $2,923         $184,261
2009-12             $6,005         $1,458         $4,547          $2,923         $187,184
2010-01             $6,005         $1,458         $4,547          $2,923         $190,106
2010-02             $6,005         $1,458         $4,547          $2,923         $193,029
2010-03             $6,005         $1,458         $4,547          $2,923         $195,951
2010-04             $6,005         $1,458         $4,547          $2,923         $198,874
2010-05             $6,005         $1,458         $4,547          $2,923         $201,797
2010-06             $6,005         $1,458         $4,547          $2,923         $204,719
2010-07             $6,005         $1,458         $4,547          $2,923         $207,642
2010-08             $6,005         $1,458         $4,547          $2,553         $210,195
2010-09             $6,262         $1,458         $4,804          $2,698         $212,892
2010-10             $6,262         $1,458         $4,804          $2,698         $215,590
2010-11             $6,262         $1,458         $4,804          $2,698         $218,288
2010-12             $6,262         $1,458         $4,804          $2,698         $220,985
2011-01             $6,262         $1,458         $4,804          $2,698         $223,683
2011-02             $6,262         $1,458         $4,804          $2,698         $226,381
2011-03             $6,262         $1,458         $4,804          $2,698         $229,078
2011-04             $6,262         $1,458         $4,804          $2,698         $231,776
2011-05             $6,262         $1,458         $4,804          $2,698         $234,474
2011-06             $6,262         $1,458         $4,804          $2,698         $237,171
2011-07             $6,262         $1,458         $4,804          $2,698         $239,869
2011-08             $6,262         $1,458         $4,804          $2,315         $242,184
2011-09             $6,262         $1,458         $4,804          $2,315         $244,499
2011-10             $6,262         $1,458         $4,804          $2,315         $246,814
2011-11             $6,262         $1,458         $4,804          $2,315         $249,129
2011-12             $6,262         $1,458         $4,804          $2,315         $251,444
2012-01             $6,262         $1,458         $4,804          $2,315         $253,759
2012-02             $6,262         $1,458         $4,804          $2,315         $256,074
2012-03             $6,262         $1,458         $4,804          $2,315         $258,389


                                                                                 Exhibit A to
                                                                 O. Depeza's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 167 of 219
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2012-04             $6,262         $1,458         $4,804          $2,315         $260,704
2012-05             $6,262         $1,458         $4,804          $2,315         $263,019
2012-06             $6,262         $1,458         $4,804          $2,315         $265,334
2012-07             $6,262         $1,458         $4,804          $2,315         $267,649
2012-08             $6,262         $1,458         $4,804          $1,953         $269,602
2012-09             $6,262         $1,458         $4,804          $1,953         $271,555




                                                                                 Exhibit A to
                                                                 O. Depeza's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2001-07     Regularly Appointed Teacher               $33,851
          2001-08     Regularly Appointed Teacher               $33,851
          2001-09     Regularly Appointed Teacher               $34,514
          2001-10     Regularly Appointed Teacher               $34,514
          2001-11     Regularly Appointed Teacher               $36,240
          2001-12     Regularly Appointed Teacher               $36,240
          2002-01     Regularly Appointed Teacher               $36,240
          2002-02     Regularly Appointed Teacher               $36,240
          2002-03     Regularly Appointed Teacher               $36,240
          2002-04     Regularly Appointed Teacher               $36,240
          2002-05     Regularly Appointed Teacher               $36,240
          2002-06     Regularly Appointed Teacher               $36,240
          2002-07     Regularly Appointed Teacher               $36,240
          2002-08     Regularly Appointed Teacher               $36,240
          2002-09     Regularly Appointed Teacher               $40,225
          2002-10     Regularly Appointed Teacher               $40,225
          2002-11     Regularly Appointed Teacher               $40,225
          2002-12     Regularly Appointed Teacher               $40,225
          2003-01     Regularly Appointed Teacher               $40,225
          2003-02     Regularly Appointed Teacher               $45,011
          2003-03     Regularly Appointed Teacher               $45,011
          2003-04     Regularly Appointed Teacher               $45,011
          2003-05     Regularly Appointed Teacher               $45,011
          2003-06     Regularly Appointed Teacher               $45,011
          2003-07     Regularly Appointed Teacher               $45,011
          2003-08     Regularly Appointed Teacher               $45,011
          2003-09     Regularly Appointed Teacher               $45,506
          2003-10     Regularly Appointed Teacher               $45,506
          2003-11     Regularly Appointed Teacher               $45,506
          2003-12     Regularly Appointed Teacher               $46,416
          2004-01     Regularly Appointed Teacher               $46,416
          2004-02     Regularly Appointed Teacher               $46,416
          2004-03     Regularly Appointed Teacher               $46,416
          2004-04     Regularly Appointed Teacher               $46,416
          2004-05     Regularly Appointed Teacher               $46,416
          2004-06     Regularly Appointed Teacher               $46,416
          2004-07     Regularly Appointed Teacher               $46,416
          2004-08     Regularly Appointed Teacher               $46,416
          2004-09     Regularly Appointed Teacher               $46,962
          2004-10     Regularly Appointed Teacher               $46,962
          2004-11     Regularly Appointed Teacher               $46,962
          2004-12     Regularly Appointed Teacher               $48,606
          2005-01     Regularly Appointed Teacher               $48,606

                                                                                    Exhibit B to
                                                                    O. Depeza's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 169 of 219

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2005-02     Regularly Appointed Teacher               $48,606
          2005-03     Regularly Appointed Teacher               $49,405
          2005-04     Regularly Appointed Teacher               $49,405
          2005-05     Regularly Appointed Teacher               $49,405
          2005-06     Regularly Appointed Teacher               $49,405
          2005-07     Regularly Appointed Teacher               $49,657
          2005-08     Regularly Appointed Teacher               $49,657
          2005-09     Regularly Appointed Teacher               $50,844
          2005-10     Regularly Appointed Teacher               $50,844
          2005-11     Regularly Appointed Teacher               $53,641
          2005-12     Regularly Appointed Teacher               $53,641
          2006-01     Regularly Appointed Teacher               $53,641
          2006-02     Regularly Appointed Teacher               $53,641
          2006-03     Regularly Appointed Teacher               $56,571
          2006-04     Regularly Appointed Teacher               $58,117
          2006-05     Regularly Appointed Teacher               $58,117
          2006-06     Regularly Appointed Teacher               $58,117
          2006-07     Regularly Appointed Teacher               $58,117
          2006-08     Regularly Appointed Teacher               $58,117
          2006-09     Regularly Appointed Teacher               $60,861
          2006-10     Regularly Appointed Teacher               $62,841
          2006-11     Regularly Appointed Teacher               $62,841
          2006-12     Regularly Appointed Teacher               $62,986
          2007-01     Regularly Appointed Teacher               $62,986
          2007-02     Regularly Appointed Teacher               $62,986
          2007-03     Regularly Appointed Teacher               $62,986
          2007-04     Regularly Appointed Teacher               $62,986
          2007-05     Regularly Appointed Teacher               $62,986
          2007-06     Regularly Appointed Teacher               $62,986
          2007-07     Regularly Appointed Teacher               $62,986
          2007-08     Regularly Appointed Teacher               $62,986
          2007-09     Regularly Appointed Teacher               $62,986
          2007-10     Regularly Appointed Teacher               $64,246
          2007-11     Regularly Appointed Teacher               $64,246
          2007-12     Regularly Appointed Teacher               $64,246
          2008-01     Regularly Appointed Teacher               $64,246
          2008-02     Regularly Appointed Teacher               $64,246
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    O. Depeza's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060




                                                                                    Exhibit B to
                                                                    O. Depeza's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : TRACY
                                                                       : GIBSON
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Tracy Gibson (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on June 29, 2021, with respect to Ms. Gibson’s
demand for damages and Defendant’s objections, [ECF No. 8386];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Tracy
Gibson, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
   Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 172 of 219




IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Tracy Gibson (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Gibson will have
judgment against the BOE as follows:

   1. Backpay in the amount of $611,069;

   2. Tax-component award in the amount of $71,801;

   3. LAST Fees in the amount of $140;

   4. ASAF account award in the amount of $3,069;

   5. CAR Day award in the amount of $12,013;

   6. Pre-judgment interest calculated to be $56,629; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Gibson will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Gibson’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Tracy Gibson; and

       c. Grant Ms. Gibson retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
    Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 174 of 219




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : TRACY
THE BOARD OF EDUCATION OF THE CITY SCHOOL : GIBSON
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Tracy Gibson:

    1. Class Membership. Ms. Gibson is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Gibson would have been appointed as a
                regularly appointed teacher in March 2004. The Special Master also finds, and
                the Court agrees, that Ms. Gibson is eligible to accrue backpay damages
                beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Gibson would have worked as a
                regularly appointed teacher until December 1, 2018, Ms. Gibson accrues backpay
                damages through the date of judgment, and Ms. Gibson’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Gibson’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — April 1, 2017 through April 30,
                     2018

               ix. Termination of regularly appointed teacher service (if any) — December
                   1, 2018

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2003-09             $3,146         $1,850         $1,296          $1,296            $1,296
2003-10             $3,146         $1,850         $1,296          $1,296            $2,592
2003-11             $3,146         $1,850         $1,296          $1,296            $3,888
2003-12             $3,209         $1,850         $1,359          $1,359            $5,247
2004-01             $3,209          -$135         $3,344          $3,344            $8,591
2004-02             $3,209          -$135         $3,344          $3,344           $11,935
2004-03             $3,343          -$135         $3,477          $3,477           $15,412
2004-04             $3,343         $1,305         $2,038          $2,038           $17,450
2004-05             $3,343         $2,349          $994            $994            $18,444
2004-06             $3,343         $1,044         $2,299          $2,299           $20,742
2004-07             $3,343          -$135         $3,477          $3,477           $24,220
2004-08             $3,343          -$135         $3,477          $3,477           $27,697
2004-09             $3,370         $1,208         $2,163          $2,163           $29,860
2004-10             $3,370         $1,208         $2,163          $2,163           $32,023
2004-11             $3,370         $1,208         $2,163          $2,163           $34,185
2004-12             $3,488         $2,026         $1,462          $1,462           $35,648
2005-01             $3,488         $2,506          $982            $982            $36,630
2005-02             $3,488         $1,237         $2,252          $2,252           $38,881
2005-03             $3,488         $2,506          $982            $982            $39,863
2005-04             $3,488         $2,371         $1,117          $1,117           $40,980
2005-05             $3,488         $2,101         $1,387          $1,387           $42,367
2005-06             $3,488         $1,291         $2,198          $2,198           $44,565
2005-07             $3,488         $1,237         $2,252          $2,252           $46,817
2005-08             $3,488         $1,237         $2,252          $2,252           $49,068
2005-09             $3,539         $1,237         $2,302          $2,302           $51,370
2005-10             $3,960         $1,237         $2,723          $2,723           $54,094
2005-11             $4,178         $1,237         $2,941          $2,941           $57,035
2005-12             $4,178         $1,237         $2,941          $2,941           $59,976
2006-01             $4,178         $1,301         $2,877          $2,877           $62,853
2006-02             $4,178         $1,301         $2,877          $2,877           $65,730
2006-03             $4,178         $1,301         $2,877          $2,877           $68,607
2006-04             $4,178         $1,301         $2,877          $2,877           $71,484
2006-05             $4,178         $1,301         $2,877          $2,877           $74,360
2006-06             $4,178         $1,301         $2,877          $2,877           $77,237
2006-07             $4,178         $1,301         $2,877          $2,877           $80,114
2006-08             $4,178         $1,301         $2,877          $2,877           $82,991
2006-09             $4,224         $1,301         $2,923          $2,923           $85,914
2006-10             $4,361         $1,301         $3,060          $3,060           $88,974
2006-11             $4,361         $1,301         $3,060          $3,060           $92,034
2006-12             $4,361         $1,301         $3,060          $3,060           $95,094
2007-01             $4,361         $1,453         $2,909          $2,909           $98,003
2007-02             $4,361         $1,453         $2,909          $2,909          $100,911
2007-03             $4,361         $1,453         $2,909          $2,909          $103,820


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2007-04             $4,361         $1,453         $2,909          $2,909          $106,728
2007-05             $4,361         $1,453         $2,909          $2,909          $109,637
2007-06             $4,361         $1,453         $2,909          $2,909          $112,545
2007-07             $4,361         $1,453         $2,909          $2,909          $115,454
2007-08             $4,361         $1,453         $2,909          $2,909          $118,362
2007-09             $4,412         $1,453         $2,960          $2,960          $121,322
2007-10             $4,501         $1,453         $3,048          $3,048          $124,370
2007-11             $4,501         $1,453         $3,048          $3,048          $127,418
2007-12             $4,501         $1,453         $3,048          $3,048          $130,466
2008-01             $4,501         $1,458         $3,042          $3,042          $133,508
2008-02             $4,501         $1,458         $3,042          $3,042          $136,551
2008-03             $4,598         $1,458         $3,140          $3,140          $139,690
2008-04             $4,598         $1,458         $3,140          $3,140          $142,830
2008-05             $4,911         $1,458         $3,453          $3,453          $146,282
2008-06             $4,911         $1,458         $3,453          $3,453          $149,735
2008-07             $4,911         $1,458         $3,453          $3,453          $153,188
2008-08             $4,911         $1,458         $3,453          $3,453          $156,641
2008-09             $5,026         $1,458         $3,568          $3,568          $160,209
2008-10             $5,026         $1,458         $3,568          $3,568          $163,777
2008-11             $5,026         $1,458         $3,568          $3,568          $167,345
2008-12             $5,169         $1,458         $3,711          $3,711          $171,055
2009-01             $5,169         $1,458         $3,711          $3,698          $174,753
2009-02             $5,169         $1,458         $3,711          $3,685          $178,439
2009-03             $5,439         $1,458         $3,981          $3,940          $182,379
2009-04             $5,439         $1,458         $3,981          $3,927          $186,306
2009-05             $5,439         $1,458         $3,981          $3,914          $190,220
2009-06             $5,439         $1,458         $3,981          $3,900          $194,121
2009-07             $5,439         $1,458         $3,981          $3,887          $198,008
2009-08             $5,452         $1,458         $3,994          $3,886          $201,894
2009-09             $5,705         $1,458         $4,247          $4,118          $206,012
2009-10             $5,705         $1,458         $4,247          $4,104          $210,116
2009-11             $5,705          $884          $4,821          $4,643          $214,759
2009-12             $5,705          $884          $4,821          $4,627          $219,386
2010-01             $5,705         $1,558         $4,147          $3,967          $223,353
2010-02             $5,705         $1,558         $4,147          $3,953          $227,306
2010-03             $6,005         $1,558         $4,447          $4,224          $231,530
2010-04             $6,005         $1,558         $4,447          $4,210          $235,740
2010-05             $6,005         $1,558         $4,447          $4,195          $239,934
2010-06             $6,005         $1,558         $4,447          $4,180          $244,115
2010-07             $6,005         $1,558         $4,447          $4,166          $248,280
2010-08             $6,005         $1,558         $4,447          $4,151          $252,431
2010-09             $6,005         $1,558         $4,447          $4,136          $256,568
2010-10             $6,005         $1,558         $4,447          $4,122          $260,690


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2010-11             $6,005         $1,558         $4,447          $4,107          $264,797
2010-12             $6,005         $1,558         $4,447          $4,093          $268,890
2011-01             $6,005         $1,458         $4,547          $4,170          $273,060
2011-02             $6,005         $1,458         $4,547          $4,155          $277,215
2011-03             $6,005         $1,458         $4,547          $4,140          $281,355
2011-04             $6,005         $1,458         $4,547          $4,125          $285,480
2011-05             $6,005         $1,458         $4,547          $4,111          $289,591
2011-06             $6,005         $1,458         $4,547          $4,096          $293,686
2011-07             $6,005         $1,458         $4,547          $4,081          $297,768
2011-08             $6,005         $1,458         $4,547          $4,066          $301,834
2011-09             $6,005         $1,458         $4,547          $4,052          $305,886
2011-10             $6,005         $1,458         $4,547          $4,037          $309,923
2011-11             $6,005         $1,458         $4,547          $4,022          $313,945
2011-12             $6,005         $1,458         $4,547          $4,008          $317,953
2012-01             $6,005         $1,458         $4,547          $3,993          $321,946
2012-02             $6,005         $1,458         $4,547          $3,978          $325,924
2012-03             $6,005         $1,458         $4,547          $3,964          $329,888
2012-04             $6,005         $1,458         $4,547          $3,949          $333,838
2012-05             $6,005         $1,458         $4,547          $3,935          $337,772
2012-06             $6,005         $1,458         $4,547          $3,920          $341,692
2012-07             $6,005         $1,458         $4,547          $3,906          $345,598
2012-08             $6,005         $1,458         $4,547          $3,891          $349,489
2012-09             $6,262         $1,458         $4,804          $4,096          $353,585
2012-10             $6,262         $1,458         $4,804          $4,081          $357,666
2012-11             $6,262         $1,458         $4,804          $4,066          $361,732
2012-12             $6,262         $1,458         $4,804          $4,050          $365,782
2013-01             $6,262         $2,718         $3,545          $2,977          $368,759
2013-02             $6,262         $2,718         $3,545          $2,966          $371,725
2013-03             $6,262         $2,718         $3,545          $2,955          $374,680
2013-04             $6,262         $2,718         $3,545          $2,943          $377,623
2013-05             $6,325         $2,718         $3,607          $2,984          $380,607
2013-06             $6,325         $2,718         $3,607          $2,973          $383,580
2013-07             $6,325         $2,718         $3,607          $2,961          $386,541
2013-08             $6,325         $2,718         $3,607          $2,950          $389,491
2013-09             $6,325         $2,718         $3,607          $2,938          $392,429
2013-10             $6,325         $2,718         $3,607          $2,927          $395,356
2013-11             $6,325         $2,718         $3,607          $2,916          $398,272
2013-12             $6,325         $2,718         $3,607          $2,904          $401,177
2014-01             $6,325         $3,128         $3,197          $2,564          $403,741
2014-02             $6,325         $3,128         $3,197          $2,554          $406,295
2014-03             $6,325         $3,128         $3,197          $2,544          $408,839
2014-04             $6,325         $3,128         $3,197          $2,534          $411,373
2014-05             $6,388         $3,128         $3,260          $2,574          $413,947


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2014-06             $6,388         $3,128         $3,260          $3,350          $417,297
2014-07             $6,388         $3,128         $3,260          $2,554          $419,850
2014-08             $6,388         $3,128         $3,260          $2,543          $422,394
2014-09             $6,388         $3,128         $3,260          $2,533          $424,927
2014-10             $6,388         $3,128         $3,260          $2,523          $427,450
2014-11             $6,388         $3,128         $3,260          $2,513          $429,963
2014-12             $6,388         $3,128         $3,260          $2,503          $432,466
2015-01             $6,388         $2,407         $3,982          $3,044          $435,510
2015-02             $6,388         $2,407         $3,982          $3,032          $438,541
2015-03             $6,388         $2,407         $3,982          $3,019          $441,560
2015-04             $6,388         $2,407         $3,982          $3,007          $444,567
2015-05             $6,581         $2,407         $4,175          $3,140          $447,706
2015-06             $6,581         $2,407         $4,175          $3,127          $450,833
2015-07             $6,581         $2,407         $4,175          $3,114          $453,947
2015-08             $6,581         $2,407         $4,175          $3,101          $457,047
2015-09             $6,765         $2,407         $4,359          $3,224          $460,271
2015-10             $6,765         $2,407         $4,359          $3,211          $463,482
2015-11             $6,765         $2,407         $4,359          $3,197          $466,679
2015-12             $6,765         $2,407         $4,359          $3,184          $469,863
2016-01             $6,765         $3,191         $3,574          $2,600          $472,462
2016-02             $6,765         $3,191         $3,574          $2,589          $475,051
2016-03             $6,765         $3,191         $3,574          $2,578          $477,629
2016-04             $6,765         $3,191         $3,574          $2,567          $480,196
2016-05             $7,001         $3,191         $3,811          $2,725          $482,920
2016-06             $7,001         $3,191         $3,811          $2,713          $485,633
2016-07             $7,001         $3,191         $3,811          $2,701          $488,334
2016-08             $7,001         $3,191         $3,811          $2,690          $491,024
2016-09             $7,001         $3,191         $3,811          $2,678          $493,702
2016-10             $4,201         $1,593         $2,608          $1,825          $495,527
2016-11             $4,201         $1,593         $2,608          $1,817          $497,344
2016-12             $4,201         $1,593         $2,608          $1,809          $499,153
2017-01             $4,201         $1,663         $2,538          $1,753          $500,906
2017-02             $4,201         $1,663         $2,538          $1,745          $502,651
2017-03             $4,201         $1,663         $2,538          $1,737          $504,388
2017-04                 $0             $0             $0              $0          $504,388
2017-05                 $0             $0             $0              $0          $504,388
2017-06                 $0             $0             $0              $0          $504,388
2017-07                 $0             $0             $0              $0          $504,388
2017-08                 $0             $0             $0              $0          $504,388
2017-09                 $0             $0             $0              $0          $504,388
2017-10                 $0             $0             $0              $0          $504,388
2017-11                 $0             $0             $0              $0          $504,388
2017-12                 $0             $0             $0              $0          $504,388


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2018-01                 $0             $0             $0              $0          $504,388
2018-02                 $0             $0             $0              $0          $504,388
2018-03                 $0             $0             $0              $0          $504,388
2018-04                 $0             $0             $0              $0          $504,388
2018-05             $7,464         $2,825         $4,640          $2,978          $507,366
2018-06             $7,687         $2,825         $4,863          $3,106          $510,472
2018-07             $7,687         $2,825         $4,863          $3,092          $513,564
2018-08             $7,687         $2,825         $4,863          $3,077          $516,641
2018-09             $7,687         $2,825         $4,863          $3,062          $519,703
2018-10             $8,129         $2,825         $5,304          $3,324          $523,027
2018-11             $8,129         $2,825         $5,304          $3,308          $526,336
2018-12             $8,129         $2,825         $5,304          $3,292          $529,628
2019-01             $8,129         $3,738         $4,391          $2,713          $532,341
2019-02             $8,292         $3,738         $4,554          $2,799          $535,140
2019-03             $8,292         $3,738         $4,554          $2,786          $537,926
2019-04             $8,292         $3,738         $4,554          $2,772          $540,698
2019-05             $8,292         $3,738         $4,554          $2,758          $543,456
2019-06             $8,292         $3,738         $4,554          $2,745          $546,201
2019-07             $8,292         $3,738         $4,554          $2,731          $548,932
2019-08             $8,292         $3,738         $4,554          $2,717          $551,649
2019-09             $8,292         $3,738         $4,554          $2,704          $554,352
2019-10             $8,292         $3,738         $4,554          $2,690          $557,042
2019-11             $8,292         $3,738         $4,554          $2,676          $559,719
2019-12             $8,292         $3,738         $4,554          $2,663          $562,382
2020-01             $8,292         $3,813         $4,479          $2,605          $564,987
2020-02             $8,292         $3,813         $4,479          $2,592          $567,579
2020-03             $8,292         $3,813         $4,479          $2,578          $570,157
2020-04             $8,292         $3,813         $4,479          $2,565          $572,722
2020-05             $8,499         $3,813         $4,686          $2,670          $575,392
2020-06             $8,499         $3,813         $4,686          $2,656          $578,048
2020-07             $8,499         $3,813         $4,686          $2,642          $580,690
2020-08             $8,499         $3,813         $4,686          $2,628          $583,318
2020-09             $8,499         $3,813         $4,686          $2,614          $585,932
2020-10             $8,499         $3,813         $4,686          $2,600          $588,532
2020-11             $8,499         $3,813         $4,686          $2,586          $591,118
2020-12             $8,499         $3,813         $4,686          $2,572          $593,690
2021-01             $8,499         $3,890         $4,609          $2,516          $596,206
2021-02             $8,499         $3,890         $4,609          $2,503          $598,709
2021-03             $8,499         $3,890         $4,609          $2,489          $601,198
2021-04             $8,499         $3,890         $4,609          $2,475          $603,673
2021-05             $8,532         $3,890         $4,642          $2,479          $606,152
2021-06             $8,532         $3,890         $4,642          $2,465          $608,617
2021-07             $8,532         $3,890         $4,642          $2,452          $611,069


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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-09     Regular Substitute Teacher                $37,757
          2003-10     Regular Substitute Teacher                $37,757
          2003-11     Regular Substitute Teacher                $37,757
          2003-12     Regular Substitute Teacher                $38,512
          2004-01     Regular Substitute Teacher                $38,512
          2004-02     Regular Substitute Teacher                $38,512
          2004-03     Regularly Appointed Teacher               $40,112
          2004-04     Regularly Appointed Teacher               $40,112
          2004-05     Regularly Appointed Teacher               $40,112
          2004-06     Regularly Appointed Teacher               $40,112
          2004-07     Regularly Appointed Teacher               $40,112
          2004-08     Regularly Appointed Teacher               $40,112
          2004-09     Regularly Appointed Teacher               $40,443
          2004-10     Regularly Appointed Teacher               $40,443
          2004-11     Regularly Appointed Teacher               $40,443
          2004-12     Regularly Appointed Teacher               $41,859
          2005-01     Regularly Appointed Teacher               $41,859
          2005-02     Regularly Appointed Teacher               $41,859
          2005-03     Regularly Appointed Teacher               $41,859
          2005-04     Regularly Appointed Teacher               $41,859
          2005-05     Regularly Appointed Teacher               $41,859
          2005-06     Regularly Appointed Teacher               $41,859
          2005-07     Regularly Appointed Teacher               $41,859
          2005-08     Regularly Appointed Teacher               $41,859
          2005-09     Regularly Appointed Teacher               $42,466
          2005-10     Regularly Appointed Teacher               $47,519
          2005-11     Regularly Appointed Teacher               $50,133
          2005-12     Regularly Appointed Teacher               $50,133
          2006-01     Regularly Appointed Teacher               $50,133
          2006-02     Regularly Appointed Teacher               $50,133
          2006-03     Regularly Appointed Teacher               $50,133
          2006-04     Regularly Appointed Teacher               $50,133
          2006-05     Regularly Appointed Teacher               $50,133
          2006-06     Regularly Appointed Teacher               $50,133
          2006-07     Regularly Appointed Teacher               $50,133
          2006-08     Regularly Appointed Teacher               $50,133
          2006-09     Regularly Appointed Teacher               $50,683
          2006-10     Regularly Appointed Teacher               $52,332
          2006-11     Regularly Appointed Teacher               $52,332
          2006-12     Regularly Appointed Teacher               $52,332
          2007-01     Regularly Appointed Teacher               $52,332
          2007-02     Regularly Appointed Teacher               $52,332
          2007-03     Regularly Appointed Teacher               $52,332

                                                                                    Exhibit B to
                                                                    T. Gibson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-04     Regularly Appointed Teacher               $52,332
          2007-05     Regularly Appointed Teacher               $52,332
          2007-06     Regularly Appointed Teacher               $52,332
          2007-07     Regularly Appointed Teacher               $52,332
          2007-08     Regularly Appointed Teacher               $52,332
          2007-09     Regularly Appointed Teacher               $52,947
          2007-10     Regularly Appointed Teacher               $54,006
          2007-11     Regularly Appointed Teacher               $54,006
          2007-12     Regularly Appointed Teacher               $54,006
          2008-01     Regularly Appointed Teacher               $54,006
          2008-02     Regularly Appointed Teacher               $54,006
          2008-03     Regularly Appointed Teacher               $55,174
          2008-04     Regularly Appointed Teacher               $55,174
          2008-05     Regularly Appointed Teacher               $58,933
          2008-06     Regularly Appointed Teacher               $58,933
          2008-07     Regularly Appointed Teacher               $58,933
          2008-08     Regularly Appointed Teacher               $58,933
          2008-09     Regularly Appointed Teacher               $60,317
          2008-10     Regularly Appointed Teacher               $60,317
          2008-11     Regularly Appointed Teacher               $60,317
          2008-12     Regularly Appointed Teacher               $62,027
          2009-01     Regularly Appointed Teacher               $62,027
          2009-02     Regularly Appointed Teacher               $62,027
          2009-03     Regularly Appointed Teacher               $65,269
          2009-04     Regularly Appointed Teacher               $65,269
          2009-05     Regularly Appointed Teacher               $65,269
          2009-06     Regularly Appointed Teacher               $65,269
          2009-07     Regularly Appointed Teacher               $65,269
          2009-08     Regularly Appointed Teacher               $65,424
          2009-09     Regularly Appointed Teacher               $68,458
          2009-10     Regularly Appointed Teacher               $68,458
          2009-11     Regularly Appointed Teacher               $68,458
          2009-12     Regularly Appointed Teacher               $68,458
          2010-01     Regularly Appointed Teacher               $68,458
          2010-02     Regularly Appointed Teacher               $68,458
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    T. Gibson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $72,060
          2011-11     Regularly Appointed Teacher               $72,060
          2011-12     Regularly Appointed Teacher               $72,060
          2012-01     Regularly Appointed Teacher               $72,060
          2012-02     Regularly Appointed Teacher               $72,060
          2012-03     Regularly Appointed Teacher               $72,060
          2012-04     Regularly Appointed Teacher               $72,060
          2012-05     Regularly Appointed Teacher               $72,060
          2012-06     Regularly Appointed Teacher               $72,060
          2012-07     Regularly Appointed Teacher               $72,060
          2012-08     Regularly Appointed Teacher               $72,060
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660

                                                                                    Exhibit B to
                                                                    T. Gibson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $76,660
          2014-10     Regularly Appointed Teacher               $76,660
          2014-11     Regularly Appointed Teacher               $76,660
          2014-12     Regularly Appointed Teacher               $76,660
          2015-01     Regularly Appointed Teacher               $76,660
          2015-02     Regularly Appointed Teacher               $76,660
          2015-03     Regularly Appointed Teacher               $76,660
          2015-04     Regularly Appointed Teacher               $76,660
          2015-05     Regularly Appointed Teacher               $78,975
          2015-06     Regularly Appointed Teacher               $78,975
          2015-07     Regularly Appointed Teacher               $78,975
          2015-08     Regularly Appointed Teacher               $78,975
          2015-09     Regularly Appointed Teacher               $81,184
          2015-10     Regularly Appointed Teacher               $81,184
          2015-11     Regularly Appointed Teacher               $81,184
          2015-12     Regularly Appointed Teacher               $81,184
          2016-01     Regularly Appointed Teacher               $81,184
          2016-02     Regularly Appointed Teacher               $81,184
          2016-03     Regularly Appointed Teacher               $81,184
          2016-04     Regularly Appointed Teacher               $81,184
          2016-05     Regularly Appointed Teacher               $84,018
          2016-06     Regularly Appointed Teacher               $84,018
          2016-07     Regularly Appointed Teacher               $84,018
          2016-08     Regularly Appointed Teacher               $84,018
          2016-09     Regularly Appointed Teacher               $84,018
          2016-10     Regularly Appointed Teacher               $50,411
          2016-11     Regularly Appointed Teacher               $50,411
          2016-12     Regularly Appointed Teacher               $50,411
          2017-01     Regularly Appointed Teacher               $50,411
          2017-02     Regularly Appointed Teacher               $50,411
          2017-03     Regularly Appointed Teacher               $50,411
          2017-04     Regularly Appointed Teacher / LWOP        $84,018
          2017-05     Regularly Appointed Teacher / LWOP        $87,840
          2017-06     Regularly Appointed Teacher / LWOP        $87,840
          2017-07     Regularly Appointed Teacher / LWOP        $87,840
          2017-08     Regularly Appointed Teacher / LWOP        $87,840
          2017-09     Regularly Appointed Teacher / LWOP        $87,840
          2017-10     Regularly Appointed Teacher / LWOP        $87,840
          2017-11     Regularly Appointed Teacher / LWOP        $87,840
          2017-12     Regularly Appointed Teacher / LWOP        $87,840

                                                                                    Exhibit B to
                                                                    T. Gibson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2018-01     Regularly Appointed Teacher / LWOP        $87,840
          2018-02     Regularly Appointed Teacher / LWOP        $87,840
          2018-03     Regularly Appointed Teacher / LWOP        $87,840
          2018-04     Regularly Appointed Teacher / LWOP        $87,840
          2018-05     Regularly Appointed Teacher               $89,573
          2018-06     Regularly Appointed Teacher               $92,249
          2018-07     Regularly Appointed Teacher               $92,249
          2018-08     Regularly Appointed Teacher               $92,249
          2018-09     Regularly Appointed Teacher               $92,249
          2018-10     Regularly Appointed Teacher               $97,549
          2018-11     Regularly Appointed Teacher               $97,549




                                                                                    Exhibit B to
                                                                    T. Gibson's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : TRESA
                                                                       : GREENE
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Tresa Greene (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on March 18, 2021, with respect to Ms. Greene’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Tresa
Greene, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Tresa Greene (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Greene will have
judgment against the BOE as follows:

   1. Backpay in the amount of $389,993;

   2. Tax-component award in the amount of $45,824;

   3. LAST Fees in the amount of $580;

   4. ASAF account award in the amount of $4,198;

   5. CAR Day award in the amount of $12,926;

   6. Pre-judgment interest calculated to be $34,929; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Greene will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Greene’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Tresa Greene; and

       c. Grant Ms. Greene retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

   2. The BOE is ordered to provide the findings of fact contained in the “Pension Inputs”
      section, Paragraph 4 of Exhibit 1, to the New York City Office of the Actuary.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.




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This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : TRESA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : GREENE
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Tresa Greene:

    1. Class Membership. Ms. Greene is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Greene would have been appointed as a
                regularly appointed teacher in September 2002. The Special Master also finds,
                and the Court agrees, that Ms. Greene is eligible to accrue backpay damages
                beginning September 2002.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Greene would have worked as a
                regularly appointed teacher until September 1, 2020, Ms. Greene accrues backpay
                damages through the date of judgment, and Ms. Greene’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Greene’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Greene’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Greene has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $389,993;

       b. A tax-component award in the amount of $45,824;

       c. $580 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $4,198;

       e. CAR Day damages in the amount of $12,926; and

       f. Pre-judgment interest in the amount of $34,929.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Greene has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Greene’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Greene should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Greene (the “Pension Inputs”)
          should be provided to the New York City Office of the Actuary by the BOE, and
          then imported into the Teachers’ Retirement System of the City of New York
          (“TRS”):

               i.    Date of Birth —               1962

               ii.   Gender — Female

               iii. Address —                   Howard Beach, NY 11414




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               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   September 1, 2002

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — September
                   1, 2020

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2002-09             $3,250         $3,085          $165            $165              $165
2002-10             $3,250         $3,085          $165            $165              $331
2002-11             $3,250         $3,085          $165            $165              $496
2002-12             $3,250         $3,085          $165            $165              $661
2003-01             $3,250         $3,085          $165            $165              $827
2003-02             $3,649         $3,085          $564            $564             $1,391
2003-03             $3,649         $3,085          $564            $564             $1,955
2003-04             $3,649         $3,085          $564            $564             $2,519
2003-05             $3,649         $3,085          $564            $564             $3,083
2003-06             $3,649         $3,085          $564            $564             $3,647
2003-07             $3,649         $3,085          $564            $564             $4,212
2003-08             $3,649         $3,085          $564            $564             $4,776
2003-09             $3,676         $2,205         $1,471          $1,471            $6,247
2003-10             $3,676         $2,205         $1,471          $1,471            $7,718
2003-11             $3,676         $2,205         $1,471          $1,471            $9,189
2003-12             $3,750         $2,249         $1,501          $1,501           $10,690
2004-01             $3,750         $2,249         $1,501          $1,501           $12,190
2004-02             $3,750         $2,249         $1,501          $1,501           $13,691
2004-03             $3,750         $2,249         $1,501          $1,501           $15,191
2004-04             $3,750         $2,249         $1,501          $1,501           $16,692
2004-05             $3,750         $2,249         $1,501          $1,501           $18,193
2004-06             $3,750         $2,249         $1,501          $1,501           $19,693
2004-07             $3,750         $2,249         $1,501          $1,501           $21,194
2004-08             $3,750         $2,249         $1,501          $1,501           $22,694
2004-09             $3,777         $2,249         $1,528          $1,528           $24,222
2004-10             $3,777         $2,249         $1,528          $1,528           $25,751
2004-11             $3,777         $2,249         $1,528          $1,528           $27,279
2004-12             $3,909         $2,328         $1,582          $1,582           $28,860
2005-01             $3,909         $2,328         $1,582          $1,582           $30,442
2005-02             $3,909         $2,328         $1,582          $1,582           $32,024
2005-03             $3,909         $2,328         $1,582          $1,582           $33,605
2005-04             $3,909         $2,328         $1,582          $1,582           $35,187
2005-05             $3,909         $2,328         $1,582          $1,582           $36,769
2005-06             $3,909         $2,328         $1,582          $1,582           $38,350
2005-07             $3,930         $2,328         $1,603          $1,603           $39,953
2005-08             $3,930         $2,328         $1,603          $1,603           $41,556
2005-09             $3,981         $1,861         $2,120          $2,120           $43,676
2005-10             $3,981         $3,860          $120            $120            $43,796
2005-11             $4,200         $3,860          $339            $339            $44,136
2005-12             $4,200         $3,860          $339            $339            $44,475
2006-01             $4,200         $2,792         $1,408          $1,408           $45,883
2006-02             $4,200         $2,792         $1,408          $1,408           $47,292
2006-03             $4,200         $2,792         $1,408          $1,408           $48,700


                                                                                  Exhibit A to
                                                                  T. Greene's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2006-04             $4,329         $2,792         $1,537          $1,537           $50,237
2006-05             $4,329         $2,792         $1,537          $1,537           $51,774
2006-06             $4,329         $2,792         $1,537          $1,537           $53,311
2006-07             $4,329         $2,792         $1,537          $1,537           $54,848
2006-08             $4,329         $2,792         $1,537          $1,537           $56,385
2006-09             $4,375         $2,792         $1,583          $1,583           $57,968
2006-10             $4,517         $2,792         $1,725          $1,725           $59,693
2006-11             $4,517         $2,792         $1,725          $1,725           $61,418
2006-12             $4,529         $2,792         $1,737          $1,737           $63,156
2007-01             $4,529         $3,201         $1,328          $1,328           $64,484
2007-02             $4,529         $3,201         $1,328          $1,328           $65,812
2007-03             $4,529         $3,201         $1,328          $1,328           $67,140
2007-04             $4,529         $3,201         $1,328          $1,328           $68,468
2007-05             $4,529         $3,201         $1,328          $1,328           $69,796
2007-06             $4,529         $3,201         $1,328          $1,328           $71,124
2007-07             $4,529         $3,201         $1,328          $1,328           $72,452
2007-08             $4,529         $3,201         $1,328          $1,328           $73,779
2007-09             $4,580         $3,201         $1,379          $1,379           $75,159
2007-10             $4,672         $3,201         $1,471          $1,471           $76,629
2007-11             $4,672         $3,201         $1,471          $1,471           $78,100
2007-12             $4,672         $3,201         $1,471          $1,471           $79,571
2008-01             $4,672         $4,092          $580            $580            $80,151
2008-02             $4,672         $4,092          $580            $580            $80,731
2008-03             $4,746         $4,092          $654            $654            $81,385
2008-04             $4,746         $4,092          $654            $654            $82,039
2008-05             $5,067         $4,092          $975            $975            $83,014
2008-06             $5,067         $4,092          $975            $975            $83,989
2008-07             $5,067         $4,092          $975            $975            $84,963
2008-08             $5,067         $4,092          $975            $975            $85,938
2008-09             $5,182         $4,092         $1,090          $1,090           $87,028
2008-10             $5,182         $4,092         $1,090          $1,090           $88,118
2008-11             $5,182         $4,092         $1,090          $1,090           $89,208
2008-12             $5,182         $4,092         $1,090          $1,090           $90,298
2009-01             $5,182         $4,149         $1,033          $1,033           $91,331
2009-02             $5,182         $4,149         $1,033          $1,033           $92,364
2009-03             $5,452         $4,149         $1,303          $1,303           $93,666
2009-04             $5,452         $4,149         $1,303          $1,303           $94,969
2009-05             $5,452         $4,149         $1,303          $1,303           $96,272
2009-06             $5,452         $4,149         $1,303          $1,303           $97,575
2009-07             $5,452         $4,149         $1,303          $1,303           $98,878
2009-08             $5,452         $4,149         $1,303          $1,303          $100,181
2009-09             $5,705         $4,149         $1,556          $1,556          $101,737
2009-10             $5,705         $4,149         $1,556          $1,556          $103,292


                                                                                  Exhibit A to
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2009-11             $5,705         $4,149         $1,556          $1,556          $104,848
2009-12             $5,705         $4,149         $1,556          $1,556          $106,404
2010-01             $5,705         $4,112         $1,593          $1,593          $107,997
2010-02             $5,705         $4,112         $1,593          $1,593          $109,590
2010-03             $6,005         $4,112         $1,893          $1,893          $111,483
2010-04             $6,005         $4,112         $1,893          $1,893          $113,376
2010-05             $6,005         $4,112         $1,893          $1,893          $115,269
2010-06             $6,005         $4,112         $1,893          $1,893          $117,162
2010-07             $6,005         $4,112         $1,893          $1,893          $119,055
2010-08             $6,005         $4,112         $1,893          $1,893          $120,948
2010-09             $6,005         $4,112         $1,893          $1,893          $122,841
2010-10             $6,005         $4,112         $1,893          $1,893          $124,734
2010-11             $6,005         $4,112         $1,893          $1,893          $126,628
2010-12             $6,005         $4,112         $1,893          $1,893          $128,521
2011-01             $6,005         $4,211         $1,794          $1,794          $130,314
2011-02             $6,005         $4,211         $1,794          $1,794          $132,108
2011-03             $6,005         $4,211         $1,794          $1,794          $133,902
2011-04             $6,005         $4,211         $1,794          $1,794          $135,696
2011-05             $6,005         $4,211         $1,794          $1,794          $137,490
2011-06             $6,005         $4,211         $1,794          $1,794          $139,284
2011-07             $6,005         $4,211         $1,794          $1,794          $141,078
2011-08             $6,005         $4,211         $1,794          $1,794          $142,871
2011-09             $6,005         $4,211         $1,794          $1,794          $144,665
2011-10             $6,005         $4,211         $1,794          $1,794          $146,459
2011-11             $6,005         $4,211         $1,794          $1,794          $148,253
2011-12             $6,005         $4,211         $1,794          $1,794          $150,047
2012-01             $6,005         $4,194         $1,811          $1,811          $151,858
2012-02             $6,005         $4,194         $1,811          $1,811          $153,669
2012-03             $6,005         $4,194         $1,811          $1,811          $155,480
2012-04             $6,005         $4,194         $1,811          $1,811          $157,291
2012-05             $6,005         $4,194         $1,811          $1,811          $159,102
2012-06             $6,005         $4,194         $1,811          $1,811          $160,914
2012-07             $6,005         $4,194         $1,811          $1,811          $162,725
2012-08             $6,005         $4,194         $1,811          $1,811          $164,536
2012-09             $6,262         $4,194         $2,069          $2,069          $166,604
2012-10             $6,262         $4,194         $2,069          $2,069          $168,673
2012-11             $6,262         $4,194         $2,069          $2,069          $170,741
2012-12             $6,262         $4,194         $2,069          $2,069          $172,810
2013-01             $6,262         $3,763         $2,500          $2,500          $175,310
2013-02             $6,262         $3,763         $2,500          $2,500          $177,809
2013-03             $6,262         $3,763         $2,500          $2,500          $180,309
2013-04             $6,262         $3,763         $2,500          $2,500          $182,809
2013-05             $6,325         $3,763         $2,562          $2,562          $185,371


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2013-06             $6,325         $3,763         $2,562          $2,562          $187,933
2013-07             $6,325         $3,763         $2,562          $2,562          $190,495
2013-08             $6,325         $3,763         $2,562          $2,562          $193,058
2013-09             $6,325         $3,763         $2,562          $2,562          $195,620
2013-10             $6,325         $3,763         $2,562          $2,562          $198,182
2013-11             $6,325         $3,763         $2,562          $2,562          $200,744
2013-12             $6,325         $3,763         $2,562          $2,562          $203,307
2014-01             $6,325         $5,171         $1,154          $1,154          $204,461
2014-02             $6,325         $5,171         $1,154          $1,154          $205,614
2014-03             $6,325         $5,171         $1,154          $1,154          $206,768
2014-04             $6,325         $5,171         $1,154          $1,154          $207,922
2014-05             $6,388         $5,171         $1,217          $1,217          $209,139
2014-06             $6,388         $5,171         $1,217          $2,217          $211,356
2014-07             $6,388         $5,171         $1,217          $1,217          $212,573
2014-08             $6,388         $5,171         $1,217          $1,217          $213,790
2014-09             $6,388         $5,171         $1,217          $1,217          $215,008
2014-10             $6,388         $5,171         $1,217          $1,217          $216,225
2014-11             $6,388         $5,171         $1,217          $1,217          $217,442
2014-12             $6,388         $5,171         $1,217          $1,217          $218,659
2015-01             $6,388         $4,310         $2,079          $2,072          $220,730
2015-02             $6,388         $4,310         $2,079          $2,065          $222,795
2015-03             $6,388         $4,310         $2,079          $2,058          $224,853
2015-04             $6,388         $4,310         $2,079          $2,051          $226,905
2015-05             $6,581         $4,310         $2,272          $2,234          $229,139
2015-06             $6,581         $4,310         $2,272          $2,227          $231,365
2015-07             $6,581         $4,310         $2,272          $2,219          $233,585
2015-08             $6,581         $4,310         $2,272          $2,212          $235,796
2015-09             $6,765         $4,310         $2,456          $2,383          $238,179
2015-10             $6,765         $4,310         $2,456          $2,375          $240,554
2015-11             $6,765         $4,310         $2,456          $2,367          $242,921
2015-12             $6,765         $4,310         $2,456          $2,359          $245,280
2016-01             $6,765         $4,657         $2,109          $2,019          $247,299
2016-02             $6,765         $4,657         $2,109          $2,012          $249,311
2016-03             $6,765         $4,657         $2,109          $2,005          $251,315
2016-04             $6,765         $4,657         $2,109          $1,998          $253,313
2016-05             $7,001         $4,657         $2,345          $2,214          $255,528
2016-06             $7,001         $4,657         $2,345          $2,206          $257,734
2016-07             $7,001         $4,657         $2,345          $2,199          $259,933
2016-08             $7,001         $4,657         $2,345          $2,191          $262,124
2016-09             $7,001         $4,657         $2,345          $2,184          $264,308
2016-10             $7,001         $4,657         $2,345          $2,176          $266,484
2016-11             $7,001         $4,657         $2,345          $2,168          $268,652
2016-12             $7,001         $4,657         $2,345          $2,161          $270,813


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2017-01             $7,001         $4,700         $2,301          $2,113          $272,926
2017-02             $7,001         $4,700         $2,301          $2,106          $275,032
2017-03             $7,001         $4,700         $2,301          $2,098          $277,130
2017-04             $7,001         $4,700         $2,301          $2,091          $279,221
2017-05             $7,320         $4,700         $2,620          $2,372          $281,593
2017-06             $7,320         $4,700         $2,620          $2,364          $283,957
2017-07             $7,320         $4,700         $2,620          $2,355          $286,312
2017-08             $7,320         $4,700         $2,620          $2,347          $288,659
2017-09             $7,741         $4,700         $3,040          $2,723          $291,382
2017-10             $7,741         $4,700         $3,040          $2,723          $294,105
2017-11             $7,741         $4,700         $3,040          $2,723          $296,828
2017-12             $7,741         $4,700         $3,040          $2,723          $299,551
2018-01             $7,741         $4,874         $2,867          $2,568          $302,119
2018-02             $7,741         $4,874         $2,867          $2,568          $304,686
2018-03             $7,741         $4,874         $2,867          $2,568          $307,254
2018-04             $7,741         $4,874         $2,867          $2,568          $309,822
2018-05             $7,892         $4,874         $3,018          $2,703          $312,525
2018-06             $8,129         $4,874         $3,255          $2,916          $315,441
2018-07             $8,129         $4,874         $3,255          $2,916          $318,356
2018-08             $8,129         $4,874         $3,255          $2,768          $321,124
2018-09             $8,129         $4,874         $3,255          $2,768          $323,892
2018-10             $8,129         $4,874         $3,255          $2,768          $326,660
2018-11             $8,129         $4,874         $3,255          $2,768          $329,428
2018-12             $8,129         $4,874         $3,255          $2,748          $332,177
2019-01             $8,129         $5,878         $2,251          $1,893          $334,070
2019-02             $8,292         $5,878         $2,414          $2,022          $336,092
2019-03             $8,292         $5,878         $2,414          $2,015          $338,107
2019-04             $8,292         $5,878         $2,414          $2,007          $340,114
2019-05             $8,292         $5,878         $2,414          $1,999          $342,113
2019-06             $8,292         $5,878         $2,414          $1,992          $344,105
2019-07             $8,292         $5,878         $2,414          $1,984          $346,089
2019-08             $8,292         $5,878         $2,414          $1,883          $347,971
2019-09             $8,292         $5,878         $2,414          $1,883          $349,854
2019-10             $8,292         $5,878         $2,414          $1,883          $351,737
2019-11             $8,292         $5,878         $2,414          $1,883          $353,619
2019-12             $8,292         $5,878         $2,414          $1,883          $355,502
2020-01             $8,292         $5,996         $2,295          $1,790          $357,292
2020-02             $8,292         $5,996         $2,295          $1,790          $359,082
2020-03             $8,292         $5,996         $2,295          $1,790          $360,873
2020-04             $8,292         $5,996         $2,295          $1,790          $362,663
2020-05             $8,499         $5,996         $2,503          $1,952          $364,615
2020-06             $8,499         $5,996         $2,503          $1,952          $366,567
2020-07             $8,499         $5,996         $2,503          $1,952          $368,520


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2020-08             $8,499         $5,996         $2,503          $1,754          $370,274
2020-09             $8,620         $5,996         $2,624          $1,839          $372,113
2020-10             $8,620         $5,996         $2,624          $1,839          $373,953
2020-11             $8,620         $5,996         $2,624          $1,839          $375,792
2020-12             $8,620         $5,996         $2,624          $1,839          $377,631
2021-01             $8,620         $6,117         $2,503          $1,755          $379,386
2021-02             $8,620         $6,117         $2,503          $1,755          $381,141
2021-03             $8,620         $6,117         $2,503          $1,755          $382,896
2021-04             $8,620         $6,117         $2,503          $1,755          $384,651
2021-05             $8,657         $6,117         $2,540          $1,781          $386,431
2021-06             $8,657         $6,117         $2,540          $1,781          $388,212
2021-07             $8,657         $6,117         $2,540          $1,781          $389,993




                                                                                  Exhibit A to
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2002-09     Regularly Appointed Teacher               $39,000
          2002-10     Regularly Appointed Teacher               $39,000
          2002-11     Regularly Appointed Teacher               $39,000
          2002-12     Regularly Appointed Teacher               $39,000
          2003-01     Regularly Appointed Teacher               $39,000
          2003-02     Regularly Appointed Teacher               $43,786
          2003-03     Regularly Appointed Teacher               $43,786
          2003-04     Regularly Appointed Teacher               $43,786
          2003-05     Regularly Appointed Teacher               $43,786
          2003-06     Regularly Appointed Teacher               $43,786
          2003-07     Regularly Appointed Teacher               $43,786
          2003-08     Regularly Appointed Teacher               $43,786
          2003-09     Regularly Appointed Teacher               $44,111
          2003-10     Regularly Appointed Teacher               $44,111
          2003-11     Regularly Appointed Teacher               $44,111
          2003-12     Regularly Appointed Teacher               $44,994
          2004-01     Regularly Appointed Teacher               $44,994
          2004-02     Regularly Appointed Teacher               $44,994
          2004-03     Regularly Appointed Teacher               $44,994
          2004-04     Regularly Appointed Teacher               $44,994
          2004-05     Regularly Appointed Teacher               $44,994
          2004-06     Regularly Appointed Teacher               $44,994
          2004-07     Regularly Appointed Teacher               $44,994
          2004-08     Regularly Appointed Teacher               $44,994
          2004-09     Regularly Appointed Teacher               $45,325
          2004-10     Regularly Appointed Teacher               $45,325
          2004-11     Regularly Appointed Teacher               $45,325
          2004-12     Regularly Appointed Teacher               $46,912
          2005-01     Regularly Appointed Teacher               $46,912
          2005-02     Regularly Appointed Teacher               $46,912
          2005-03     Regularly Appointed Teacher               $46,912
          2005-04     Regularly Appointed Teacher               $46,912
          2005-05     Regularly Appointed Teacher               $46,912
          2005-06     Regularly Appointed Teacher               $46,912
          2005-07     Regularly Appointed Teacher               $47,164
          2005-08     Regularly Appointed Teacher               $47,164
          2005-09     Regularly Appointed Teacher               $47,771
          2005-10     Regularly Appointed Teacher               $47,771
          2005-11     Regularly Appointed Teacher               $50,399
          2005-12     Regularly Appointed Teacher               $50,399
          2006-01     Regularly Appointed Teacher               $50,399
          2006-02     Regularly Appointed Teacher               $50,399
          2006-03     Regularly Appointed Teacher               $50,399

                                                                                    Exhibit B to
                                                                    T. Greene's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2006-04     Regularly Appointed Teacher               $51,945
          2006-05     Regularly Appointed Teacher               $51,945
          2006-06     Regularly Appointed Teacher               $51,945
          2006-07     Regularly Appointed Teacher               $51,945
          2006-08     Regularly Appointed Teacher               $51,945
          2006-09     Regularly Appointed Teacher               $52,495
          2006-10     Regularly Appointed Teacher               $54,203
          2006-11     Regularly Appointed Teacher               $54,203
          2006-12     Regularly Appointed Teacher               $54,348
          2007-01     Regularly Appointed Teacher               $54,348
          2007-02     Regularly Appointed Teacher               $54,348
          2007-03     Regularly Appointed Teacher               $54,348
          2007-04     Regularly Appointed Teacher               $54,348
          2007-05     Regularly Appointed Teacher               $54,348
          2007-06     Regularly Appointed Teacher               $54,348
          2007-07     Regularly Appointed Teacher               $54,348
          2007-08     Regularly Appointed Teacher               $54,348
          2007-09     Regularly Appointed Teacher               $54,963
          2007-10     Regularly Appointed Teacher               $56,063
          2007-11     Regularly Appointed Teacher               $56,063
          2007-12     Regularly Appointed Teacher               $56,063
          2008-01     Regularly Appointed Teacher               $56,063
          2008-02     Regularly Appointed Teacher               $56,063
          2008-03     Regularly Appointed Teacher               $56,951
          2008-04     Regularly Appointed Teacher               $56,951
          2008-05     Regularly Appointed Teacher               $60,798
          2008-06     Regularly Appointed Teacher               $60,798
          2008-07     Regularly Appointed Teacher               $60,798
          2008-08     Regularly Appointed Teacher               $60,798
          2008-09     Regularly Appointed Teacher               $62,182
          2008-10     Regularly Appointed Teacher               $62,182
          2008-11     Regularly Appointed Teacher               $62,182
          2008-12     Regularly Appointed Teacher               $62,182
          2009-01     Regularly Appointed Teacher               $62,182
          2009-02     Regularly Appointed Teacher               $62,182
          2009-03     Regularly Appointed Teacher               $65,424
          2009-04     Regularly Appointed Teacher               $65,424
          2009-05     Regularly Appointed Teacher               $65,424
          2009-06     Regularly Appointed Teacher               $65,424
          2009-07     Regularly Appointed Teacher               $65,424
          2009-08     Regularly Appointed Teacher               $65,424
          2009-09     Regularly Appointed Teacher               $68,458
          2009-10     Regularly Appointed Teacher               $68,458

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                                                                    T. Greene's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2009-11     Regularly Appointed Teacher               $68,458
          2009-12     Regularly Appointed Teacher               $68,458
          2010-01     Regularly Appointed Teacher               $68,458
          2010-02     Regularly Appointed Teacher               $68,458
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $72,060
          2011-11     Regularly Appointed Teacher               $72,060
          2011-12     Regularly Appointed Teacher               $72,060
          2012-01     Regularly Appointed Teacher               $72,060
          2012-02     Regularly Appointed Teacher               $72,060
          2012-03     Regularly Appointed Teacher               $72,060
          2012-04     Regularly Appointed Teacher               $72,060
          2012-05     Regularly Appointed Teacher               $72,060
          2012-06     Regularly Appointed Teacher               $72,060
          2012-07     Regularly Appointed Teacher               $72,060
          2012-08     Regularly Appointed Teacher               $72,060
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901

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                                                                    T. Greene's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $76,660
          2014-10     Regularly Appointed Teacher               $76,660
          2014-11     Regularly Appointed Teacher               $76,660
          2014-12     Regularly Appointed Teacher               $76,660
          2015-01     Regularly Appointed Teacher               $76,660
          2015-02     Regularly Appointed Teacher               $76,660
          2015-03     Regularly Appointed Teacher               $76,660
          2015-04     Regularly Appointed Teacher               $76,660
          2015-05     Regularly Appointed Teacher               $78,975
          2015-06     Regularly Appointed Teacher               $78,975
          2015-07     Regularly Appointed Teacher               $78,975
          2015-08     Regularly Appointed Teacher               $78,975
          2015-09     Regularly Appointed Teacher               $81,184
          2015-10     Regularly Appointed Teacher               $81,184
          2015-11     Regularly Appointed Teacher               $81,184
          2015-12     Regularly Appointed Teacher               $81,184
          2016-01     Regularly Appointed Teacher               $81,184
          2016-02     Regularly Appointed Teacher               $81,184
          2016-03     Regularly Appointed Teacher               $81,184
          2016-04     Regularly Appointed Teacher               $81,184
          2016-05     Regularly Appointed Teacher               $84,018
          2016-06     Regularly Appointed Teacher               $84,018
          2016-07     Regularly Appointed Teacher               $84,018
          2016-08     Regularly Appointed Teacher               $84,018
          2016-09     Regularly Appointed Teacher               $84,018
          2016-10     Regularly Appointed Teacher               $84,018
          2016-11     Regularly Appointed Teacher               $84,018
          2016-12     Regularly Appointed Teacher               $84,018

                                                                                    Exhibit B to
                                                                    T. Greene's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 204 of 219

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2017-01     Regularly Appointed Teacher                $84,018
          2017-02     Regularly Appointed Teacher                $84,018
          2017-03     Regularly Appointed Teacher                $84,018
          2017-04     Regularly Appointed Teacher                $84,018
          2017-05     Regularly Appointed Teacher                $87,840
          2017-06     Regularly Appointed Teacher                $87,840
          2017-07     Regularly Appointed Teacher                $87,840
          2017-08     Regularly Appointed Teacher                $87,840
          2017-09     Regularly Appointed Teacher                $92,886
          2017-10     Regularly Appointed Teacher                $92,886
          2017-11     Regularly Appointed Teacher                $92,886
          2017-12     Regularly Appointed Teacher                $92,886
          2018-01     Regularly Appointed Teacher                $92,886
          2018-02     Regularly Appointed Teacher                $92,886
          2018-03     Regularly Appointed Teacher                $92,886
          2018-04     Regularly Appointed Teacher                $92,886
          2018-05     Regularly Appointed Teacher                $94,708
          2018-06     Regularly Appointed Teacher                $97,549
          2018-07     Regularly Appointed Teacher                $97,549
          2018-08     Regularly Appointed Teacher                $97,549
          2018-09     Regularly Appointed Teacher                $97,549
          2018-10     Regularly Appointed Teacher                $97,549
          2018-11     Regularly Appointed Teacher                $97,549
          2018-12     Regularly Appointed Teacher                $97,549
          2019-01     Regularly Appointed Teacher                $97,549
          2019-02     Regularly Appointed Teacher                $99,501
          2019-03     Regularly Appointed Teacher                $99,501
          2019-04     Regularly Appointed Teacher                $99,501
          2019-05     Regularly Appointed Teacher                $99,501
          2019-06     Regularly Appointed Teacher                $99,501
          2019-07     Regularly Appointed Teacher                $99,501
          2019-08     Regularly Appointed Teacher                $99,501
          2019-09     Regularly Appointed Teacher                $99,501
          2019-10     Regularly Appointed Teacher                $99,501
          2019-11     Regularly Appointed Teacher                $99,501
          2019-12     Regularly Appointed Teacher                $99,501
          2020-01     Regularly Appointed Teacher                $99,501
          2020-02     Regularly Appointed Teacher                $99,501
          2020-03     Regularly Appointed Teacher                $99,501
          2020-04     Regularly Appointed Teacher                $99,501
          2020-05     Regularly Appointed Teacher               $101,989
          2020-06     Regularly Appointed Teacher               $101,989
          2020-07     Regularly Appointed Teacher               $101,989

                                                                                    Exhibit B to
                                                                    T. Greene's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2020-08     Regularly Appointed Teacher               $101,989




                                                                                    Exhibit B to
                                                                    T. Greene's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : WANDA
                                                                       : LUCAS
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Wanda Lucas (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 10, 2020, with respect to Ms.
Lucas’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Wanda
Lucas, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
   Case 1:96-cv-08414-KMW Document 9377-3 Filed 11/26/21 Page 207 of 219




IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Wanda Lucas (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Lucas will have
judgment against the BOE as follows:

   1. Backpay in the amount of $279,314;

   2. Tax-component award in the amount of $32,819;

   3. LAST Fees in the amount of $250;

   4. ASAF account award in the amount of $2,373;

   5. CAR Day award in the amount of $5,989;

   6. Pre-judgment interest calculated to be $41,890; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Lucas will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Lucas’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Wanda Lucas; and

       c. Grant Ms. Lucas retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : WANDA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : LUCAS
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Wanda Lucas:

    1. Class Membership. Ms. Lucas is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Lucas would have been appointed as a
                regularly appointed teacher in January 2000. The Special Master also finds, and
                the Court agrees, that Ms. Lucas is eligible to accrue backpay damages beginning
                January 2000.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Lucas would have worked as a
                regularly appointed teacher until January 1, 2012, Ms. Lucas accrues backpay
                damages until September 1, 2013, and Ms. Lucas’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Lucas’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Lucas’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Lucas has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $279,314;

       b. A tax-component award in the amount of $32,819;

       c. $250 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,373;

       e. CAR Day damages in the amount of $5,989; and

       f. Pre-judgment interest in the amount of $41,890.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Lucas has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Lucas’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Lucas should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Ms. Lucas is entitled to receive Ordinary Disability Retirement benefits from the
          Teachers’ Retirement System of the City of New York (“TRS”) beginning
          January 1, 2012.

       d. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Lucas (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —         1960

               ii.   Gender — Female




                                            2
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               iii. Address —                              New York, NY 10027

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 18, 2000

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — January 1,
                   2012

               x.   TRS Ordinary Disability Retirement date (if any) — January 1, 2012

DATED: November 23, 2021




                                            3
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                 Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                    Damages with
                            Mitigation     Damages                        Damages
              Earnings                                    Attrition
 2000-01           $2,659         $2,659           $0              $0               $0
 2000-02           $2,712         $2,659          $53             $53              $53
 2000-03           $2,712         $2,712           $0              $0              $53
 2000-04           $2,712         $2,712           $0              $0              $53
 2000-05           $2,712         $2,712           $0              $0              $53
 2000-06           $2,712         $2,712           $0              $0              $53
 2000-07           $2,712         $2,712           $0              $0              $53
 2000-08           $2,712         $2,712           $0              $0              $53
 2000-09           $2,712         $2,712           $0              $0              $53
 2000-10           $2,712         $2,712           $0              $0              $53
 2000-11           $2,821         $2,821           $0              $0              $53
 2000-12           $2,821         $2,821           $0              $0              $53
 2001-01           $2,821         $2,821           $0              $0              $53
 2001-02           $2,876         $2,821          $55             $55            $108
 2001-03           $2,876         $2,876           $0              $0            $108
 2001-04           $2,876         $2,876           $0              $0            $108
 2001-05           $2,876         $2,876           $0              $0            $108
 2001-06           $2,876         $2,876           $0              $0            $108
 2001-07           $2,876         $2,876           $0              $0            $108
 2001-08           $3,235         $2,876        $358            $358             $467
 2001-09           $3,235         $2,876        $358            $358             $825
 2001-10           $3,235         $2,876        $358            $358            $1,184
 2001-11           $3,396         $3,020        $376            $376            $1,560
 2001-12           $3,396         $3,020        $376            $376            $1,936
 2002-01           $3,396         $3,020        $376            $376            $2,312
 2002-02           $3,454         $3,020        $434            $434            $2,747
 2002-03           $3,454         $3,078        $376            $376            $3,123
 2002-04           $3,454         $3,078        $376            $376            $3,499
 2002-05           $3,454         $3,078        $376            $376            $3,876
 2002-06           $3,454         $3,078        $376            $376            $4,252
 2002-07           $3,454         $3,078        $376            $376            $4,628
 2002-08           $3,454         $3,078        $376            $376            $5,004
 2002-09           $3,751         $7,055           $0              $0           $5,004
 2002-10           $3,751          -$161       $3,912          $3,912           $8,916
 2002-11           $3,751           $768       $2,983          $2,983          $11,900
 2002-12           $3,751         $1,279       $2,472          $2,472          $14,371
 2003-01           $3,751         $2,251       $1,500          $1,500          $15,871
 2003-02           $3,792         $1,739       $2,053          $2,053          $17,924
 2003-03           $3,792         $2,763       $1,029          $1,029          $18,953




                                                                                Exhibit A to
                                                                 W. Lucas's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                 Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                    Damages with
                            Mitigation     Damages                        Damages
              Earnings                                    Attrition
 2003-04           $3,792         $1,995       $1,797          $1,797          $20,751
 2003-05           $3,792         $2,891        $902            $902           $21,652
 2003-06           $3,792         $2,251       $1,541          $1,541          $23,193
 2003-07           $3,792          $982        $2,810          $2,802          $25,995
 2003-08           $3,792          $982        $2,810          $2,794          $28,789
 2003-09           $3,792          $982        $2,810          $2,786          $31,575
 2003-10           $3,792         $1,208       $2,585          $2,555          $34,130
 2003-11           $3,792         $1,208       $2,585          $2,548          $36,678
 2003-12           $3,868         $1,208       $2,661          $2,615          $39,292
 2004-01           $3,888         $2,191       $1,697          $1,663          $40,956
 2004-02           $3,934         $2,191       $1,743          $1,703          $42,659
 2004-03           $3,998         $2,191       $1,807          $1,761          $44,420
 2004-04           $3,998         $2,191       $1,807          $1,756          $46,175
 2004-05           $3,998         $2,191       $1,807          $1,751          $47,926
 2004-06           $3,998         $2,191       $1,807          $1,746          $49,671
 2004-07           $3,998         $2,191       $1,807          $1,740          $51,412
 2004-08           $3,998         $2,191       $1,807          $1,735          $53,147
 2004-09           $3,998         $2,191       $1,807          $1,730          $54,878
 2004-10           $4,116         $2,191       $1,925          $1,838          $56,715
 2004-11           $4,116         $2,191       $1,925          $1,832          $58,548
 2004-12           $4,260         $2,191       $2,069          $1,964          $60,512
 2005-01           $4,260         $3,031       $1,230          $1,163          $61,675
 2005-02           $4,359         $3,031       $1,329          $1,253          $62,929
 2005-03           $4,591         $3,031       $1,560          $1,468          $64,396
 2005-04           $4,591         $3,031       $1,560          $1,463          $65,859
 2005-05           $4,591         $3,031       $1,560          $1,459          $67,318
 2005-06           $4,602         $3,031       $1,571          $1,465          $68,783
 2005-07           $4,602         $3,031       $1,571          $1,461          $70,244
 2005-08           $4,602         $3,031       $1,571          $1,456          $71,701
 2005-09           $4,602         $3,031       $1,571          $1,452          $73,153
 2005-10           $4,602         $3,031       $1,571          $1,448          $74,601
 2005-11           $4,855         $3,031       $1,824          $1,676          $76,277
 2005-12           $4,855         $3,031       $1,824          $1,671          $77,948
 2006-01           $4,855         $2,733       $2,122          $1,938          $79,886
 2006-02           $5,083         $2,733       $2,351          $2,140          $82,026
 2006-03           $5,355         $2,733       $2,622          $2,380          $84,406
 2006-04           $5,355         $2,733       $2,622          $2,373          $86,779
 2006-05           $5,355         $2,733       $2,622          $2,366          $89,145
 2006-06           $5,355         $2,733       $2,622          $2,359          $91,504
 2006-07           $5,355         $2,733       $2,622          $2,352          $93,856




                                                                                Exhibit A to
                                                                 W. Lucas's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                 Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                    Damages with
                            Mitigation     Damages                        Damages
              Earnings                                    Attrition
 2006-08           $5,355         $2,733       $2,622          $2,345          $96,201
 2006-09           $5,355         $2,733       $2,622          $2,338          $98,539
 2006-10           $5,529         $2,733       $2,796          $2,486         $101,024
 2006-11           $5,529         $2,733       $2,796          $2,478         $103,503
 2006-12           $5,529         $2,733       $2,796          $2,471         $105,973
 2007-01           $5,529         $3,165       $2,364          $2,083         $108,056
 2007-02           $5,529         $3,165       $2,364          $2,076         $110,132
 2007-03           $5,529         $3,165       $2,364          $2,070         $112,202
 2007-04           $5,529         $3,165       $2,364          $2,064         $114,266
 2007-05           $5,529         $3,165       $2,364          $2,058         $116,324
 2007-06           $5,529         $3,165       $2,364          $2,051         $118,375
 2007-07           $5,529         $3,165       $2,364          $2,045         $120,420
 2007-08           $5,529         $3,165       $2,364          $2,039         $122,458
 2007-09           $5,529         $3,165       $2,364          $2,032         $124,491
 2007-10           $5,640         $3,165       $2,475          $2,121         $126,612
 2007-11           $5,640         $3,165       $2,475          $2,114         $128,726
 2007-12           $5,640         $3,165       $2,475          $2,108         $130,834
 2008-01           $5,640         $3,462       $2,178          $1,849         $132,683
 2008-02           $5,640         $3,462       $2,178          $1,843         $134,526
 2008-03           $5,640         $3,462       $2,178          $1,838         $136,364
 2008-04           $5,640         $3,462       $2,178          $1,832         $138,195
 2008-05           $6,005         $3,462       $2,543          $2,132         $140,328
 2008-06           $6,005         $3,462       $2,543          $2,126         $142,454
 2008-07           $6,005         $3,462       $2,543          $2,119         $144,573
 2008-08           $6,005         $3,462       $2,543          $2,112         $146,685
 2008-09           $6,005         $3,462       $2,543          $2,106         $148,791
 2008-10           $6,005         $3,462       $2,543          $2,099         $150,890
 2008-11           $6,005         $3,462       $2,543          $2,092         $152,982
 2008-12           $6,005         $3,462       $2,543          $2,086         $155,068
 2009-01           $6,005         $3,173       $2,832          $2,315         $157,383
 2009-02           $6,005         $3,173       $2,832          $2,308         $159,691
 2009-03           $6,005         $3,173       $2,832          $2,300         $161,991
 2009-04           $6,005         $3,173       $2,832          $2,293         $164,284
 2009-05           $6,005         $3,173       $2,832          $2,286         $166,570
 2009-06           $6,262         $3,173       $3,089          $2,485         $169,056
 2009-07           $6,262         $3,173       $3,089          $2,477         $171,533
 2009-08           $6,262         $3,173       $3,089          $2,469         $174,003
 2009-09           $6,262         $3,173       $3,089          $2,461         $176,464
 2009-10           $6,262         $3,173       $3,089          $2,453         $178,917
 2009-11           $6,262         $3,173       $3,089          $2,445         $181,363
 2009-12           $6,262         $3,173       $3,089          $2,437         $183,800
 2010-01           $6,262         $3,330       $2,932          $2,306         $186,106
 2010-02           $6,262         $3,330       $2,932          $2,298         $188,404


                                                                                Exhibit A to
                                                                 W. Lucas's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                 Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                    Damages with
                            Mitigation     Damages                        Damages
              Earnings                                    Attrition
 2010-03           $6,262         $3,330       $2,932          $2,291         $190,695
 2010-04           $6,262         $3,330       $2,932          $2,283         $192,978
 2010-05           $6,262         $3,330       $2,932          $2,276         $195,254
 2010-06           $6,262         $3,330       $2,932          $2,268         $197,522
 2010-07           $6,262         $3,330       $2,932          $2,261         $199,782
 2010-08           $6,262         $3,330       $2,932          $2,253         $202,035
 2010-09           $6,262         $3,330       $2,932          $2,246         $204,281
 2010-10           $6,262         $3,330       $2,932          $2,238         $206,519
 2010-11           $6,262         $3,330       $2,932          $2,230         $208,749
 2010-12           $6,262         $3,330       $2,932          $2,223         $210,972
 2011-01           $6,262         $3,088       $3,174          $2,398         $213,371
 2011-02           $6,262         $3,088       $3,174          $2,390         $215,761
 2011-03           $6,262         $3,088       $3,174          $2,382         $218,143
 2011-04           $6,262         $3,088       $3,174          $2,374         $220,518
 2011-05           $6,262         $3,088       $3,174          $2,366         $222,884
 2011-06           $6,262         $3,088       $3,174          $2,358         $225,242
 2011-07           $6,262         $3,088       $3,174          $2,350         $227,592
 2011-08           $6,262         $3,088       $3,174          $2,342         $229,933
 2011-09           $6,262         $3,088       $3,174          $2,334         $232,267
 2011-10           $6,262         $3,088       $3,174          $2,326         $234,593
 2011-11           $6,262         $3,088       $3,174          $2,318         $236,911
 2011-12           $6,262         $3,088       $3,174          $2,310         $239,221
 2012-01           $6,262         $3,228       $3,035          $2,201         $241,421
 2012-02           $6,262         $3,228       $3,035          $2,193         $243,614
 2012-03           $6,262         $3,228       $3,035          $2,185         $245,799
 2012-04           $6,262         $3,228       $3,035          $2,178         $247,977
 2012-05           $6,262         $3,228       $3,035          $2,170         $250,147
 2012-06           $6,438         $3,228       $3,210          $2,287         $252,434
 2012-07           $6,438         $3,228       $3,210          $2,279         $254,713
 2012-08           $6,438         $3,228       $3,210          $2,271         $256,984
 2012-09           $6,438         $3,228       $3,210          $2,263         $259,247
 2012-10           $6,438         $3,228       $3,210          $2,255         $261,502
 2012-11           $6,438         $3,228       $3,210          $2,247         $263,748
 2012-12           $6,438         $3,228       $3,210          $2,239         $265,987
 2013-01           $6,438         $4,042       $2,396          $1,665         $267,652
 2013-02           $6,438         $4,042       $2,396          $1,659         $269,311
 2013-03           $6,438         $4,042       $2,396          $1,653         $270,964
 2013-04           $6,438         $4,042       $2,396          $1,647         $272,611
 2013-05           $6,502         $4,042       $2,460          $1,685         $274,296
 2013-06           $6,502         $4,042       $2,460          $1,679         $275,975
 2013-07           $6,502         $4,042       $2,460          $1,673         $277,648
 2013-08           $6,502         $4,042       $2,460          $1,667         $279,314



                                                                                Exhibit A to
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2000-01     Regularly Appointed Teacher               $31,910
          2000-02     Regularly Appointed Teacher               $32,549
          2000-03     Regularly Appointed Teacher               $32,549
          2000-04     Regularly Appointed Teacher               $32,549
          2000-05     Regularly Appointed Teacher               $32,549
          2000-06     Regularly Appointed Teacher               $32,549
          2000-07     Regularly Appointed Teacher               $32,549
          2000-08     Regularly Appointed Teacher               $32,549
          2000-09     Regularly Appointed Teacher               $32,549
          2000-10     Regularly Appointed Teacher               $32,549
          2000-11     Regularly Appointed Teacher               $33,851
          2000-12     Regularly Appointed Teacher               $33,851
          2001-01     Regularly Appointed Teacher               $33,851
          2001-02     Regularly Appointed Teacher               $34,514
          2001-03     Regularly Appointed Teacher               $34,514
          2001-04     Regularly Appointed Teacher               $34,514
          2001-05     Regularly Appointed Teacher               $34,514
          2001-06     Regularly Appointed Teacher               $34,514
          2001-07     Regularly Appointed Teacher               $34,514
          2001-08     Regularly Appointed Teacher               $38,815
          2001-09     Regularly Appointed Teacher               $38,815
          2001-10     Regularly Appointed Teacher               $38,815
          2001-11     Regularly Appointed Teacher               $40,755
          2001-12     Regularly Appointed Teacher               $40,755
          2002-01     Regularly Appointed Teacher               $40,755
          2002-02     Regularly Appointed Teacher               $41,452
          2002-03     Regularly Appointed Teacher               $41,452
          2002-04     Regularly Appointed Teacher               $41,452
          2002-05     Regularly Appointed Teacher               $41,452
          2002-06     Regularly Appointed Teacher               $41,452
          2002-07     Regularly Appointed Teacher               $41,452
          2002-08     Regularly Appointed Teacher               $41,452
          2002-09     Regularly Appointed Teacher               $45,011
          2002-10     Regularly Appointed Teacher               $45,011
          2002-11     Regularly Appointed Teacher               $45,011
          2002-12     Regularly Appointed Teacher               $45,011
          2003-01     Regularly Appointed Teacher               $45,011
          2003-02     Regularly Appointed Teacher               $45,506
          2003-03     Regularly Appointed Teacher               $45,506




                                                                                   Exhibit B to
                                                                    W. Lucas's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-04     Regularly Appointed Teacher               $45,506
          2003-05     Regularly Appointed Teacher               $45,506
          2003-06     Regularly Appointed Teacher               $45,506
          2003-07     Regularly Appointed Teacher               $45,506
          2003-08     Regularly Appointed Teacher               $45,506
          2003-09     Regularly Appointed Teacher               $45,506
          2003-10     Regularly Appointed Teacher               $45,506
          2003-11     Regularly Appointed Teacher               $45,506
          2003-12     Regularly Appointed Teacher               $46,416
          2004-01     Regularly Appointed Teacher               $46,660
          2004-02     Regularly Appointed Teacher               $47,206
          2004-03     Regularly Appointed Teacher               $47,978
          2004-04     Regularly Appointed Teacher               $47,978
          2004-05     Regularly Appointed Teacher               $47,978
          2004-06     Regularly Appointed Teacher               $47,978
          2004-07     Regularly Appointed Teacher               $47,978
          2004-08     Regularly Appointed Teacher               $47,978
          2004-09     Regularly Appointed Teacher               $47,978
          2004-10     Regularly Appointed Teacher               $49,393
          2004-11     Regularly Appointed Teacher               $49,393
          2004-12     Regularly Appointed Teacher               $51,122
          2005-01     Regularly Appointed Teacher               $51,122
          2005-02     Regularly Appointed Teacher               $52,309
          2005-03     Regularly Appointed Teacher               $55,087
          2005-04     Regularly Appointed Teacher               $55,087
          2005-05     Regularly Appointed Teacher               $55,087
          2005-06     Regularly Appointed Teacher               $55,221
          2005-07     Regularly Appointed Teacher               $55,221
          2005-08     Regularly Appointed Teacher               $55,221
          2005-09     Regularly Appointed Teacher               $55,221
          2005-10     Regularly Appointed Teacher               $55,221
          2005-11     Regularly Appointed Teacher               $58,258
          2005-12     Regularly Appointed Teacher               $58,258
          2006-01     Regularly Appointed Teacher               $58,258
          2006-02     Regularly Appointed Teacher               $61,002
          2006-03     Regularly Appointed Teacher               $64,259
          2006-04     Regularly Appointed Teacher               $64,259
          2006-05     Regularly Appointed Teacher               $64,259
          2006-06     Regularly Appointed Teacher               $64,259
          2006-07     Regularly Appointed Teacher               $64,259




                                                                                   Exhibit B to
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                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2006-08     Regularly Appointed Teacher               $64,259
          2006-09     Regularly Appointed Teacher               $64,259
          2006-10     Regularly Appointed Teacher               $66,349
          2006-11     Regularly Appointed Teacher               $66,349
          2006-12     Regularly Appointed Teacher               $66,349
          2007-01     Regularly Appointed Teacher               $66,349
          2007-02     Regularly Appointed Teacher               $66,349
          2007-03     Regularly Appointed Teacher               $66,349
          2007-04     Regularly Appointed Teacher               $66,349
          2007-05     Regularly Appointed Teacher               $66,349
          2007-06     Regularly Appointed Teacher               $66,349
          2007-07     Regularly Appointed Teacher               $66,349
          2007-08     Regularly Appointed Teacher               $66,349
          2007-09     Regularly Appointed Teacher               $66,349
          2007-10     Regularly Appointed Teacher               $67,677
          2007-11     Regularly Appointed Teacher               $67,677
          2007-12     Regularly Appointed Teacher               $67,677
          2008-01     Regularly Appointed Teacher               $67,677
          2008-02     Regularly Appointed Teacher               $67,677
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $75,149
          2009-07     Regularly Appointed Teacher               $75,149
          2009-08     Regularly Appointed Teacher               $75,149
          2009-09     Regularly Appointed Teacher               $75,149
          2009-10     Regularly Appointed Teacher               $75,149
          2009-11     Regularly Appointed Teacher               $75,149
          2009-12     Regularly Appointed Teacher               $75,149
          2010-01     Regularly Appointed Teacher               $75,149
          2010-02     Regularly Appointed Teacher               $75,149

                                                                                   Exhibit B to
                                                                    W. Lucas's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2010-03     Regularly Appointed Teacher               $75,149
          2010-04     Regularly Appointed Teacher               $75,149
          2010-05     Regularly Appointed Teacher               $75,149
          2010-06     Regularly Appointed Teacher               $75,149
          2010-07     Regularly Appointed Teacher               $75,149
          2010-08     Regularly Appointed Teacher               $75,149
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149




                                                                                   Exhibit B to
                                                                    W. Lucas's Findings of Fact
